Case 3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 1 of 128 Pageid#:
                                    1266
Case 3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 2 of 128 Pageid#:
                                    1267
Case 3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 3 of 128 Pageid#:
                                    1268




                        Exhibit A
Case 3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 4 of 128 Pageid#:
                                    1269



                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division


 ELIZABETH SINES, SETH WISPELWEY,
 MARISSA BLAIR, TYLER MAGILL, APRIL
 MUNIZ, HANNAH PEARCE, MARCUS
 MARTIN, NATALIE ROMERO, CHELSEA
 ALVARADO, and JOHN DOE,

                           Plaintiffs,

 v.

 JASON KESSLER, RICHARD SPENCER,
 CHRISTOPHER CANTWELL, JAMES
 ALEX FIELDS, JR., VANGUARD
 AMERICA, ANDREW ANGLIN,                      Civil Action No. 3:17-cv-00072-NKM
 MOONBASE HOLDINGS, LLC, ROBERT
 “AZZMADOR” RAY, NATHAN DAMIGO,
 ELLIOT KLINE a/k/a/ ELI MOSELY,
 IDENTITY EVROPA, MATTHEW                     JURY TRIAL DEMANDED
 HEIMBACH, MATTHEW PARROTT a/k/a
 DAVID MATTHEW PARROTT,
 TRADITIONALIST WORKER PARTY,
 MICHAEL HILL, MICHAEL TUBBS,
 LEAGUE OF THE SOUTH, JEFF SCHOEP,
 NATIONAL SOCIALIST MOVEMENT,
 NATIONALIST FRONT, AUGUSTUS SOL
 INVICTUS, FRATERNAL ORDER OF THE
 ALT-KNIGHTS, MICHAEL “ENOCH”
 PEINOVICH, LOYAL WHITE KNIGHTS OF
 THE KU KLUX KLAN, and EAST COAST
 KNIGHTS OF THE KU KLUX KLAN a/k/a
 EAST COAST KNIGHTS OF THE TRUE
 INVISIBLE EMPIRE,

                           Defendants.



                   PLAINTIFFS’ SUBPOENA FOR DOCUMENTS
                           TO CLOUDFLARE, INC.




                                         1
Case 3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 5 of 128 Pageid#:
                                    1270



        YOU ARE HEREBY COMMANDED, pursuant to Fed. R. Civ. P. 45, to produce the

 documents and things designated herein for inspection at the offices of Boies Schiller Flexner

 LLP, 1999 Harrison Street, Suite 900, Oakland, CA 94612, within 30 days of service, as

 provided under the Federal Rules of Civil Procedure. This subpoena for documents, including

 each individual Request for Documents (collectively, the “Requests”), shall be read and

 interpreted in accordance with the definitions and instructions identified below.

                              DEFINITIONS AND INSTRUCTIONS

        Plaintiffs incorporate by reference all the instructions, definitions, and rules contained in

 the Federal Rules of Civil Procedure, and for purposes of this Subpoena, the following

 instructions and definitions shall apply:

        1.      The singular of each word shall be construed to include its plural and vice-versa,

 and the root word and all derivations (e.g., “ing,” “ed”) shall be construed to include each other.

 The words “and” as well as “or” shall be construed both conjunctively and disjunctively.

        2.      The present tense shall be construed to include the past tense and vice-versa.

 Where it is necessary to bring within the scope of these Requests information that might

 otherwise be construed to be outside their scope, the use of a verb in any tense shall be

 recognized as the use of that verb in all other tenses.

        3.       If the requested documents are maintained in a file, the file folder is included in

 the request for production of those documents.

        4.      The word “any” shall be construed to include “all” and vice-versa.

        5.      The term “concerning” means “relating to,” “referring to,” “describing,”

 “evidencing,” or “constituting.”




                                                   2
Case 3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 6 of 128 Pageid#:
                                    1271



         6.     The terms “communication” and “communications” are defined to include any

 document, snail mail, email, phone call, text message, Facebook message, Facebook post, tweet

 on Twitter, direct message on Twitter, chat or message on any social media platform, and any

 other means used to convey information from one person to any other person or persons in any

 form.

         7.     The term “snail mail” is defined as written communication delivered by the

 United States Postal Service, Federal Express, or United Parcel Service.

         8.     The terms “document” and “documents” are defined to be synonymous in

 meaning and equal in scope to the usage of the term “documents” in Fed. R. Civ. P. 34(a)(1)(A).

 The terms “document” and “documents” are defined to include all writings of every kind and all

 electronically stored information (“ESI”), including but not limited to videos, photographs,

 sound recordings, images, charts, maps, records, memoranda, correspondence, handwritten or

 typewritten notes, calendars, diaries, telephone messages, data or data compilations, emails,

 attachments to emails, instant messages, PowerPoint presentations, spreadsheets, all other

 writings in hard copy or in electronic form, and all other material stored on computers, computer

 discs, CDs, DVDs, Blackberry or smartphone devices, tablets, personal digital assistants, USB

 “thumb” drives, electronic calendars, and telephone systems.

         9.     A draft of a non-identical copy is considered a separate document.

         10.    The terms “electronically stored information” and “ESI” are defined to be

 synonymous in meaning and equal in scope to the usage of “electronically stored information” in

 Fed. R. Civ. P. 34(a)(1)(A). “ESI” includes data on all servers, including IP addresses, MAC

 addresses, active data, archived data, deleted data, and legacy data, as well as data on removable




                                                 3
Case 3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 7 of 128 Pageid#:
                                    1272



 electronic media and in any other location where documents relevant to the Requests may be

 found.

          11.   The terms “you” and “your” include the person(s) to whom these Requests are

 addressed, and all of that person’s agents, representatives, and attorneys.

          12.   The term “including” shall be construed as “including, but not limited to.”

          13.   You should construe negative terms to include the positive, and vice-versa. For

 example, you should construe the word “preference” to mean “preference or lack of preference.”

          14.   The term “Defendants” refers to the following individuals and entities: Jason

 Kessler, Richard Spencer, Christopher Cantwell, James Alex Fields, Jr., Vanguard America,

 Andrew Anglin, Moonbase Holdings, LLC, Robert “Azzmador” Ray, Nathan Damigo, Elliot

 Kline a/k/a Eli Mosely, Identity Evropa, Matthew Heimbach, Matthew Parrott a/k/a David

 Matthew Parrott, Traditionalist Worker Party, Michael Hill, Michael Tubbs, League of the

 South, Jeff Schoep, National Socialist Movement, Nationalist Front, Augustus Sol Invictus,

 Fraternal Order of the Alt-Knights, Michael “Enoch” Peinovich, Loyal White Knights of the Ku

 Klux Klan, and East Coast Knights of the Ku Klux Klan a/k/a East Coast Knights of the True

 Invisible Empire.

          15.   In producing documents, you are requested to produce the original of each

 document requested together with all non-identical copies and drafts of that document. If the

 original of any document cannot be located, a copy shall be provided in lieu thereof, and shall be

 legible and bound or stapled in the same manner as the original. In any circumstance in which

 an agreement is reached to allow the production of copies of documents rather than originals,

 you shall retain all of the original documents for inspection or copying throughout the pendency

 of this case, any appeal(s), and any related proceedings.




                                                  4
Case 3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 8 of 128 Pageid#:
                                    1273



          16.   Any alteration of a responsive document, including any marginal notes,

 handwritten notes, underlining, date stamps, received stamps, endorsed or filed stamps, drafts,

 revisions, modifications, and other versions of a document, is a responsive document in its own

 right and must be produced.

          17.   Any reference to a person that is a business entity and is not otherwise defined

 includes that person’s predecessors (including any pre-existing person that at any time became

 part of that entity after merger or acquisition), successors, parents, divisions, subsidiaries,

 affiliates, franchisors and franchisees; each other person, directly or indirectly owned or

 controlled by any of them; each partnership or joint venture to which any of them is a party; all

 present and former directors, officers, employees, agents, consultants, controlling shareholders

 (and any entity owned by any such controlling shareholder), and attorneys of any of them; and

 any other person acting for or on behalf of any of them.

          18.   Unless words or terms have been given a specific definition herein, each word or

 term used herein shall be given its usual and customary dictionary definition, except where such

 words have a usual custom and usage definition in your trade or industry, in which case they

 shall be interpreted in accordance with such usual custom and usage definition of which you are

 aware.

          19.   Pursuant to Rule 34(b) of the Federal Rules of Civil Procedure, documents shall

 be produced either (a) as they are kept in the usual course of business (in which case they shall

 be produced in such fashion as to identify the department, branch or office in whose possession it

 was located and, where applicable, the natural person in whose possession it was found or the

 server or central file in which it was found, and the address of each document’s custodian(s)), or




                                                    5
Case 3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 9 of 128 Pageid#:
                                    1274



 (b) segregated as responsive to a specific Request enumerated in these Requests, with such

 specific Request identified.

        20.     All documents shall be produced in the file folder, envelope, or other container in

 which the documents are kept or maintained. If, for any reason, the container cannot be

 produced, produce copies of all labels or other identifying marks.

        21.     Documents attached to each other should not be separated.

        22.     If identical copies of a document are in the possession, custody or control of more

 than one natural person or other document custodian, a copy of that document shall be produced

 from each such natural person or other document custodian.

        23.     In instances where two or more exact duplicates of any document exist, the most

 legible copy shall be produced.

        24.     If you file a timely objection to any portion of a Request, definition, or

 instruction, provide a response to the remaining portion.

        25.     If you are unable to produce a document that is responsive to a Request, so state

 and indicate whether the document ever existed or whether the document once existed but cannot

 be located. If any responsive document once was, but is no longer, in your possession, custody

 or control, state the whereabouts of such document when last in your possession, custody or

 control, state the date and manner of its disposition and identify its last known custodian. To the

 extent that any responsive document was lost or destroyed, produce any document that supports

 your assertion that the document was lost or destroyed, and provide the date when each such

 document was lost or destroyed.




                                                  6
Case 3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 10 of 128 Pageid#:
                                    1275



         26.     The time period to which these Requests refer is from January 1, 2017 to the

  present. If any document is undated and the date of its preparation cannot be determined, the

  document shall be produced if otherwise responsive to any of the Requests.

         27.     These Requests are continuing and require supplemental responses in accordance

  with the requirements of Federal Rule of Civil Procedure 26(e).

         28.     The terms defined above and used in each of the Requests should be construed

  broadly to the fullest extent of their meaning in a good-faith effort to comply with the Federal

  Rules of Civil Procedure.

                                DOCUMENTS TO BE PRODUCED

  Document Request No. 1

         All documents concerning the above-captioned litigation or any of the events described in

  the First Amended Complaint in the above-captioned litigation, including any communications

  by email or snail mail with any of the Defendants.

  Document Request No. 2

         All documents, communications and ESI concerning “dailystormer.com”,

  “dailystormer.wang”, or any other domain with “dailystormer” in its domain name that is

  managed by Andrew Anglin, Andrew Anglin, Moonbase Holdings, LLC, and affiliated

  individuals or entities, including:

         a.      All contact information for such individuals or entities (including any other

                 individuals affiliated with such entities), including such individuals or entities’

                 names, email addresses, phone numbers, and mailing addresses; and

         b.      All logs for “dailystormer.com”, “dailystormer.wang”, or any other domain with

                 “dailystormer” in its domain name that is managed by Andrew Anglin, from




                                                   7
Case 3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 11 of 128 Pageid#:
                                    1276



                 August 1 to 19, 2017, including information for each visitor, such as time, IP

                 address, and MAC address.

  Document Request No. 3

         All documents, communications and ESI concerning “altright.com”, or any other domain

  with “altright” in its domain name that is managed by Richard Spencer, including:

         a.      All contact information for such individuals or entities (including any other

                 individuals affiliated with such entities), including such individuals or entities’

                 names, email addresses, phone numbers, and mailing addresses; and

         b.      All logs for “altright.com” or any other domain with “altright” in its domain name

                 that is managed by Richard Spencer, from August 1 to 19, 2017, including

                 information for each visitor, such as time, IP address, and MAC address.

  Document Request No. 4

         All documents and communications concerning Richard Spencer, Daniel Friberg,

  Christoffer Dulny, Vincent Law, Andy Nowicki, and affiliated individuals or entities, including,

  all contact information for such individuals or entities (including any other individuals affiliated

  with such entities), including such individuals or entities’ names, email addresses, phone

  numbers, and mailing addresses.

  Document Request No. 5

         All documents, communications and ESI concerning “therightstuff.biz”, or any other

  domain that includes “therightstuff” in its domain name that is managed by Mike Peinovich,

  including:




                                                    8
Case 3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 12 of 128 Pageid#:
                                    1277



         a.       All contact information for such individuals or entities (including any other

                  individuals affiliated with such entities), including such individuals or entities’

                  names, email addresses, phone numbers, and mailing addresses; and

         b.      All logs for “therightstuff.biz”, or any other domain that includes “therightstuff”

                 in its domain name that is managed by Mike Peinovich, from August 1 to 19,

                 2017, including information for each visitor, such as time, IP address, and MAC

                 address.

  Document Request No. 6

         All documents and communications concerning Mike Peinovich, Sacco Vandal (formerly

  Scott C. Wurgler), John Ramondetta, and affiliated individuals or entities, including all contact

  information for such individuals or entities (including any other individuals affiliated with such

  entities), including such individuals or entities’ names, email addresses, phone numbers, and

  mailing addresses.



  Dated: February 14, 2018
         New York, New York

                                                        /s/ Philip M. Bowman
                                                        Philip M. Bowman
                                                        BOIES SCHILLER FLEXNER LLP
                                                        575 Lexington Ave.
                                                        New York, NY 10022
                                                        Telephone: (212) 446-2300
                                                        Fax: (212) 446-2350
                                                        Email: pbowman@bsfllp.com

                                                        Counsel for Plaintiffs




                                                   9
Case 3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 13 of 128 Pageid#:
                                    1278



                      Text of Federal Rule of Civil Procedure 45(d) and (e)

  (d) PROTECTING A PERSON SUBJECT TO A SUBPOENA; ENFORCEMENT.

          (1)    Avoiding Undue Burden or Expense; Sanctions. A party or attorney responsible
  for issuing and serving a subpoena must take reasonable steps to avoid imposing undue burden
  or expense on a person subject to the subpoena. The court for the district where compliance is
  required must enforce this duty and impose an appropriate sanction—which may include lost
  earnings and reasonable attorney’s fees—on a party or attorney who fails to comply.

         (2)    Command to Produce Materials or Permit Inspection.

                 (A)     Appearance Not Required. A person commanded to produce documents,
         electronically stored information, or tangible things, or to permit the inspection of
         premises, need not appear in person at the place of production or inspection unless also
         commanded to appear for a deposition, hearing, or trial.

                 (B)     Objections. A person commanded to produce documents or tangible things
         or to permit inspection may serve on the party or attorney designated in the subpoena a
         written objection to inspecting, copying, testing, or sampling any or all of the materials or
         to inspecting the premises—or to producing electronically stored information in the form
         or forms requested. The objection must be served before the earlier of the time specified
         for compliance or 14 days after the subpoena is served. If an objection is made, the
         following rules apply:

                      (i)     At any time, on notice to the commanded person, the serving party
                may move the court for the district where compliance is required for an order
                compelling production or inspection.

                        (ii)    These acts may be required only as directed in the order, and the
                order must protect a person who is neither a party nor a party’s officer from
                significant expense resulting from compliance.

         (3)    Quashing or Modifying a Subpoena.

               (A)      When Required. On timely motion, the court for the district where
         compliance is required must quash or modify a subpoena that:

                        (i)     fails to allow a reasonable time to comply;

                        (ii)   requires a person to comply beyond the geographical limits
                specified in Rule 45(c);

                       (iii) requires disclosure of privileged or other protected matter, if no
                exception or waiver applies; or
Case 3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 14 of 128 Pageid#:
                                    1279



                        (iv)   subjects a person to undue burden.

                (B)      When Permitted. To protect a person subject to or affected by a subpoena,
         the court for the district where compliance is required may, on motion, quash or modify
         the subpoena if it requires:

                       (i)    disclosing a trade secret or other confidential research,
                development, or commercial information; or

                       (ii)    disclosing an unretained expert’s opinion or information that does
                not describe specific occurrences in dispute and results from the expert’s study
                that was not requested by a party.

                (C)    Specifying Conditions as an Alternative. In the circumstances described in
         Rule 45(d)(3)(B), the court may, instead of quashing or modifying a subpoena, order
         appearance or production under specified conditions if the serving party:

                       (i)    shows a substantial need for the testimony or material that cannot
                be otherwise met without undue hardship; and

                      (ii)   ensures that the subpoenaed person will be reasonably
                compensated.

  (e) DUTIES IN RESPONDING TO A SUBPOENA.

          (1)   Producing Documents or Electronically Stored Information. These procedures
  apply to producing documents or electronically stored information:

                (A)    Documents. A person responding to a subpoena to produce documents
         must produce them as they are kept in the ordinary course of business or must organize
         and label them to correspond to the categories in the demand.

                  (B)   Form for Producing Electronically Stored Information Not Specified. If a
         subpoena does not specify a form for producing electronically stored information, the
         person responding must produce it in a form or forms in which it is ordinarily maintained
         or in a reasonably usable form or forms.

                (C)     Electronically Stored Information Produced in Only One Form. The
         person responding need not produce the same electronically stored information in more
         than one form.

                 (D)    Inaccessible Electronically Stored Information. The person responding
         need not provide discovery of electronically stored information from sources that the
         person identifies as not reasonably accessible because of undue burden or cost. On
         motion to compel discovery or for a protective order, the person responding must show
         that the information is not reasonably accessible because of undue burden or cost. If that
Case 3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 15 of 128 Pageid#:
                                    1280



        showing is made, the court may nonetheless order discovery from such sources if the
        requesting party shows good cause, considering the limitations of Rule 26(b)(2)(C). The
        court may specify conditions for the discovery.

        (2)    Claiming Privilege or Protection.

               (A)     Information Withheld. A person withholding subpoenaed information
        under a claim that it is privileged or subject to protection as trial-preparation material
        must:

                       (i)     expressly make the claim; and

                       (ii)    describe the nature of the withheld documents, communications,
               or tangible things in a manner that, without revealing information itself privileged
               or protected, will enable the parties to assess the claim.

                (B)      Information Produced. If information produced in response to a subpoena
        is subject to a claim of privilege or of protection as trial-preparation material, the person
        making the claim may notify any party that received the information of the claim and the
        basis for it. After being notified, a party must promptly return, sequester, or destroy the
        specified information and any copies it has; must not use or disclose the information until
        the claim is resolved; must take reasonable steps to retrieve the information if the party
        disclosed it before being notified; and may promptly present the information under seal to
        the court for the district where compliance is required for a determination of the claim.
        The person who produced the information must preserve the information until the claim
        is resolved.
Case 3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 16 of 128 Pageid#:
                                    1281




                        Exhibit B
Case 3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 17 of 128 Pageid#:
                                    1282



                         81,7('67$7(6',675,&7&2857
                    )257+(:(67(51',675,&72)9,5*,1,$
                                 &KDUORWWHVYLOOH'LYLVLRQ
                                                   




                                            
   (/,=$%(7+6,1(66(7+:,63(/:(<                                 
   0$5,66$%/$,57</(50$*,//$35,/
   081,=+$11$+3($5&(0$5&86
   0$57,11$7$/,(520(52&+(/6($
   $/9$5$'2DQG-2+1'2(
   
                            3ODLQWLIIV                             
   Y                                                               
                                                                    
   -$621.(66/(55,&+$5'63(1&(5
   &+5,6723+(5&$17:(//-$0(6                                      
   $/(;),(/'6-59$1*8$5'
   $0(5,&$$1'5(:$1*/,1                       &LYLO$FWLRQ1RFY1.0
   0221%$6(+2/',1*6//&52%(57
   ³$==0$'25´5$<1$7+$1'$0,*2                                   
   (//,27./,1(DND(/,026/(<
   ,'(17,7<(9523$0$77+(:                           -85<75,$/'(0$1'('
   +(,0%$&+0$77+(:3$55277DND
   '$9,'0$77+(:3$55277
   75$',7,21$/,67:25.(53$57<
   0,&+$(/+,//0,&+$(/78%%6
   /($*8(2)7+(6287+-())6&+2(3
   1$7,21$/62&,$/,67029(0(17
   1$7,21$/,67)5217$8*8678662/
   ,19,&786)5$7(51$/25'(52)7+(
   $/7.1,*+760,&+$(/³(12&+´
   3(,129,&+/2<$/:+,7(.1,*+762)
   7+(.8./8;./$1DQG($67&2$67
   .1,*+762)7+(.8./8;./$1DND
   ($67&2$67.1,*+762)7+(758(
   ,19,6,%/((03,5(
   
                            'HIHQGDQWV                             
                                            
                                            
                           ),567$0(1'('&203/$,17

         3ODLQWLIIVE\WKHLUXQGHUVLJQHGDWWRUQH\VDOOHJHXSRQNQRZOHGJHDVWRWKHPVHOYHVDQG

  WKHLURZQDFWLRQVDQGXSRQLQIRUPDWLRQDQGEHOLHIDVWRDOORWKHUPDWWHUVDVIROORZV




Case 3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 1 of 112 Pageid#: 813
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 18 of 128 Pageid#:
                                   1283



                                       1$785(2)7+($&7,21

                  2YHUWKHZHHNHQGRI$XJXVWDQGKXQGUHGVRIQHR1D]LVDQGZKLWH

  VXSUHPDFLVWVWUDYHOHGIURPQHDUDQGIDUWRGHVFHQGXSRQWKHFROOHJHWRZQRI&KDUORWWHVYLOOH

  9LUJLQLDLQRUGHUWRWHUURUL]HLWVUHVLGHQWVFRPPLWDFWVRIYLROHQFHDQGXVHWKHWRZQDVD

  EDFNGURSWRVKRZFDVHIRUWKHPHGLDDQGWKHQDWLRQDQHRQDWLRQDOLVWDJHQGD

                  3ODLQWLIIVLQWKLVDFWLRQDUH8QLYHUVLW\RI9LUJLQLDXQGHUJUDGXDWHVODZVWXGHQWV

  DQGVWDIISHUVRQVRIIDLWKPLQLVWHUVSDUHQWVGRFWRUVDQGEXVLQHVVSHUVRQV²ZKLWHEURZQDQG

  EODFN&KULVWLDQDQG-HZLVK\RXQJDQGROG:KLOH3ODLQWLIIVFRPHIURPGLIIHUHQWEDFNJURXQGV

  WKH\VKDUHDGHHSORYHRIWKLVFRXQWU\WKHLUFLW\DQGRXUYDOXHV7KH\DOVRVKDUHDILHUFH

  GHWHUPLQDWLRQWRGHIHQGWKRVHYDOXHV(DFK3ODLQWLIILQWKLVDFWLRQZDVLQMXUHGDVDUHVXOWRIWKH

  HYHQWVLQ&KDUORWWHVYLOOHRQ$XJXVWDQG2QH3ODLQWLIIVXIIHUHGDVWURNH7KUHHSODLQWLIIV

  ZHUHVWUXFNLQDFDUDWWDFN2WKHUVVXIIHUHGDQGFRQWLQXHWRVXIIHUGHHSDQGGHELOLWDWLQJ

  SV\FKRORJLFDODQGHPRWLRQDOGLVWUHVVWKDWSUHYHQWVWKHPIURPUHVXPLQJWKHLUIRUPHUOLYHVRU

  IURPHQMR\LQJWKHEDVLFVHQVHRISHDFHVDIHW\DQGWUDQTXLOLW\WKDWPRVWLQWKLVFRXQWU\FDQWDNH

  IRUJUDQWHG

                  'HIHQGDQWVDUHWKHLQGLYLGXDOVDQGRUJDQL]DWLRQVWKDWFRQVSLUHGWRSODQSURPRWH

  DQGFDUU\RXWWKHYLROHQWHYHQWVLQ&KDUORWWHVYLOOH7KH\DUHQHR1D]LV.ODQVPHQZKLWH

  VXSUHPDFLVWVDQGZKLWHQDWLRQDOLVWV7KH\HPEUDFHDQGHVSRXVHUDFLVWDQWL6HPLWLFVH[LVW

  KRPRSKRELFDQG[HQRSKRELFLGHRORJLHV'HIHQGDQWVEURXJKWZLWKWKHPWR&KDUORWWHVYLOOHWKH

  LPDJHU\RIWKH+RORFDXVWRIVODYHU\RI-LP&URZDQGRIIDVFLVP7KH\DOVREURXJKWZLWKWKHP

  VHPLDXWRPDWLFZHDSRQVSLVWROVPDFHURGVDUPRUVKLHOGVDQGWRUFKHV7KH\FKDQWHG³-HZV

  ZLOOQRWUHSODFHXV´³EORRGDQGVRLO´DQG³WKLVLVRXUWRZQQRZ´6WDUWLQJDWOHDVWDVHDUO\DVWKH

  EHJLQQLQJRIDQGFRQWLQXLQJWKURXJKWRGD\WKH\KDYHMRLQHGWRJHWKHUIRUWKHSXUSRVHRI

                                                       
                                                       
  Y
  
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 2 of 112 Pageid#: 814
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 19 of 128 Pageid#:
                                   1284



  LQFLWLQJYLROHQFHDQGLQVWLOOLQJIHDUZLWKLQWKHFRPPXQLW\RI&KDUORWWHVYLOOHDQGEH\RQG

  ZKHUHYHUWKHLUPHVVDJHVDUHUHFHLYHG

                  7KHUHLVRQHWKLQJDERXWWKLVFDVHWKDWVKRXOGEHPDGHFU\VWDOFOHDUDWWKHRXWVHW²

  the violence in Charlottesville was no accident8QGHUWKHSUHWH[WRID³UDOO\´ZKLFKWKH\

  WHUPHG³8QLWHWKH5LJKW´'HIHQGDQWVVSHQWPRQWKVFDUHIXOO\FRRUGLQDWLQJWKHLUHIIRUWVRQWKH

  LQWHUQHWDQGLQSHUVRQ7KH\H[KRUWHGHDFKRWKHU³,I\RXZDQWWRGHIHQGWKH6RXWKDQG:HVWHUQ

  FLYLOL]DWLRQIURPWKH-HZDQGKLVGDUNVNLQQHGDOOLHVEHDW&KDUORWWHVYLOOHRQ$XJXVW´DQG

  ³1H[WVWRS&KDUORWWHVYLOOH9$)LQDOVWRS$XVFKZLW]´,QFRXQWOHVVSRVWVRQWKHLURZQ

  ZHEVLWHVDQGRQVRFLDOPHGLD'HIHQGDQWVDQGWKHLUFRFRQVSLUDWRUVSURPLVHGWKDWWKHUHZRXOGEH

  YLROHQFHLQ&KDUORWWHVYLOOHDQGYLROHQFHWKHUHZDV$V'HIHQGDQW(OL0RVOH\RQHRIWKHOHDG

  RUJDQL]HUVIRUWKHUDOO\GHFODUHG³:HDUH>@JRLQJWR&KDUORWWHVYLOOH2XUELUWKULJKWZLOOEH

  DVKHV WKH\¶OOKDYHWRSU\LWIURPRXUFROGKDQGVLIWKH\ZDQWLW7KH\ZLOOQRWUHSODFHXV

  ZLWKRXWDILJKW´

                  7KHYLROHQFHVXIIHULQJDQGHPRWLRQDOGLVWUHVVWKDWRFFXUUHGLQ&KDUORWWHVYLOOH

  ZDVDGLUHFWLQWHQGHGDQGIRUHVHHDEOHUHVXOWRI'HIHQGDQWV¶XQODZIXOFRQVSLUDF\,WZDVDOO

  DFFRUGLQJWRSODQ²DSODQWKH\VSHQWPRQWKVZRUNLQJRXWDQGZKRVHLPSOHPHQWDWLRQWKH\

  DFWLYHO\RYHUVDZDVHYHQWVXQIROGHGRQWKHJURXQG

                  7KHHYHQWVRI$XJXVWDQG²QRZFRPPRQO\UHIHUUHGWRVLPSO\DV

  ³&KDUORWWHVYLOOH´²ZHUHSDUWRI'HIHQGDQWV¶FRRUGLQDWHGFDPSDLJQWRLQWLPLGDWHKDUDVVLQFLWH

  DQGFDXVHYLROHQFHWRSHRSOHEDVHGRQWKHLUUDFHUHOLJLRQHWKQLFLW\DQGVH[XDORULHQWDWLRQLQ

  YLRODWLRQQRWRQO\RIWKHYDOXHVWKDWWKRXVDQGVRI$PHULFDQVROGLHUVKDYHGLHGIRUEXWDOVR

  QXPHURXVVWDWHDQGIHGHUDOODZV$VWKH8WDK6HQDWRU2UULQ+DWFKVDLG³:HVKRXOGFDOOHYLOE\



                                                      
                                                       
  Y
  
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 3 of 112 Pageid#: 815
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 20 of 128 Pageid#:
                                   1285



  LWVQDPH0\EURWKHUGLGQ¶WJLYHKLVOLIHILJKWLQJ+LWOHUIRU1D]LLGHDVWRJRXQFKDOOHQJHGKHUHDW

  KRPH´

                  %\WKLVODZVXLW3ODLQWLIIVVHHNWRFKDOOHQJH'HIHQGDQWV¶DFWLRQVXQGHUWKHODZVRI

  WKH8QLWHG6WDWHVRI$PHULFDDQGWKH&RPPRQZHDOWKRI9LUJLQLD3ODLQWLIIVVHHNFRPSHQVDWRU\

  DQGLQMXQFWLYHUHOLHI7KHDLPRIWKLVODZVXLWLVWRHQVXUHWKDWQRWKLQJOLNHWKLVZLOOKDSSHQDJDLQ

  DWWKHKDQGVRI'HIHQGDQWV²QRWRQWKHVWUHHWVRI&KDUORWWHVYLOOH9LUJLQLDDQGQRWDQ\ZKHUHHOVH

  LQWKH8QLWHG6WDWHVRI$PHULFD

                                      -85,6',&7,21$1'9(18(

                  7KHFRXUWKDVMXULVGLFWLRQRYHUWKLVDFWLRQSXUVXDQWWR86&

                  9HQXHLVSURSHUO\LQWKH:HVWHUQ'LVWULFWRI9LUJLQLDSXUVXDQWWR86&

   E EHFDXVH3ODLQWLIIV¶FODLPVDURVHLQ&KDUORWWHVYLOOH9LUJLQLDZKLFKLVORFDWHGLQWKH

  :HVWHUQ'LVWULFWRI9LUJLQLD

                                              7+(3$57,(6

  $      3ODLQWLIIV

                 3ODLQWLII7\OHU0DJLOOLVDUHVLGHQWRIWKH&RPPRQZHDOWKRI9LUJLQLDDQGDQ

  HPSOR\HHDWWKHOLEUDU\RIWKH8QLYHUVLW\RI9LUJLQLD ³89$´ +HOLYHVLQ&KDUORWWHVYLOOHZLWK

  KLVZLIHDQGFKLOG2Q$XJXVWDQG0DJLOOSDUWLFLSDWHGLQQRQYLROHQWSURWHVWVRI

  'HIHQGDQWV¶SODQQHGHYHQWV)ROORZLQJWKHHYHQWVRIWKHZHHNHQG0DJLOOFROODSVHGDWKLVSODFH

  RIZRUNDQGVXIIHUHGDWUDXPDLQGXFHGVWURNH0DJLOOVSHQWWZRGD\VLQWKHKRVSLWDODQGPD\

  QHYHUIXOO\UHFRYHUIURPWKHUHVXOWLQJEUDLQLQMXULHV0DJLOOKDVQRWEHHQDEOHWRUHWXUQWRKLVMRE

  DWWKH89$OLEUDU\

                 3ODLQWLII5HYHUHQG6HWK:LVSHOZH\ZDVERUQDQGUDLVHGLQ&KDUORWWHVYLOOHDQG

  DWWHQGHG89$+HPRYHGEDFNWR&KDUORWWHVYLOOHIRXU\HDUVDJRZLWKKLVZLIHDQGGDXJKWHU


                                                      
                                                       
  Y
  
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 4 of 112 Pageid#: 816
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 21 of 128 Pageid#:
                                   1286



  :LVSHOZH\KDVZRUNHGDWQXPHURXVQRQSURILWRUJDQL]DWLRQVWKDWDGYRFDWHIRUKXPDQULJKWV

  LQFOXGLQJDVWKHKHDGRIDQRUJDQL]DWLRQSURWHFWLQJYLFWLPVRIKXPDQWUDIILFNLQJ:LVSHOZH\LV

  DQRUGDLQHG0LQLVWHUZLWKWKH8QLWHG&KXUFKRI&KULVWDQGWKH'LUHFWLQJ0LQLVWHURI5HVWRUDWLRQ

  9LOODJH$UWV+HLVDOVRWKHFRIRXQGHURIDPHPEHUVKLSRUJDQL]DWLRQIRUFOHUJ\RIGLIIHUHQW

  IDLWKVIURPDFURVVWKHFRXQWU\FDOOHG&RQJUHJDWHZKLFKRUJDQL]HGQXPHURXVWUDLQLQJVLQQRQ

  YLROHQWSURWHVWIRUUHVLGHQWVRI&KDUORWWHVYLOOHOHDGLQJXSWRWKHHYHQWVRI$XJXVWDQG$VD

  UHVXOWRI'HIHQGDQWV¶LQWHQWLRQDODQGFRRUGLQDWHGSODQVWRFRPPLWYLROHQFHDJDLQVWWKRVHZKR

  VWRRGXSIRUPLQRULW\UHVLGHQWVLQ&KDUORWWHVYLOOH:LVSHOZH\ZDVKDUDVVHGLQWLPLGDWHGDQG

  DVVDXOWHGE\'HIHQGDQWVDQGWKHLUFRFRQVSLUDWRUV6LQFHWKHHYHQWVRIWKHZHHNHQG:LVSHOZH\

  KDVVXIIHUHGH[WUHPHHPRWLRQDOGLVWUHVVWKDWKDVPDQLIHVWHGLQSK\VLFDOV\PSWRPVLQFOXGLQJ

  FRQVWULFWHGFKHVWSDLQGLIILFXOW\VOHHSLQJ LQFOXGLQJQLJKWPDUHVFRQFHUQLQJWKHHYHQWVRI$XJXVW

  DQG DQGWKHLQDELOLW\WRUHWXUQIXOOWLPHWRZRUN

                 3ODLQWLII$SULO0XxL]LVD0H[LFDQ$PHULFDQUHVLGHQWRIWKH&RPPRQZHDOWKRI

  9LUJLQLD%HIRUHWKHHYHQWVRI$XJXVWVKHZDVWKH'LUHFWRURI&OLQLFDO2SHUDWLRQVDWD

  FRPSDQ\WKDWKHOSVGHYHORSQHZWUHDWPHQWVIRUSDWLHQWVVXIIHULQJIURPLQFXUDEOHGLVHDVHV2Q

  $XJXVW0XxL]SHDFHIXOO\SURWHVWHG'HIHQGDQWV¶SODQQHGHYHQW$VDUHVXOWRI'HIHQGDQWV¶

  LQWHQWLRQDODQGFRRUGLQDWHGSODQVWRFRPPLWYLROHQFHDJDLQVWPLQRULW\UHVLGHQWV0XxL]ZDV

  LQWLPLGDWHGDQGKDUDVVHGRQPXOWLSOHRFFDVLRQVRQ$XJXVW$PRQJRWKHUWKLQJV0XxL]ZDV

  FORVHWREHLQJKLWE\WKHFDUWKDW'HIHQGDQW)LHOGVLQWHQWLRQDOO\GURYHLQWRDFURZGRISURWHVWRUV

  LQDQDFWRIGRPHVWLFWHUURULVP0XxL]KDVVXIIHUHGVHYHUHHPRWLRQDOLQMXU\KDVEHHQGLDJQRVHG

  ZLWKDFXWHVWUHVVGLVRUGHUDQGWUDXPDDQGZDVXQDEOHWRUHWXUQWRZRUNIRUPRQWKV6KHKDV

  VXIIHUHGHFRQRPLFORVVDVDUHVXOWRIKHULQMXULHV



                                                     
                                                     
  Y
  
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 5 of 112 Pageid#: 817
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 22 of 128 Pageid#:
                                   1287



                 3ODLQWLII-RKQ'RHLVDQ$IULFDQ$PHULFDQUHVLGHQWRIWKH&RPPRQZHDOWKRI

  9LUJLQLDDQGDVWXGHQWDW89$2Q$XJXVW-RKQ'RHSHDFHIXOO\SURWHVWHG'HIHQGDQWV¶

  SODQQHGHYHQW2QWKHEDVLVRIKLVUDFH-RKQ'RHZDVLQWLPLGDWHGKDUDVVHGDVVDXOWHGDQG

  VSUD\HGZLWKFDXVWLFVXEVWDQFHV

                 3ODLQWLII+DQQDK3HDUFHLVDGHUPDWRORJLVWZKROLYHVLQ&KDUORWWHVYLOOHZLWKKHU

  KXVEDQGDQGIRXUFKLOGUHQ3HDUFHDQGKHUIDPLO\DUHDFWLYHPHPEHUVRI&RQJUHJDWLRQ%HWK

  ,VUDHO2Q$XJXVW3HDUFHDQGKHUVRQSHDFHIXOO\SURWHVWHG'HIHQGDQWV¶SODQQHGHYHQW2Q

  WKHEDVLVRIKHUUHOLJLRQ3HDUFHZDVWKUHDWHQHGKDUDVVHGLQWLPLGDWHGDQGSK\VLFDOO\DVVDXOWHG

  6XEVHTXHQWO\DIHZGD\VDIWHUWKH8QLWHWKH5LJKW³UDOO\´'HIHQGDQWV$QGUHZ$QJOLQDQG

  0RRQEDVH+ROGLQJV//&¶VZHEVLWH'DLO\6WRUPHULQWHQGLQJWRLQWLPLGDWH3HDUFHDQGKHUVRQ

  SRVWHGWKHLUSLFWXUHRQOLQH

                 3ODLQWLII(OL]DEHWK6LQHVDUHVLGHQWRIWKH&RPPRQZHDOWKRI9LUJLQLDLVD

  VHFRQG\HDUODZVWXGHQWDW89$/DZ6FKRRODQGDJUDGXDWHRI&RUQHOO8QLYHUVLW\2Q$XJXVW

  DQG6LQHVSHDFHIXOO\SURWHVWHG'HIHQGDQWV¶SODQQHGHYHQWV$VDUHVXOWRIZLWQHVVLQJWKH

  HYHQWVRIWKHZHHNHQGLQFOXGLQJWKHGRPHVWLFWHUURULVWDWWDFNRQ$XJXVWZKHUH'HIHQGDQW

  )LHOGVGURYHDFDULQWRDFURZG6LQHVKDVVXIIHUHGIURPVHYHUHHPRWLRQDOGLVWUHVVDQGVKRFN

                 3ODLQWLII0DULVVD%ODLULVDPXOWLUDFLDOUHVLGHQWRIWKH&RPPRQZHDOWKRI9LUJLQLD

  6KHZRUNVDVDSDUDOHJDO2Q$XJXVW%ODLUZDVSHDFHIXOO\SURWHVWLQJZKHQ'HIHQGDQW)LHOGV

  GURYHKLVFDULQWRDFURZGRISURWHVWRUVNLOOLQJ%ODLU¶VFRZRUNHUDQGIULHQG+HDWKHU+H\HU

  )LHOGV¶VFDUQDUURZO\PLVVHG%ODLURQO\EHFDXVHKHUILDQFp3ODLQWLII0DUFXV0DUWLQSXVKHGKHU

  RXWRIWKHZD\EHIRUHEHLQJKLWKLPVHOI%ODLUVXIIHUHGSK\VLFDOLQMXULHVDQGFRQWLQXHVWRVXIIHU

  IURPVHYHUHHPRWLRQDOGLVWUHVVDVDUHVXOWRI'HIHQGDQWV¶DFWLRQV



                                                      
                                                       
  Y
  
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 6 of 112 Pageid#: 818
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 23 of 128 Pageid#:
                                   1288



                 3ODLQWLII0DUFXV0DUWLQLVDQ$IULFDQ$PHULFDQUHVLGHQWRIWKH&RPPRQZHDOWKRI

  9LUJLQLD+HZRUNVDVDODQGVFDSHU2Q$XJXVW0DUWLQZDVSHDFHIXOO\SURWHVWLQJWKH8QLWH

  WKH5LJKW³UDOO\´+HZDVVWUXFNE\'HIHQGDQW)LHOGVZKRGURYHKLVFDULQWRDFURZGRI

  SURWHVWRUVLQDQDFWRIGRPHVWLFWHUURULVP0DUWLQSXVKHGKLVILDQFpHRXWRIWKHZD\RIWKH

  VSHHGLQJFDUEXWKHZDVVHYHUHO\LQMXUHGE\WKHDWWDFNLQFOXGLQJVXVWDLQLQJDEURNHQOHJDQG

  DQNOHWKDWUHTXLUHGVXUJHU\+HFRQWLQXHVWRVXIIHUVHYHUHHPRWLRQDOGLVWUHVVDVDUHVXOWRI

  'HIHQGDQWV¶DFWLRQV

                 3ODLQWLII1DWDOLH5RPHURLVD&RORPELDQ$PHULFDQXQGHUJUDGXDWHDW89$2Q

  $XJXVW5RPHURZDVRQHRIDJURXSRIFRPPXQLW\PHPEHUVDQGVWXGHQWVZKRZHUH

  VXUURXQGHGE\WRUFKEHDULQJQHR1D]LVDQGZKLWHVXSUHPDFLVWVDWWKH5RWXQGD2Q$XJXVW

  5RPHURSHDFHIXOO\SURWHVWHG'HIHQGDQWV¶SODQQHGHYHQW5RPHURZDVRQ)RXUWK6WUHHWZKHQ

  'HIHQGDQW)LHOGVLQWHQWLRQDOO\GURYHDFDULQWRWKHFURZGRISURWHVWRUVLQDQDFWRIGRPHVWLF

  WHUURULVP5RPHURZDVVWUXFNE\WKHYHKLFOHGULYHQE\)LHOGVDQGVXVWDLQHGPDQ\LQMXULHV7KH

  FDUNQRFNHGKHUXQFRQVFLRXVIUDFWXULQJKHUVNXOODQGOHDYLQJKHUZLWKDFRQFXVVLRQ7KHFDU

  DOVRIUDFWXUHGWKHURRWRIRQHWRRWKDQGOHIWVHYHUHFRQWXVLRQVDFURVVKHUERG\5RPHUR

  FRQWLQXHVWRVXIIHUYHUWLJRDQGGHELOLWDWLQJKHDGDFKHV,WLVXQFOHDUZKHQ5RPHUR¶VV\PSWRPV

  ZLOOVXEVLGH,QDGGLWLRQWRKHUSK\VLFDOLQMXULHV5RPHURDOVRVXIIHUHGVHYHUHHPRWLRQDOGLVWUHVV

  DVDUHVXOWRIWKHSODQQHGHYHQWDQGWHUURULVWDWWDFNRQ$XJXVWDQGKDVIHDUHGUHWXUQLQJWRWKH

  89$FDPSXV$VDUHVXOWRIKHUSK\VLFDODQGHPRWLRQDOWUDXPD5RPHURKDVDOUHDG\PLVVHGD

  VHPHVWHURIVFKRRO

                 3ODLQWLII&KHOVHD$OYDUDGRLVDUHVLGHQWRI5LFKPRQG9LUJLQLD6KHZRUNVDVD

  FULVLVFRXQVHORUIRUWKHKRPHOHVVDQGPHQWDOO\LOO2Q$XJXVW$OYDUDGRSHDFHIXOO\SURWHVWHG

  'HIHQGDQWV¶SODQQHGHYHQW6KHZDVVWUXFNE\'HIHQGDQW)LHOGVZKHQKHGURYHKLVFDUGRZQ

                                                      
                                                      
  Y
  
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 7 of 112 Pageid#: 819
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 24 of 128 Pageid#:
                                   1289



  )RXUWK6WUHHWLQWRDFURZGRISURWHVWRUV6KHQDUURZO\PLVVHGEHLQJKLWDJDLQE\)LHOGVZKHQKH

  GURYHKLVFDUEDFNZDUGVXSWKHVWUHHW7KHFDUNQRFNHG$OYDUDGRWRWKHJURXQGFDXVLQJKHUWR

  VXIIHUVHULRXVLQMXULHVLQFOXGLQJDFRQFXVVLRQDQGVHYHUHFRQWXVLRQVRQKHUOHJV$OYDUDGR

  FRQWLQXHVWRH[SHULHQFHVLGHHIIHFWVRIWKHFRQFXVVLRQLQFOXGLQJFRQIXVLRQIRUJHWIXOQHVVDQG

  GLIILFXOW\SURFHVVLQJQRUPDOFRQYHUVDWLRQV$OYDUDGRKDVDOVRVXIIHUHGVHYHUHHPRWLRQDOGLVWUHVV

  DVDUHVXOWRIWKH$XJXVWHYHQWV

  %      'HIHQGDQWV

                 'HIHQGDQW-DVRQ.HVVOHULVDZKLWHQDWLRQDOLVWDQGDPHPEHURIWKH3URXG%R\V

  $UHVLGHQWRI&KDUORWWHVYLOOH9LUJLQLD.HVVOHUXVHVWKHKDQGOH³0DG'LPHQVLRQ´RQ'LVFRUGDQG

  #7KHB0DG'LPHQVLRQRQ7ZLWWHU7RJHWKHUZLWK'HIHQGDQW0RVOH\.HVVOHUOHGWKHRUJDQL]LQJ

  HIIRUWVIRUWKH8QLWHWKH5LJKW³UDOO\´LQ&KDUORWWHVYLOOH.HVVOHULVDOVRWKHSUHVLGHQWDQG

  IRXQGHURI8QLW\DQG6HFXULW\IRU$PHULFDDJUDVVURRWVRUJDQL]DWLRQWKDWFODLPVLWLVGHGLFDWHG

  WR³GHIHQGLQJ:HVWHUQFLYLOL]DWLRQ´DQGLVDFRQWULEXWRUWRZHEVLWHVOLNH9'DUHFRPD

  [HQRSKRELFQDWLYLVWSXEOLFDWLRQDQGWKH'DLO\&DOOHUDFRQVHUYDWLYHQHZVRXWOHW.HVVOHUZDV

  WKHOHDGRUJDQL]HUIRUWKH8QLWHWKH5LJKW³UDOO\´DQGZDVRQHRIWKHQDPHVIHDWXUHGRQD

  SURPRWLRQDOSRVWHUIRUWKH³UDOO\´,Q-DQXDU\.HVVOHUDWWDFNHGDPDQLQGRZQWRZQ

  &KDUORWWHVYLOOHZKLOHFROOHFWLQJVLJQDWXUHVIRUKLVSHWLWLRQWRUHPRYHWKH$IULFDQ$PHULFDQYLFH

  PD\RU:HV%HOODP\IURPWKH&KDUORWWHVYLOOH&LW\&RXQFLO,Q$SULO.HVVOHUSOHDGHGJXLOW\WR

  DPLVGHPHDQRUFKDUJHIRUWKHDVVDXOWDQGZDVWKHQFKDUJHGZLWKIHORQ\SHUMXU\IRUO\LQJWRWKH

  SROLFHLQFRQQHFWLRQZLWKWKHDVVDXOW

                 'HIHQGDQW5LFKDUG6SHQFHUDUHVLGHQWRIWKH&RPPRQZHDOWKRI9LUJLQLDZKR

  DWWHQGHG89$LVWKHKHDGRIWKHZKLWHQDWLRQDOLVW³WKLQNWDQN´1DWLRQDO3ROLF\,QVWLWXWH,Q

  6SHQFHUFUHDWHGDQRQOLQHSXEOLFDWLRQFDOOHGDOWULJKWFRP6SHQFHURUJDQL]HVKLVIROORZHUV

                                                     
                                                      
  Y
  
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 8 of 112 Pageid#: 820
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 25 of 128 Pageid#:
                                   1290



  WRDFWLQIXUWKHUDQFHRIKLVLGHRORJ\FDOOLQJIRUDQ³HWKQLFFOHDQVLQJ´6SHQFHUSODQQHGDQGOHG

  WKHYLROHQWWRUFKOLJKWUDOO\DWKLVDOPDPDWHURQ)ULGD\HYHQLQJ6SHQFHUDFWLYHO\SURPRWHGWKH

  8QLWHWKH5LJKW³UDOO\´RQ6DWXUGD\WRKLVQXPHURXVIROORZHUVRQVRFLDOPHGLDDQGHQFRXUDJHG

  DQGLQFLWHGLQWLPLGDWLRQDQGYLROHQFHEDVHGRQUDFLDOUHOLJLRXVDQGHWKQLFDQLPRVLW\

                 'HIHQGDQW&KULVWRSKHU&DQWZHOOLVDUHVLGHQWRI1HZ+DPSVKLUHDQGLVDZKLWH

  QDWLRQDOLVWDQGDVHOISURFODLPHGIDVFLVW+HKRVWV³5DGLFDO$JHQGD´DSRGFDVWDQG<RX7XEH

  VKRZVWUHDPHGOLYHPXOWLSOHWLPHVDZHHNDQGUXQVWKHZHEVLWHFKULVWRSKHUFDQWZHOOFRP

  &DQWZHOOKDVVWDWHGWKDWRQFHKH³UHDOL]HGWKDW>-HZLVKSHRSOH@ZHUHUHVSRQVLEOHIRUWKH

  FRPPXQLVP´KHGHFLGHG³OHW¶VIXFNLQJJDVWKHNLNHVDQGKDYHDUDFHZDU´+HKDVZULWWHQ³,

  WKLQNFKHPLFDODQGELRORJLFDOZHDSRQVFDQGRDJUHDWGHDORIJRRGIRUPDQNLQG5HOHDVLQJ

  QHUYHJDVRUVRPHNLQGRIOHWKDOYLUXVLQWRDOHIWZLQJSURWHVWFRXOGSUHSDUHWKHERGLHVIRU

  SK\VLFDOUHPRYDOZLWKRXWPDNLQJDELJVFHQHIRUWKHFDPHUDVRUGHVWUR\LQJDQ\WKLQJRIYDOXH´

  ,QFRQQHFWLRQZLWKWKH8QLWHWKH5LJKW³UDOO\´LQ&KDUORWWHVYLOOHRQ$XJXVWDQG&DQWZHOO

  ZDVFKDUJHGZLWKWZRIHORQ\FRXQWVRILOOHJDOXVHRIWHDUJDVDQGRQHIHORQ\FRXQWRIPDOLFLRXV

  ERG\LQMXU\E\PHDQVRIDFDXVWLFVXEVWDQFH+HZDVLQGLFWHGRQ'HFHPEHURQDIHORQ\FKDUJH

  RILOOHJDOXVHRIWHDUJDV

                 'HIHQGDQW-DPHV$OH[)LHOGV-UDUHVLGHQWRI2KLRLVDPHPEHURI'HIHQGDQW

  9DQJXDUG$PHULFD0RWLYDWHGE\UDFLDOUHOLJLRXVDQGHWKQLFDQLPRVLW\DQGLQIXUWKHUDQFHRI

  'HIHQGDQWV¶FRQVSLUDF\RQ$XJXVW)LHOGVFRPPLWWHGDQDFWRIGRPHVWLFWHUURULVPE\GULYLQJ

  D'RGJH&KDOOHQJHULQWRDFURZGRISURWHVWHUVLQMXULQJGR]HQVDQGNLOOLQJD\HDUROGZRPDQ

  +HDWKHU+H\HU2Q'HFHPEHUKHZDVLQGLFWHGRQRQHFRXQWRIILUVWGHJUHHPXUGHUWKUHH

  FRXQWVRIPDOLFLRXVZRXQGLQJWKUHHFRXQWVRIDJJUDYDWHGPDOLFLRXVZRXQGLQJWZRFRXQWVRI

  IHORQLRXVDVVDXOWDQGRQHFRXQWRIKLWDQGUXQ OHDYLQJWKHVFHQHRIDQDFFLGHQW 

                                                     
                                                      
  Y
  
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 9 of 112 Pageid#: 821
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 26 of 128 Pageid#:
                                    1291



                  'HIHQGDQW9DQJXDUG$PHULFDLVDQXQLQFRUSRUDWHGDVVRFLDWLRQSXUVXDQWWR

   9LUJLQLD&RGH0HPEHUVRI9DQJXDUG$PHULFDYROXQWDULO\MRLQIRUWKHFRPPRQ

   SXUSRVHRISURPRWLQJZKLWHQDWLRQDOLVPDQGEHOLHYHWKDWSHRSOHZLWK³ZKLWHEORRG´KDYHD

   VSHFLDOERQGZLWK³$PHULFDQVRLO´,WZDVIRUPHGLQ&DOLIRUQLDLQDQGLVFRPSULVHGRI

   WZHOYHFKDSWHUVDFURVVWKHFRXQWU\7KHJURXS¶VZHEVLWHVWDWHVWKDWWRMRLQWKHJURXSDSHUVRQ

   PXVWEH³RIDWOHDVWZKLWH(XURSHDQKHULWDJH´'HIHQGDQW)LHOGVLVDPHPEHURI'HIHQGDQW

   9DQJXDUG$PHULFDKHZRUHWKHLUXQLIRUPDQGFDUULHGD9DQJXDUG$PHULFDVKLHOGDWWKH8QLWH

   WKH5LJKWHYHQWRQ$XJXVW

                  'HIHQGDQW$QGUHZ$QJOLQLVDUHVLGHQWRI2KLRDQHR1D]LDQGWKHIRXQGHURI

   'DLO\6WRUPHU²DQRUJDQL]DWLRQWKDWRSHUDWHVWKURXJKDZHEVLWHWKDW$QJOLQSXEOLVKHV'DLO\

   6WRUPHUKDVFDOOHGLWVZHEVLWHWKH³ZRUOG¶VPRVWJHQRFLGDO´ZHEVLWH'DLO\6WRUPHUZDVQDPHG

   DIWHU'HU6WUPHUD1D]LSURSDJDQGDWDEORLGNQRZQIRUYLUXOHQWO\DQWL6HPLWLFFDULFDWXUHVDQG

   SXEOLVKHGE\-XOLXV6WUHLFKHUZKRZDVODWHUFRQYLFWHGRIFULPHVDJDLQVWKXPDQLW\DW1XUHPEHUJ

   8QWLOUHFHQWO\'DLO\6WRUPHUKDGDZHEVLWHDWZZZGDLO\VWRUPHUFRP$QJOLQDQGKLVDVVRFLDWHV

   DW'DLO\6WRUPHULQFOXGLQJ'HIHQGDQW5REHUW³$]]PDGRU´5D\XVH'DLO\6WRUPHU³DVD

   KDUGFRUHIURQWIRUWKHFRQYHUVLRQRIPDVVHVLQWRDSURZKLWH$QWL6HPLWLFLGHRORJ\´WR³VHOO>@

   JOREDOZKLWHVXSUHPDF\´DQGWR³PDNHDUDFLVWDUP\´7KHZHEVLWHZKLFKEHFDPHWKHPRVW

   YLVLWHGKDWHVLWHRQWKH,QWHUQHWLQLQFOXGHVVHFWLRQVHQWLWOHG³-HZLVK3UREOHP´DQG³5DFH

   :DU´7KH&KLHI7HFKQLFDO2IILFHURI'DLO\6WRUPHUKDVSRVLWHGWKDW'DLO\6WRUPHU³KDVEHHQ

   HIIHFWLYHDWZKDW>LWLV@GRLQJ´E\³WKHPDQLIHVWDWLRQRIRXUSHRSOHRQWKHJURXQGLQWKHUHDO

   ZRUOG´)ROORZHUVRI$QJOLQDQG'DLO\6WRUPHUZKRFDOOWKHPVHOYHV³6WRUPHUV´FRPPXQLFDWH

   RQWKHZHEVLWH¶VIRUXPZKLFKLVPRGHUDWHGE\$QJOLQDQGDFFHVVLEOHRQO\ZLWKDVSHFLDO³GDUN

   ZHE´WRUEURZVHU2Q$QJOLQ¶VRUGHUVDQGXQGHUKLVFRQWLQXLQJVXSHUYLVLRQ6WRUPHUVKDYH

                                                     
                                                      
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 10 of 112 Pageid#: 822
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 27 of 128 Pageid#:
                                    1292



   IRUPHGORFDOFKDSWHUVFDOOHG³6WRUPHU%RRN&OXEV´DVSDUWRI$QJOLQ¶VSODQWR³EXLOGDQ

   LQYLVLEOHHPSLUH´$QJOLQXVHVWKH'DLO\6WRUPHUIRUXPWRDFWLYHO\PRQLWRUWKH%RRN&OXEVDQG

   XVHVWKHZHEVLWHWRLVVXHRUGHUVRQKRZWRRUJDQL]H³2IILFLDO2SHUDWLRQV´RI6WRUPHU%RRN

   &OXEVLQFOXGHILUHDUPVWUDLQLQJRUJDQL]LQJIRUSURWHVWVDQGEHLQJUHDG\WRUHVSRQGWR

   ³FKDOOHQJHV´LVVXHGE\$QJOLQ'DLO\6WRUPHUHVWDEOLVKHG³PHHWXSV´DQGFKDWURRPVWKDWFR

   FRQVSLUDWRUVDQGDWWHQGHHVXVHGWKURXJKRXWWKH$XJXVWDQGZHHNHQGWRFRRUGLQDWHWKHLU

   YLROHQFH7KH'DLO\6WRUPHUUHOHDVHGLWVRZQSRVWHUSURPRWLQJWKH³UDOO\´WKDWUHDG³81,7(

   7+(5,*+7-RLQ$]]PDGRUDQGWKH'DLO\6WRUPHUWRHQG-HZLVKLQIOXHQFHLQ$PHULFD´

   DFFRPSDQLHGE\D1D]LOLNHILJXUHZLHOGLQJDKDPPHUUHDG\WRVPDVKD-HZLVKVWDU)RUPRQWKV

   EHIRUHWKH8QLWHWKH5LJKWHYHQWVRQ$XJXVWDQG$QJOLQRUJDQL]HGKLVIROORZHUVWRDWWHQG

   DQGSUHSDUHGWKHPWRFRPPLWUDFLDOO\PRWLYDWHGYLROHQWDFWVLQ&KDUORWWHVYLOOH$OWKRXJK$QJOLQ

   GLGQRWDWWHQGWKHUDOO\KLPVHOIEHFDXVHKHLVFXUUHQWO\LQKLGLQJWRHYDGHVHUYLFHLQFRQQHFWLRQ

   ZLWKDVHSDUDWHODZVXLWUHODWLQJWRHYHQWVLQ:KLWHILVK0RQWDQD$QJOLQRUFKHVWUDWHGWKH

   PRYHPHQWVRI'DLO\6WRUPHUIROORZHUVDQGLQFLWHGWKHPWRYLROHQFHRQDOLYHIHHGWKDWVWUHDPHG

   FRQWHPSRUDQHRXVO\ZLWKWKHHYHQWVDVWKH\RFFXUUHGRQ$XJXVWDQGLQ&KDUORWWHVYLOOH

   0RUHRYHU$QJOLQXVHVWKH'DLO\6WRUPHUWRHQWLFHKLVIROORZHUVWRKDUDVVDQGLQWLPLGDWH

   ³-HZIHPLQLVWHWF´LQGLYLGXDOVE\PDQGDWLQJLQLWV³VW\OHJXLGH´WKDWWKHDXWKRUVDOZD\VLQFOXGH

   WKHWDUJHWHGLQGLYLGXDOV¶VRFLDOPHGLDDFFRXQWVEHFDXVH³>Z@H¶YHJRWWHQSUHVVDWWHQWLRQEHIRUH

   ZKHQ,GLGQ¶WHYHQFDOOIRUVRPHRQHWREHWUROOHGEXWMXVWOLQNHGWKHPDQGSHRSOHZHQWDQGGLG

   LW´

                  'HIHQGDQW0RRQEDVH+ROGLQJV//&LVDQ2KLRIRUSURILWOLPLWHGOLDELOLW\

   FRUSRUDWLRQUHJLVWHUHGE\'HIHQGDQW$QJOLQWKDWRSHUDWHVWKH'DLO\6WRUPHU¶VZHEVLWH

   'HIHQGDQW$QJOLQKDVHQFRXUDJHGUHDGHUVWRILQDQFLDOO\VXSSRUWWKH'DLO\6WRUPHUE\VHQGLQJ

                                                      
                                                       
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 11 of 112 Pageid#: 823
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 28 of 128 Pageid#:
                                    1293



   GRQDWLRQVXVLQJELWFRLQFKHFNVDQGFUHGLWFDUGVQRWLQJWKDW³LWZRQ¶WVD\µ'DLO\6WRUPHU¶RQ

   \RXUFUHGLWFDUGELOOEXWZLOOLQVWHDGVD\µ0RRQEDVH+ROGLQJV¶ZKLFKHLWKHUVRXQGVOLNHDKREE\

   VKRSRUDPXOWLOHYHOPDUNHWLQJVFKHPHUXQE\UHSWRLGV$Q\ZD\LWORRNVLQQRFXRXVRQ\RXU

   VWDWHPHQW´

                  'HIHQGDQW5REHUW³$]]PDGRU´5D\DUHVLGHQWRI7H[DVLVDQHR1D]LDQGD

   ZULWHUIRU'DLO\6WRUPHU¶VZHEVLWH+HKDVKHOGKLPVHOIRXWDVDUHSUHVHQWDWLYHRI'DLO\6WRUPHU

   DQGVHUYHGDVDQDJHQWRI'DLO\6WRUPHULQRUJDQL]LQJWKH8QLWHWKH5LJKWHYHQWV+HLVWKH

   OHDGHURIWKH³'DOODV)RUW:RUWK6WRUPHU%RRN&OXE´ZKLFKLVRQHRIPDQ\ORFDO'DLO\6WRUPHU

   JURXSVDFURVVWKHFRXQWU\,QKLVDUWLFOHVSXEOLVKHGRQ'DLO\6WRUPHU¶VZHEVLWH5D\HQFRXUDJHG

   H[WUHPLVWVWRDWWHQGWKHHYHQWVLQ&KDUORWWHVYLOOHRQ$XJXVWDQGDQGLQFLWHGWKHPWR

   YLROHQFH5D\DWWHQGHGWKH³UDOO\´KLPVHOIDQGKDGDSODQQLQJPHHWLQJZLWKFHUWDLQRWKHU

   'HIHQGDQWVLQ&KDUORWWHVYLOOHRQ$XJXVW

                  'HIHQGDQW1DWKDQ'DPLJRDUHVLGHQWRI&DOLIRUQLDLVDZKLWHQDWLRQDOLVWDQGWKH

   IRXQGHURIDZKLWHVXSUHPDFLVWRUJDQL]DWLRQ'HIHQGDQW,GHQWLW\(YURSD'HIHQGDQW'DPLJRZDV

   DUUHVWHGRQ$SULOIRUDVVDXOWLQJDZRPDQDWWKH³%DWWOHIRU%HUNHOH\´UDOO\ZKLFK

   'DPLJRGHVFULEHGDVDWHVWUXQIRUWKH³UDOOLHV´LQ&KDUORWWHVYLOOH'HIHQGDQW6SHQFHUKDVVWDWHG

   WKDW'DPLJRDQGKLVJURXS,GHQWLW\(YURSDWRRNWKHOHDGLQRUJDQL]LQJZKLWHVXSUHPDFLVW

   SDUWLFLSDWLRQDPRQJSHRSOHIURPRXWVLGH&KDUORWWHVYLOOHLQFRQQHFWLRQZLWKWKHHYHQWVRQ$XJXVW

   DQG

                  'HIHQGDQW(OL0RVOH\ZKRLVDUHVLGHQWRI3HQQV\OYDQLDLVDZKLWHVXSUHPDFLVW

   DQGZDVWKHOHDGHURI,GHQWLW\(YURSDIURP$XJXVWWR1RYHPEHU+HLVDOVRDFRIRXQGHU

   ZLWK'HIHQGDQW5LFKDUG6SHQFHURI2SHUDWLRQ+RPHODQGDQHZRUJDQL]DWLRQWKDWDLPVWRWDNH

   ZKLWHQDWLRQDOLVWDFWLYLVP³WRWKHQH[WOHYHO´+HKDVGHVFULEHGKLPVHOIDVWKH³FRPPDQGVROGLHU

                                                      
                                                       
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 12 of 112 Pageid#: 824
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 29 of 128 Pageid#:
                                    1294



   PDMRURIWKHµDOWULJKW¶´DQGDVWKHRUJDQL]HURIWKH8QLWHWKH5LJKW³UDOO\´2QFHUWDLQVRFLDO

   PHGLDQHWZRUNV0RVOH\KDVXVHGWKHKDQGOHV#1RW(OL0RVOH\DQG#7KDW(OL0RVOH\0RVOH\

   ZDVRQHRIWKHNH\ILJXUHVZKRSODQQHGDQGOHGWKHHYHQWVRI$XJXVWDQG

                  'HIHQGDQW,GHQWLW\(YURSDLVDQXQLQFRUSRUDWHGDVVRFLDWLRQSXUVXDQWWR9LUJLQLD

   &RGH0HPEHUVRI,GHQWLW\(YURSDYROXQWDULO\MRLQHGIRUWKHFRPPRQSXUSRVHRI

   SURPRWLQJD³ZKLWH$PHULFDQLGHQWLW\´,WZDVIRXQGHGLQ0DUFKE\'HIHQGDQW'DPLJR

   DQGRQ$XJXVW'HIHQGDQW0RVOH\VXFFHHGHGKLPDV³FKLHIH[HFXWLYHRIILFHU´7KH

   JURXSLVFXUUHQWO\OHGE\3DWULFN&DVH\,GHQWLW\(YURSD¶VIRUPHU&KLHIRI6WDII7KHJURXS

   DGRSWHGDQGSRSXODUL]HGWKHZKLWHVXSUHPDFLVWVORJDQ³<RXZLOOQRWUHSODFHXV´WKDW'HIHQGDQWV

   DQGFRFRQVSLUDWRUVFKDQWHGDVWKH\PDUFKHGRQ$XJXVWDQG

                  'HIHQGDQW0DWWKHZ+HLPEDFKDUHVLGHQWRI,QGLDQDLVWKHFKDLUPDQRI

   'HIHQGDQW7UDGLWLRQDOLVW:RUNHU3DUW\ ³7:3´ ,Q+HLPEDFKDQG'HIHQGDQW0DWWKHZ

   3DUURWWIRXQGHGWKHQHR1D]L7UDGLWLRQDOLVW<RXWK1HWZRUNDZKLWHQDWLRQDOLVWJURXSWKDW

   SURPRWHVDUDFLVWLQWHUSUHWDWLRQRI&KULVWLDQLW\$ORQJVLGH'HIHQGDQW-HII6FKRHSWKHOHDGHURI

   1DWLRQDO6RFLDOLVW0RYHPHQW ³160´ +HLPEDFKFRFKDLUVWKH1DWLRQDOLVW)URQWDQXPEUHOOD

   RUJDQL]DWLRQRIDSSUR[LPDWHO\WZHQW\ZKLWHVXSUHPDFLVWRUJDQL]DWLRQVLQFOXGLQJUDFLVWVNLQKHDG

   FUHZV.ODQJURXSVDQGQHR1D]LJURXSV+HKDVVDLG³2IFRXUVHZHORRNXSWRPHQOLNH$GROI

   +LWOHUDVLQVSLUDWLRQVIRUZKDWZHFDQDFKLHYH´+HLPEDFKRUJDQL]HGDQGOHGPDUFKHUVIURP

   7:3RQ$XJXVW

                  'HIHQGDQW0DWWKHZ3DUURWWDUHVLGHQWRI,QGLDQDLVWKHFRIRXQGHURIWKH

   7UDGLWLRQDOLVW<RXWK1HWZRUNDORQJZLWKKLVVWHSVRQLQODZ'HIHQGDQW+HLPEDFK+HLV

   FXUUHQWO\WKH&KLHI,QIRUPDWLRQ2IILFHUDQG'LUHFWRURI'HIHQGDQW7:32Q$XJXVW3DUURWW

   UHIXVHGWROHDYH(PDQFLSDWLRQ3DUNDIWHUDVWDWHRIHPHUJHQF\ZDVGHFODUHGDQGZDVDUUHVWHGE\

                                                      
                                                        
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 13 of 112 Pageid#: 825
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 30 of 128 Pageid#:
                                    1295



   WKHSROLFHIRUIDLOLQJWRGLVSHUVH3DUURWWZURWHDQDFFRXQWRIKLVH[SHULHQFHVDWWKH8QLWHWKH

   5LJKW³UDOO\´LQ³&DWFKHULQWKH5HLFK0\$FFRXQWRIP\([SHULHQFHVLQ&KDUORWWHVYLOOH´,QLW

   KHZURWHWKDW'HIHQGDQWV7:3/HDJXHRIWKH6RXWK160DQGRWKHU1DWLRQDOLVW)URQWJURXSV

   MRLQHGWRJHWKHUWR³KHOSFUHDWHWZRVKLHOGZDOOV´IRU³WKHILJKW´

                  'HIHQGDQW7UDGLWLRQDOLVW:RUNHU3DUW\ ³7:3´ LVDQXQLQFRUSRUDWHGDVVRFLDWLRQ

   SXUVXDQWWR9LUJLQLD&RGHDQGDQDWLRQDOSROLWLFDOSDUW\FRPPLWWHHUHJLVWHUHGZLWKWKH

   )HGHUDO(OHFWLRQ&RPPLVVLRQVLQFH0HPEHUVRI7:3YROXQWDULO\MRLQHGIRUWKHFRPPRQ

   SXUSRVHRISURPRWLQJDQWL6HPLWLVP$FFRUGLQJWR'HIHQGDQW+HLPEDFKWKH7:3KDVWKUHH

   GR]HQDFWLYHFKDSWHUVDQGDQHVWLPDWHGPHPEHUVDFURVVWKHFRXQWU\7KH7:3ZDVFUHDWHG

   E\'HIHQGDQWV+HLPEDFKDQG3DUURWW7KH7:3KDVVDLG³7UXVWQRERG\ZKRIDLOVWRQDPHWKH

   -HZZKRIDLOVWRH[SOLFLWO\DQGFRQVLVWHQWO\RSSRVHWKH-HZDQGZKRSUHDFKHVFOHYHUQHVVRU

   QXDQFHRQWKH-4>-HZLVK4XHVWLRQ@´0HPEHUVRIWKH7:3SURPSWHGDWWHQGHGDQGIXOO\

   SDUWLFLSDWHGLQWKHHYHQWVLQ&KDUORWWHVYLOOHRQ$XJXVWDQGLQFOXGLQJE\HQJDJLQJLQ

   YLROHQFH

                  'HIHQGDQW0LFKDHO+LOODUHVLGHQWRI$ODEDPDLVWKHFRIRXQGHUDQG3UHVLGHQWRI

   'HIHQGDQW/HDJXHRIWKH6RXWKDZKLWHQDWLRQDOLVWRUJDQL]DWLRQ,Q+LOODQGWKH/HDJXHRI

   WKH6RXWKDQQRXQFHGWKHIRUPDWLRQRIDQDUPHGSDUDPLOLWDU\XQLWGXEEHG³WKH,QGRPLWDEOHV´

   WDVNHGZLWKDGYDQFLQJVRXWKHUQVHFHVVLRQE\DQ\PHDQVQHFHVVDU\,Q0D\+LOOSXEOLVKHG

   DQDUWLFOHLQZKLFKKHDVVHUWHG³:H6RXWKHUQQDWLRQDOLVWVGRQRWZDQWDUDFHZDU RUDQ\VRUWRI

   ZDU %XWLIRQHLVIRUFHGRQXVZH¶OOSDUWLFLSDWH6RXWKHUQZKLWHVDUHJHDUHGXSDQGDUPHG

   WRWKHWHHWK6RLIQHJURHVWKLQND³UDFHZDU´LQPRGHUQ$PHULFDZRXOGEHWRWKHLU

   DGYDQWDJHWKH\KDGEHWWHUSUHSDUHWKHPVHOYHVIRUDYHU\UXGHDZDNHQLQJ´+LOOZKRVHQDPH

   ZDVIHDWXUHGRQDSURPRWLRQDOSRVWHUIRUWKH³UDOO\´HQFRXUDJHG/HDJXHRIWKH6RXWKIROORZHUV

                                                      
                                                       
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 14 of 112 Pageid#: 826
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 31 of 128 Pageid#:
                                    1296



   WRDWWHQGE\XUJLQJWKHPQRWWR³PLVVRXWRQWKHIXQ´LQGHDOLQJZLWKFRXQWHUSURWHVWRUV²WKHLU

   SXUSRUWHGHQHPLHV2Q$XJXVW/HDJXHRIWKH6RXWKOHGE\+LOOPDUFKHGWKURXJK

   &KDUORWWHVYLOOHDIWHU9DQJXDUG$PHULFD/LNH9DQJXDUG$PHULFDWKH\PDUFKHGZLWK

   FRRUGLQDWHGVKLHOGVDQGIODJVDQGFDUULHGURGVDQGRWKHUZHDSRQV

                  'HIHQGDQW0LFKDHO7XEEVDUHVLGHQWRI)ORULGDLVWKH³&KLHIRI6WDII´RI

   'HIHQGDQW/HDJXHRIWKH6RXWK7XEEVLVFDSWXUHGRQDYLGHRIURP$XJXVWRUGHULQJ/HDJXH

   RIWKH6RXWKWRDWWDFNE\\HOOLQJ³FKDUJH´$IWHUUHFHLYLQJWKLVFRPPDQGWKHJURXSVWUHDPHG

   SDVWKLPWRDWWDFNFRXQWHUSURWHVWRUV'HIHQGDQW+LOOODWHUERDVWHGWKDW³0U7XEEVZDV

   HYHU\ZKHUHWKHFKDRVZDV´7XEEVSUHYLRXVO\VHUYHGDIRXU\HDUSULVRQVHQWHQFHIRUSODQQLQJWR

   ERPE-HZLVKDQGEODFNRZQHGEXVLQHVVHVLQ)ORULGD

                  'HIHQGDQW/HDJXHRIWKH6RXWKDSULYDWHO\KHOGFRPSDQ\ORFDWHGLQ$ODEDPDLV

   DZKLWHVXSUHPDFLVWJURXSWKDWDGYRFDWHV6RXWKHUQVHFHVVLRQ3ULRUWRWKHHYHQWVRQ$XJXVW

   DQG'HIHQGDQW+LOOSRVWHGLQWKH/HDJXH¶V)DFHERRNJURXSWKDWKHZDQWHG³QRIHZHUWKDQ

   /HDJXHZDUULRUVGUHVVHGDQGUHDG\IRUDFWLRQLQ&KDUORWWHVYLOOH9LUJLQLDRQ$XJXVW´

   1XPHURXVPHPEHUVRIWKH/HDJXHRIWKH6RXWKSDUWLFLSDWHGLQ6DWXUGD\¶VYLROHQWHYHQWVWRJHWKHU

   ZLWKFRGHIHQGDQWV

                  'HIHQGDQW-HII6FKRHSDUHVLGHQWRI0LFKLJDQLVWKHOHDGHURI'HIHQGDQW

   1DWLRQDO6RFLDOLVW0RYHPHQWWKHODUJHVWQHR1D]LFRDOLWLRQLQWKH8QLWHG6WDWHV2Q$SULO

   6FKRHSIRUPHGWKH$U\DQ1DWLRQDOLVW$OOLDQFHODWHUUHQDPHGWKH1DWLRQDOLVW)URQWZKLFK

   LVWKHXPEUHOODRUJDQL]DWLRQIRUKDWHJURXSVVXFKDVWKH7:3WKH$U\DQ7HUURU%ULJDGHDQG

   PDQ\UHJLRQDOIDFWLRQVRIWKH.X.OX[.ODQ6FKRHSKDVVDLGWKDWLIKHFRXOGPHHW$GROI+LWOHU

   WRGD\KHZRXOGVD\³7KDQN\RXIRU\RXUVDFULILFHDQG,KRSHZHKDYHKRQRUHG\RXLQVRPH

   VPDOOZD\E\FDUU\LQJRQWKHILJKW´6FKRHSSDUWLFLSDWHGDFWLYHO\LQWKHHYHQWVRI$XJXVWDQG

                                                       
                                                        
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 15 of 112 Pageid#: 827
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 32 of 128 Pageid#:
                                    1297



   DQGWZHHWHGDIWHUZDUGVWKDW³,WZDVDQ+RQRUWRVWDQGZLWK8DOOLQ&¶9LOOHWKLVZHHNHQG

   1601)7:3/269$(&.&+6DQGWKHUHVWWUXHZDUULRUV´

                            'HIHQGDQW1DWLRQDO6RFLDOLVW0RYHPHQW ³160´ LVDQXQLQFRUSRUDWHG

   DVVRFLDWLRQSXUVXDQWWR9LUJLQLD&RGH0HPEHUVRI160YROXQWDULO\MRLQHGIRUWKH

   FRPPRQSXUSRVHRISURPRWLQJD³JUHDWHU$PHULFD´WKDWZRXOGGHQ\FLWL]HQVKLSWR-HZVQRQ

   ZKLWHVDQG/*%7SHUVRQV/RFDWHGLQ0LFKLJDQ160LVSDUDPLOLWDU\LQVWUXFWXUHLWVPHPEHUV

   FODLPWREHOLHXWHQDQWVVHUJHDQWVRURWKHUPLOLWDU\UDQNV'HIHQGDQW6FKRHSWKHKHDGRI160

   KDVVHUYHGDVLWV³&RPPDQGHU´VLQFH&KDSWHUVRIWKHJURXSVDUHWHUPHG³XQLWV´160

   PDLQWDLQVDEXVLQHVVWKURXJK1605HFRUGV//&VHOOLQJQHR1D]LIODJVVZDVWLNDVJHDUHWF

   0HPEHUVRI160SDUWLFLSDWHGLQWKHYLROHQFHWKDWWRRNSODFHLQ&KDUORWWHVYLOOHRQ$XJXVW

   DQG

                            'HIHQGDQW1DWLRQDOLVW)URQWLVDQXQLQFRUSRUDWHGDVVRFLDWLRQSXUVXDQWWR9LUJLQLD

   &RGHZKRVHPHPEHUVYROXQWDULO\MRLQHGIRUWKHFRPPRQSXUSRVHRISURPRWLQJZKLWH

   QDWLRQDOLVPDQGZKLWHVXSUHPDF\)RUPHUO\NQRZQDVWKH$U\DQ1DWLRQDO$OOLDQFH1DWLRQDOLVW

   )URQWLVDQXPEUHOODRUJDQL]DWLRQFRQVLVWLQJRIZKLWHVXSUHPDFLVWDQGZKLWHQDWLRQDOLVWJURXSV

   LQFOXGLQJQHR1D]LDQG.ODQJURXSV7KH1DWLRQDOLVW)URQWLVOHGE\'HIHQGDQWV6FKRHS

   +HLPEDFK+RSSHUDQG+LOO7KH1DWLRQDOLVW)URQWZDVFRQFHLYHGWREH³WKHWKUHDGWKDWZRXOG

   XQLWHZKLWHVXSUHPDFLVWDQGZKLWHQDWLRQDOLVWFLUFOHV´9DULRXVPHPEHUVRIWKH1DWLRQDOLVW)URQW

   HQJDJHGLQDFWVRIYLROHQFHDQGLQWLPLGDWHGUHVLGHQWVRI&KDUORWWHVYLOOHRQ$XJXVWDQG

                            'HIHQGDQW$XJXVWXV6RO,QYLFWXVIRUPHUO\$XVWLQ0LWFKHOO*LOOHVSLHDUHVLGHQW

   RI)ORULGDLVDZKLWHQDWLRQDOLVWDZKLWHVXSUHPDFLVWDQGDPHPEHURI'HIHQGDQW)UDWHUQDO



   
   
   7KLVWZHHWUHIHUVWR'HIHQGDQWV1DWLRQDOLVW)URQW7:3/HDJXHRIWKH6RXWK9DQJXDUG$PHULFDDQG(DVW&RDVW
   .QLJKWV
                                                                  
                                                                   
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 16 of 112 Pageid#: 828
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 33 of 128 Pageid#:
                                    1298



   2UGHURI$OW.QLJKWV ³)2$.´ WKH³PLOLWDU\ZLQJ´RIWKH3URXG%R\VDJURXSGHVFULEHGDVD

   ³µSUR:HVWHUQIUDWHUQDORUJDQL]DWLRQ¶IRUPHQZKRµUHIXVHWRDSRORJL]HIRUFUHDWLQJWKHPRGHUQ

   ZRUOG¶´+HKDVVDLGWKDWDYLROHQWVHFRQG&LYLO:DULVQHFHVVDU\LQRUGHUWRSUHVHUYH³:HVWHUQ

   FLYLOL]DWLRQ´2Q$XJXVW,QYLFWXVDQQRXQFHGKLVFDQGLGDF\DVD5HSXEOLFDQIRUWKH

   6HQDWHHOHFWLRQLQ)ORULGD,QYLFWXVZKRVHQDPHZDVIHDWXUHGRQDSURPRWLRQDOSRVWHUIRU

   WKH³UDOO\´GUDIWHGWKH³&KDUORWWHVYLOOHVWDWHPHQW´DORQJZLWK6SHQFHUDQGRWKHUVDQG

   SDUWLFLSDWHGLQWKHWRUFKOLWUDOO\RQ$XJXVWZLWKFR'HIHQGDQWV

                  'HIHQGDQW)UDWHUQDO2UGHURIWKH$OW.QLJKWV ³)2$.´ LVDQXQLQFRUSRUDWHG

   DVVRFLDWLRQSXUVXDQWWR9LUJLQLD&RGHDQGLVVHOIGHVFULEHGDVWKH³WDFWLFDOGHIHQVLYH

   DUP´RI3URXG%R\VIRUPHGWRIRFXVRQ³VWUHHWDFWLYLVPSUHSDUDWLRQGHIHQVHDQG

   FRQIURQWDWLRQ´'HIHQGDQW,QYLFWXVLVVHFRQGLQFRPPDQGDW)2$.DQG)2$.DWWHQGHGWKH

   ³UDOO\´LQSDUWWRSURYLGHVHFXULW\WRKLP

                  'HIHQGDQW0LFKDHO³(QRFK´3HLQRYLFKDUHVLGHQWRI1HZ<RUNLVWKHIRXQGHURI

   WKHEORJDQGZHEVLWH7KH5LJKW6WXIIDQGDFRKRVWRIWKH'DLO\6KRDKSRGFDVW2QVRFLDOPHGLD

   3HLQRYLFKKDVDWYDULRXVWLPHVXVHGWKHKDQGOHV#1RW0LNH(QRFKDQG#PLNHHQRFKVEDFN

   3HLQRYLFKIUHTXHQWO\DSSHDUVDWHYHQWVDORQJVLGH'HIHQGDQW6SHQFHU3HLQRYLFKZDVIHDWXUHGRQ

   DSURPRWLRQDOSRVWHUIRUWKH³UDOO\´2Q$XJXVWLQWKHLPPHGLDWHDIWHUPDWKRIWKHFDUDWWDFN

   6SHQFHUDQG3HLQRYLFKVSRNHWRWKHLUIROORZHUVDW0F,QWLUH3DUN

                  'HIHQGDQW/R\DO:KLWH.QLJKWVRIWKH.X.OX[.ODQ ³/R\DO:KLWH.QLJKWV´ LV

   DQXQLQFRUSRUDWHGDVVRFLDWLRQSXUVXDQWWR9LUJLQLD&RGH0HPEHUVRI/R\DO:KLWH

   .QLJKWVYROXQWDULO\MRLQHGIRUWKHFRPPRQSXUSRVHRISURPRWLQJZKLWHQDWLRQDOLVPDQGZKLWH

   VXSUHPDF\%DVHGLQ3HOKDP1RUWK&DUROLQDWKHDVVRFLDWLRQRQO\DFFHSWV³QDWLYHERUQZKLWH

   $PHULFDQ&LWL]HQ>V@´DVPHPEHUV)ROORZLQJWKHHYHQWVLQ&KDUORWWHVYLOOHRQ$XJXVWDQG

                                                     
                                                      
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 17 of 112 Pageid#: 829
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 34 of 128 Pageid#:
                                    1299



   WKH/R\DO:KLWH.QLJKWVFKDQJHGWKHLURXWJRLQJYRLFHPDLOPHVVDJHWRVD\³1RWKLQJPDNHVXV

   PRUHSURXGDWWKH...WKDQZKHQZHVHHZKLWHSDWULRWVVXFKDV-DPHV)LHOGV-UDJHWDNLQJ

   KLVFDUDQGUXQQLQJRYHUQLQHFRPPXQLVWDQWLIDVFLVWNLOOLQJRQHQLJJHUORYHUQDPHG+HDWKHU

   +H\HU-DPHV)LHOGVKDLOYLFWRU\,W¶VPHQOLNH\RXWKDWKDYHPDGHWKHJUHDWZKLWHUDFHVWURQJ

   DQGZLOOEHVWURQJDJDLQ´

                  'HIHQGDQW(DVW&RDVW.QLJKWVRIWKH.X.OX[.ODQDND(DVW&RDVW.QLJKWVRI

   WKH7UXH,QYLVLEOH(PSLUH ³(DVW&RDVW.QLJKWV´ LVDQXQLQFRUSRUDWHGDVVRFLDWLRQSXUVXDQWWR

   9LUJLQLD&RGH0HPEHUVRI(DVW&RDVW.QLJKWVYROXQWDULO\MRLQIRUWKHFRPPRQ

   SXUSRVHRISURPRWLQJZKLWHQDWLRQDOLVPDQGZKLWHVXSUHPDF\,WLVDFWLYHLQVHYHUDOVWDWHVDQG

   KDVDVXEGLYLVLRQRU³NODYHUQ´LQWKHVWDWHRI0DU\ODQG7RP/DUVRQLVWKHLPSHULDOZL]DUGRI

   WKH(DVW&RDVW.QLJKWVRIWKH7UXH,QYLVLEOH(PSLUH7KH(DVW&RDVW.QLJKWVXVLQJWKHKDQGOHV

   #WLJKWURSHBDQG#7LJKWURSHIUHTXHQWO\WZHHWVUDFLVWLPDJHVDQGFRPPHQWVRQ

   6HSWHPEHULWWZHHWHGSLFWXUHVRIEXUQLQJFURVVHVODEHOHGDQLPDJHRIO\QFKHGEODFN

   PHQDV³$ODEDPDZLQGFKLPHV´DQGWZHHWHGDFDUWRRQRID.ODQVPDQXVLQJWZREODFNPHQ

   KXQJIURPWUHHVDVDKDPPRFNLQZKLFKWRUHDGWKHQHZVSDSHUDQGGULQNDQLFHGWHD7KH(DVW

   &RDVW.QLJKWVZDVDNH\SDUWLFLSDQWLQWKH-XO\.ODQUDOO\DQGFRQVSLUHGZLWKWKH1DWLRQDOLVW

   )URQWDQGRWKHU'HIHQGDQWVWRRUJDQL]HDQGSDUWLFLSDWHLQWKHYLROHQWHYHQWVRI$XJXVW

                                                   )$&76

                  'HIHQGDQWVDUHZKLWHVXSUHPDFLVWZKLWHQDWLRQDOLVWDQGQHR1D]LRUJDQL]DWLRQV

   DQGLQGLYLGXDOVZKRKDYHDVSDUWRIWKHLUPLVVLRQWRHQJDJHLQUDFLDOUHOLJLRXVDQGHWKQLFDOO\

   PRWLYDWHGYLROHQFHWKUHDWVLQWLPLGDWLRQDQGKDUDVVPHQW7KHHYHQWVLQ&KDUORWWHVYLOOHDUHSDUW

   RI'HIHQGDQWV¶UHFHQWFRQFHUWHGHIIRUWVWRPRYHIURPWKHVKDGRZVRIDQRQ\PRXVGLVDVVRFLDWHG




                                                      
                                                       
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 18 of 112 Pageid#: 830
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 35 of 128 Pageid#:
                                    1300



   RQOLQHFKDWURRPVDQGLQWRDPRUHRSHQRUJDQL]HGSK\VLFDOSUHVHQFHLQRXUSDUNVDQGRQRXU

   VWUHHWV'HIHQGDQWVDUHFRFRQVSLUDWRUVZLWKHDFKRWKHUDQGRWKHUVXQQDPHG

   , 'HIHQGDQWV$QG8QQDPHG&R&RQVSLUDWRUV&RQVSLUHG7R&RPPLW$FWV2I9LROHQFH
       ,QWLPLGDWLRQ$QG+DUDVVPHQW$JDLQVW7KH&LWL]HQV2I&KDUORWWHVYLOOH9LUJLQLD

   $      'HIHQGDQWV7DUJHWHG&KDUORWWHVYLOOHLQWKH0RQWKV3ULRUWR$XJXVWDQG ³WKH
            6XPPHURI+DWH´ 

                      :KHQWKH-HZVWRRNRYHURXUVRFLHW\DQGWXUQHGLWLQWRDNLNHGRXW
                      OLYLQJKHOOWKH\PDUNHGWKHLUDFKLHYHPHQWE\GHFODULQJD³6XPPHU
                      RI /RYH´    7KH\ WRRN HYHU\WKLQJ DZD\ IURP XV  7KDW DJH LV
                      HQGLQJQRZ:HDUHWDNLQJEDFNRXUELUWKULJKW7KLVVXPPHUD
                      %ODFN6XQZLOOSDVVRYHU$PHULFD,DPGHFODULQJWKHVXPPHU
                      RIWKH6XPPHURI+DWH

                                                                 Defendant Andrew Anglin

                  ,QIXUWKHUDQFHRIWKHLUDERYHVWDWHGJRDO'HIHQGDQWVSORWWHGWRWDUJHW

   &KDUORWWHVYLOOH9LUJLQLDDVSDUWRIZKDWWKH\FDOOHGWKH³6XPPHURI+DWH´

                  'HIHQGDQWVVHOHFWHG&KDUORWWHVYLOOHEHFDXVHDPRQJRWKHUWKLQJVWKHFLW\ZDV

   HQJXOIHGDWWKHWLPHLQDGHEDWHRYHUWKHVWDWXHRI*HQHUDO5REHUW(/HHLQDVPDOOFLW\SDUN,Q

   )HEUXDU\WKH&KDUORWWHVYLOOH&LW\&RXQFLOYRWHGWRUHPRYHWKH/HHVWDWXHDQGLQ-XQH

   LWYRWHGWRUHQDPHWKHSDUNLQZKLFKLWVWRRGIURP/HH3DUNWR(PDQFLSDWLRQ3DUN

                  'HIHQGDQWVXVHGWKHSODQQHGUHPRYDORIWKH/HHVWDWXHDVDUDOO\LQJFU\IRUWKHLU

   IROORZHUVVHHNLQJWRSUHVHUYHLWVSODFHLQWKHSDUNDQGXVHWKHGHEDWHDERXWWKHVWDWXHDVD

   PHDQVWRVWLUXSYLROHQFHDQGKDUDVVWKUHDWHQDQGLQWLPLGDWHWKHUHVLGHQWVRI&KDUORWWHVYLOOH

                  )RUH[DPSOH'HIHQGDQWV.HVVOHUDQG6SHQFHULQYLWHGZKLWHVXSUHPDFLVWJURXSV

   WRYLVLWDQGKROGHYHQWVDURXQGWKHVWDWXHZLWKWKHLQWHQWRILQWLPLGDWLQJQRQZKLWHDQG-HZLVK

   LQGLYLGXDOVDQGWKHLUDOOLHV

                  2Q0D\KXQGUHGVRIQHR1D]LVDQGZKLWHVXSUHPDFLVWVFDUULHGOLW

   WRUFKHVDQGVXUURXQGHGWKHVWDWXHRI5REHUW(/HHLQDQHYHQWRUJDQL]HGDQGSODQQHGE\DPRQJ

                                                           
                                                            
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 19 of 112 Pageid#: 831
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 36 of 128 Pageid#:
                                    1301



   RWKHUV'HIHQGDQWV.HVVOHU6SHQFHU'DPLJR3HLQRYLFK+HLPEDFK,GHQWLW\(YURSD9DQJXDUG

   $PHULFD7:3DQG/HDJXHRIWKH6RXWK'HIHQGDQWVDQGSDUWLFLSDQWVFDUULHGDOWULJKWFRP

   EUDQGHGVLJQVUHDGLQJ³ZHZLOOQRWEHUHSODFHG´7KH\FKDQWHG³\RXZLOOQRWUHSODFHXV´DQG

   ³EORRGDQGVRLO´³%ORRGDQGVRLO´LVDWUDQVODWLRQRI³%OXWXQG%RGHQ´D*HUPDQQDWLRQDOLVW

   SKLORVRSK\WKDWOD\DWWKHKHDUWRI1D]LSROLFLHV7KHVORJDQH[SUHVVHVWKHLGHDOL]DWLRQRID

   UDFLDOO\GHILQHGQDWLRQDOERG\ ³EORRG´ XQLILHGZLWKDVHWWOHPHQWDUHD ³VRLO´ ,WLVLQH[WULFDEO\

   OLQNHGZLWKWKHFRQWHPSRUDU\*HUPDQLGHDRILebensraum²WKHEHOLHIWKDWWKH*HUPDQSHRSOH

   QHHGHGWRUHFODLPKLVWRULFDOO\*HUPDQDUHDVRI(DVWHUQ(XURSHLQWRZKLFKWKH\FRXOGH[SDQG²

   ZKLFKZDVWKHGULYLQJLGHRORJ\EHKLQG+LWOHU¶VLQYDVLRQRIQHLJKERULQJFRXQWULHVDQGWKHPDVV

   PXUGHURIWKHLUFLWL]HQV

                            7KH0D\HYHQWZDVSODQQHGDQGLQWHQGHGWRLQWLPLGDWHWKUHDWHQDQGKDUDVV

   &KDUORWWHVYLOOHUHVLGHQWVRQWKHEDVLVRIUDFHUHOLJLRQDQGHWKQLFLW\'HIHQGDQW.HVVOHUVDLGKH

   KRSHGWKDWWKH0D\HYHQWZRXOGEHD³IDQWDVWLFILUVWHYHQW´LQD³FXOWXUDOµFLYLOZDU¶´

   'HIHQGDQWV¶DYRZHGJRDOZDVWRSURPRWHDQGFUHDWHDQDWPRVSKHUHRIUHOLJLRXVDQGUDFLDO

   VXERUGLQDWLRQRQWKHVWUHHWVRI&KDUORWWHVYLOOHLGHDOO\WKURXJKWKHLQIOLFWLRQRIYLROHQFHRU

   HPRWLRQDOGLVWUHVV

                            $WDOXQFKEHIRUHWKHHYHQW'HIHQGDQW6SHQFHU²VKDULQJDSRGLXPZLWK

   'HIHQGDQWV'DPLJR3HLQRYLFKDQG.HVVOHUDVZHOODVFRFRQVSLUDWRU6DP'LFNVRQ²H[SODLQHG

   ³:KDWEULQJVXVWRJHWKHULVWKDWZHDUHZKLWHZHDUHDSHRSOH:HZLOOQRWEHUHSODFHG´

                            'HIHQGDQWVODWHUDFNQRZOHGJHGWKHVXFFHVVRIWKHLUFDUHIXOGHOLEHUDWHDQG

   PRQWKVORQJSODQQLQJ7KH'DLO\6WRUPHU¶VZHEVLWHUHSRUWHGWKDW³>W@KHKRQRUDEOHZKLWHV



   
   
       $OWULJKWFRPLV'HIHQGDQW6SHQFHU¶VZHEVLWH
                                                                  
                                                                   
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 20 of 112 Pageid#: 832
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 37 of 128 Pageid#:
                                    1302



   PDUFKHGWRWKHEDVHRIWKHVWDWXHDVWKH\FDUULHGWRUFKHVUHPLQLVFHQWRIWKHUG5HLFK´,QDQ

   HVVD\DERXWWKH0D\HYHQWHQWLWOHG³:K\:H)LJKW´9DQJXDUG$PHULFDH[SODLQHG

                              ³7KHSXUSRVHRIWKHJDWKHULQJZDVQRWVLPSO\RYHUVRPH
                      PHWDOVFXOSWXUHDWRSDSHGHVWDOLQDVPDOO6RXWKHUQ&LW\,WZDV
                      DERXW GHIHQGLQJ WKH LPDJHV RI ZKLWH KLVWRU\ ZKLWH KHURHV DQG
                      ZKLWH$PHULFD
                              
                              >7@KH JUHDWHVW VSHFWDFOH RI WKH HYHQW FDPH DV ZH OLW RXU
                      WRUFKHVIRUWKHQLJKWPDUFK$VZHDSSURDFKHG/HH3DUNIRUWKH
                      ODVWWLPHRXUIRRWVWHSVVKRRNWKHZKROHFLW\7KLVPRYHPHQW
                      PXVWEHJLQDVDVSLULWXDOPRYHPHQW7RTXRWHDZLVHSROODN
                      ³,I \RX ZDQW WR JDV WKH -HZV \RX PXVW ILUVW JDV WKH -HZ ZLWKLQ
                      \RXUVHOI´
                              
                              $IWHUDIHZZRUGVIURP6SHQFHUDQG'LFNVRQZHEOHZRXW
                      RXUWRUFKHVRXUVSLULWXDOFXSVILOOHGIRUSHUKDSVWKHILUVWWLPHLQDOO
                      RIRXUOLYHVDQGRQFHDJDLQVKRXWHGRXUGHDIHQLQJFKDQWVVKDNLQJ
                      WKHHQWLUHFLW\ZLWKRXUPLJKW
                              
                              7KHUHZLOOEHPDQ\PRUHRIWKHVHHYHQWV7KLVPDUFKRQ
                      &KDUORWWHVYLOOHZDVMXVWWKHEHJLQQLQJRIWKHLQHYLWDEOH5HYROXWLRQ
                      RIRXUSHRSOH
                              
                              +DLO9LFWRU\
                              
                  7KLV0D\HYHQWZRXOGODWHUEHUHIHUUHGWRE\FRQVSLUDWRUVDV³&KDUORWWHVYLOOH´

                  &DSLWDOL]LQJRQWKHSHUFHLYHGVXFFHVVRIWKH0D\HYHQWDQGPRWLYDWHGE\WKH

   VDPHGHVLUHWRDFKLHYHUDFLDODQGUHOLJLRXVVXERUGLQDWLRQRIFLW\UHVLGHQWV'HIHQGDQWVEHJDQ

   SODQQLQJIRUDGGLWLRQDOHYHQWVLQ&KDUORWWHVYLOOH2Q0D\.HVVOHUVXEPLWWHGDQDSSOLFDWLRQ

   IRUDSHUPLWWRKROGWKH8QLWHWKH5LJKW³UDOO\´RQWKHZHHNHQGRI$XJXVWDQG

                  ,Q-XQH'HIHQGDQW.HVVOHULQYLWHG'HIHQGDQWVDQGRWKHUVWRFRPHWR

   &KDUORWWHVYLOOHIRUD³3URXG%R\V´HYHQWZKLFKZDVGHVLJQHGWRSURPRWHYLROHQFHDQG




                                                       
                                                        
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 21 of 112 Pageid#: 833
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 38 of 128 Pageid#:
                                    1303



   LQWLPLGDWHPLQRULW\UHVLGHQWVLQDGYDQFHRIWKH8QLWHWKH5LJKW³UDOO\´$VRQHRIWKH3URXG

   %R\VLQDWWHQGDQFHQRWHGWKHJURXSZDQWHGWREDLWSURWHVWRUVEHFDXVH³DORWRIXVNLQGDOLNHWR

   VHHWKHPEOHHG´$QRWKHU3URXG%R\UHPLQGHGRWKHUV³7KLVRIFRXUVHLVMXVWWKHEHJLQQLQJ

   7KHUHDUHDOVRELJJHU>@HYHQWVSODQQHGIRU&KDUORWWHVYLOOHRQ$XJXVW´

                            2Q-XO\DWKLUGZKLWHVXSUHPDFLVWHYHQWZDVKHOGLQ&KDUORWWHVYLOOHWKLV

   WLPHE\'HIHQGDQW/R\DO:KLWH.QLJKWV1HDUO\ILIW\.ODQVPHQPDUFKHGWKURXJKWKHVWUHHWV

   VKRXWLQJ³ZKLWHSRZHU´DQGFDUU\LQJVLJQVWKDWUHDG³-HZVDUH6DWDQ¶VFKLOGUHQ´6RPHZRUH

   ZKLWH.ODQUREHVDQGPDQ\FDUULHGJXQV

                            3ODLQWLII5RPHURSHDFHIXOO\SURWHVWHGDWWKH-XO\.ODQPDUFK)ROORZLQJ

   -XO\5RPHURUHFHLYHGWKHILUVWRIIRXUKDUDVVLQJSKRQHFDOOVIURPDPHPEHURIWKH.ODQ,Q

   WKHILUVWFDOOWKHPDQH[SODLQHGWKDWDVDPHPEHURIWKH.ODQKHORYHGJRLQJWR&KDUORWWHVYLOOH

   WRGHPRQVWUDWHWKHRUJDQL]DWLRQ¶VSRZHUDQGDVNHG5RPHURLIVKHXQGHUVWRRGWKDWZKLWHSHRSOH

   DUHWKHVXSHULRUUDFH$VGHVFULEHGLQSDUDJUDSKVDQGEHORZWKHODWHUFDOOVZKLFK

   RFFXUUHGDIWHU5RPHURZDVVHULRXVO\LQMXUHGE\)LHOGV¶VDFWRIGRPHVWLFWHUURURQ$XJXVW

   ZHUHPRUHWKUHDWHQLQJ

                            .HVVOHUDWWHQGHGDQGOLYHVWUHDPHGWKH.ODQPDUFKRQ7ZLWWHU+HVKDUHGDWZHHW

   ZLWKKLVIROORZHUV³8QLWH7KH5LJKWDJDLQVWWKHVHVKLWOLEVLQ&KDUORWWHVYLOOHRQ$XJXVWWKLV

   JRLQJWREHVRPXFKIXQ<RX¶YHJRWDPRQWKWREHWKHUH´




   
   
    $VSDUWRIWKHZHHNHQG.HVVOHUZDVEHDWHQLQDQDOOH\LQ&KDUORWWHVYLOOHE\3URXG%R\VPHPEHUVXQWLOKHFRXOG
   QDPHILYHEUHDNIDVWFHUHDOV7KLV³FHUHDOEHDWLQ´LVWKH³VHFRQGGHJUHH´RILQLWLDWLRQLQWRWKH3URXG%R\V7KHILUVW
   GHJUHHLVDGHFODUDWLRQRIDOOHJLDQFHWRWKH3URXG%R\V7KHVHFRQGGHJUHHLVWKHFHUHDOEHDWLQDQGDUHQRXQFHPHQW
   RIPDVWXUEDWLRQ DOWKRXJK3URXG%R\V³3RSH´'DQWH1HURKDVIUDPHGWKHUXOHDVUHTXLULQJWKDWDPDQVKRXOGRQO\
   HMDFXODWHZLWKLQD\DUGRIDZRPDQ 7KHWKLUGGHJUHHLQYROYHVJHWWLQJDWDWWRRDQGWKHIRXUWKGHJUHHUHTXLUHVD
   ³PDMRUILJKWIRUWKHFDXVH´PHDQLQJ\RX³NLFNWKHFUDSRXWRIDQWLID´DQGSRVVLEO\JHWDUUHVWHG 
                                                                  
                                                                   
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 22 of 112 Pageid#: 834
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 39 of 128 Pageid#:
                                    1304



   %      'HIHQGDQWV3ODQQHGDQG&RRUGLQDWHGD6FKHPHWR,QFLWH9LROHQFH7KUHDWHQ
            ,QWLPLGDWHDQG+DUDVV&KDUORWWHVYLOOH5HVLGHQWVRQ$XJXVWDQG

                      7KHDJHRIXOWUDYLROHQFHLVFRPLQJ,GRQ¶WNQRZZKHQEXW,GR
                      NQRZWKDWPRVWRI\RXZLOOOLYHWRVHHLW
                      
                      7KHUHLVUDSLGO\DSSURDFKLQJDWLPHZKHQLQHYHU\ZKLWH:HVWHUQ
                      FLW\FRUSVHVZLOOEHVWDFNHGLQWKHVWUHHWVDVKLJKDVPHQFDQVWDFN
                      WKHP
                      
                      $QG\RXDUHHLWKHUJRLQJWREHVWDFNLQJRUJHWWLQJVWDFNHG
                      
                      7KHUHZLOOEHOHDGHUV<RXQHHGWREHSUHSDUHGWRUHFRJQL]HWKHP
                      IRUZKRWKH\DUHDQG\RXQHHGWREHSUHSDUHGWRGRZKDWHYHUWKH\
                      WHOO\RXWRGRH[DFWO\DVWKH\WHOO\RXWRGRLW
                      
                                                                  Defendant Andrew Anglin

                  'HIHQGDQWVDQGWKHLUFRFRQVSLUDWRUVFRQVSLUHGWRLQFLWHYLROHQFHDQGWRWKUHDWHQ

   LQWLPLGDWHDQGKDUDVVWKHFLYLOLDQSRSXODWLRQRI&KDUORWWHVYLOOHDQGLQSDUWLFXODUUDFLDOHWKQLF

   RUUHOLJLRXVPLQRULWLHVDQGWRFRPPLWRWKHUXQODZIXODFWVDVGHVFULEHGKHUHLQ)RUZHHNV

   'HIHQGDQWVDFWHGRQWKHEDVLVRIUDFLDOUHOLJLRXVDQGRUHWKQLFDQLPXVDQGZLWKWKHLQWHQWLRQWR

   GHQ\-HZLVKSHRSOHDQGSHRSOHRIFRORUDVZHOODVSHRSOHDGYRFDWLQJIRUWKHULJKWVRI-HZLVK

   SHRSOHDQGSHRSOHRIFRORUHTXDOSURWHFWLRQDQGRWKHUULJKWVWKDWWKH\DUHJXDUDQWHHGXQGHUVWDWH

   DQGIHGHUDOODZ'HIHQGDQWV¶FRQVSLUDF\XOWLPDWHO\DFKLHYHGLWVVWDWHGJRDOVDQGGLGLQIDFW

   UHSHDWHGO\V\VWHPDWLFDOO\DQGXQPLVWDNDEO\YLRODWHWKHULJKWVRIUHOLJLRXVDQGUDFLDOPLQRULWLHV

   LQ&KDUORWWHVYLOOH

                  7KHDSSOLFDWLRQIRUWKH8QLWHWKH5LJKWSHUPLWVXEPLWWHGE\'HIHQGDQW.HVVOHU

   FODLPHGWKDWWKHHYHQWZRXOGEHDSURWHVWRIWKHUHPRYDORIWKH/HHPRQXPHQWEXW'HIHQGDQWV

   DOVRLQWHQGHGWKDWWKHUDOO\ZRXOGLQVWLOOIHDULQ&KDUORWWHVYLOOH¶VPLQRULW\SRSXODWLRQDQGFDXVH

   YLROHQFH7KH\ZDQWHGWRXVHWKHHYHQWVRIWKHZHHNHQGWRLQWLPLGDWHWKHEURDGHUFLYLOLDQ

   SRSXODWLRQDQGUHFUXLWPRUHIROORZHUVWR'HIHQGDQWV¶JURXSV

                                                        
                                                         
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 23 of 112 Pageid#: 835
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 40 of 128 Pageid#:
                                    1305



                  $QDUWLFOHE\'HIHQGDQWV$QJOLQDQG5D\SXEOLVKHGRQWKH'DLO\6WRUPHU¶V

   ZHEVLWHRQ$XJXVWH[SODLQHGWKDWWKHSXUSRVHRIWKH³UDOO\´KDGVKLIWHGIURPEHLQJ³LQVXSSRUW

   RIWKH/HH0RQXPHQWZKLFKWKH-HZ0D\RUDQGKLV1HJURLG'HSXW\KDYHPDUNHGIRU

   GHVWUXFWLRQ´WR³VRPHWKLQJPXFKELJJHUWKDQWKDW,WLVQRZDQKLVWRULFUDOO\ZKLFKZLOO

   VHUYHDVDUDOO\LQJSRLQWDQGEDWWOHFU\IRUWKHULVLQJ$OW5LJKWPRYHPHQW´

                  'HIHQGDQWV.HVVOHU6SHQFHU$QJOLQ5D\&DQWZHOO0RVOH\'DPLJR,QYLFWXV

   3HLQRYLFK+HLPEDFK3DUURWW+LOO7XEEV)LHOGVDQG6FKRHSRQEHKDOIRIWKHPVHOYHVDQGWKH

   JURXSVWRZKLFKWKH\EHORQJDQG'HIHQGDQWV,GHQWLW\(YURSD)2$.9DQJXDUG$PHULFD7:3

   /HDJXHRIWKH6RXWK1601DWLRQDOLVW)URQW/R\DO:KLWH.QLJKWVDQG(DVW&RDVW.QLJKWV

   DORQJZLWK'DLO\6WRUPHU 'HIHQGDQW0RRQEDVH+ROGLQJV WKURXJKWKHLUOHDGHUVKLSDQG

   PHPEHUVDOODJUHHGDQGFRRUGLQDWHGZLWKDQGDPRQJHDFKRWKHUWRSODQRUJDQL]HSURPRWHDQG

   FRPPLWWKHXQODZIXODFWVWKDWLQMXUHG3ODLQWLIIVDQGFRXQWOHVVRWKHUVLQ&KDUORWWHVYLOOH7KH\

   DOVRFRRUGLQDWHGZLWKQXPHURXVQDPHGDQGXQQDPHGFRFRQVSLUDWRUV

                  'HIHQGDQW6SHQFHUDQGFRFRQVSLUDWRU(YDQ0F/DUHQDPHPEHURI'HIHQGDQW

   ,GHQWLW\(YURSDPHWLQSHUVRQDWWKH7UXPS+RWHOLQ:DVKLQJWRQ'&WRRUJDQL]HDQGGLUHFWWKH

   ³UDOO\´LQ&KDUORWWHVYLOOHZLWKWKHSXUSRVHDQGUHVXOWRIFRPPLWWLQJDFWVRIYLROHQFH

   LQWLPLGDWLRQDQGKDUDVVPHQWDJDLQVWWKHFLWL]HQVRI&KDUORWWHVYLOOH

                  'HIHQGDQWV&DQWZHOODQG.HVVOHUPHWLQ&KDUORWWHVYLOOHRQ$XJXVWWRSODQDQG

   GLUHFWWKHXQODZIXODFWVRIYLROHQFHLQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQRIODZ

                  'HIHQGDQWV5D\&DQWZHOODQG0RVOH\DQGFRFRQVSLUDWRU'DYLG'XNHDWWHQGHG

   DQRWKHULQSHUVRQPHHWLQJRQ$XJXVWWRSODQDQGGLUHFWWKHXQODZIXODFWVRIYLROHQFH

   LQWLPLGDWLRQDQGWKHGHQLDORIHTXDOSURWHFWLRQRIODZ



                                                     
                                                      
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 24 of 112 Pageid#: 836
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 41 of 128 Pageid#:
                                    1306



                  'HIHQGDQWV1DWLRQDOLVW)URQW1607:3/HDJXHRIWKH6RXWK9DQJXDUG

   $PHULFD(DVW&RDVW.QLJKWVDQG³RWKHUDOOLHV´FRRUGLQDWHGWKHLUDWWHQGDQFHDVD³MRLQW

   RSHUDWLRQ´LQDGYDQFHRI$XJXVWWRSODQGLUHFWDQGSUHSDUHIRUXQODZIXODFWVRIYLROHQFH

   LQWLPLGDWLRQKDUDVVPHQWDQGGHQLDORIHTXDOSURWHFWLRQWR&KDUORWWHVYLOOHFLWL]HQV

                  'HIHQGDQWVDOVRIUHTXHQWO\FRRUGLQDWHGWKHLOOHJDODFWVSODQQHGIRUWKH8QLWHWKH

   5LJKWHYHQWRQOLQH7KH\PDGHXVHRIZHEVLWHVVRFLDOPHGLD LQFOXGLQJ7ZLWWHU)DFHERRN

   FKDQDQGFKDQ FKDWURRPVUDGLRYLGHRVDQGSRGFDVWVWRFRPPXQLFDWHZLWKHDFKRWKHUDQG

   ZLWKWKHLUFRFRQVSLUDWRUVIROORZHUVDQGRWKHUDWWHQGHHVDQGGLGVRWRSODQWKHLQWHQGHGDFWVRI

   YLROHQFHLQWLPLGDWLRQDQGWKHGHQLDOWRFLWL]HQVRIWKHHTXDOSURWHFWLRQRIODZV

                  )RU\HDUV'HIHQGDQWVDQGRWKHUVXQQDPHGKDYHXVHGWKH,QWHUQHWWRLQ'HIHQGDQW

   $QJOLQ¶VWHUPV³VROLGLI\DVWDEOHDQGVHOIVXVWDLQLQJFRXQWHUFXOWXUH´8VHRIWKH,QWHUQHWLVSDUW

   RIWKHZD\VPDQQHUDQGPHDQVRIKRZ'HIHQGDQWV¶FRQVSLUDF\RSHUDWHGDQGRSHUDWHV

                  'HIHQGDQWVDQGFRFRQVSLUDWRUVFRRUGLQDWHGE\SRVWLQJDUWLFOHVRQWKHLURZQ

   ZHEVLWHVDQGE\XVLQJVRFLDOPHGLDWRVHQGDQGVKDUHPHVVDJHVIRUWKH³UDOO\´DQGWRHQFRXUDJH

   DWWHQGDQFHDQGWKHFRPPLVVLRQRILOOHJDODFWV7KH\LQWHUYLHZHGRQHDQRWKHUDERXWWKHSODQVIRU

   WKH³UDOO\´DQGVKDUHGWKRVHPHVVDJHVRQSRGFDVWVRURWKHUYLGHRVWUHDPLQJVHUYLFHV7KH\

   DJUHHGWRPRELOL]HWKHLUUHVSHFWLYHPHPEHUVDQGIROORZHUVWRDWWHQGDQGEHYLROHQWDQGVXSSUHVV

   WKHHTXDOULJKWVRI&KDUORWWHVYLOOHFLWL]HQV$FFRUGLQJWR6SHQFHUIRUH[DPSOH³'DPLJRDQG

   KLVJURXS>,GHQWLW\(YURSD@WRRNWKHOHDGWRRUJDQL]HZKLWHVXSUHPDFLVWSDUWLFLSDWLRQDPRQJ

   SHRSOHIURPRXWVLGH&KDUORWWHVYLOOH´

                  2QH,QWHUQHWWRRO'HIHQGDQWVXVHGH[WHQVLYHO\WRSODQDQGGLUHFWLOOHJDODFWVZDV

   WKHFKDWSODWIRUP'LVFRUG2ULJLQDOO\GHYHORSHGDVDPHVVDJLQJSODWIRUPIRUJURXS³JDPHSOD\´

   'LVFRUGLVVHWXSDVDVHULHVRISULYDWHLQYLWHRQO\VHUYHUVHDFKSURYLGLQJDVSDFHIRUUHDOWLPH

                                                       
                                                        
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 25 of 112 Pageid#: 837
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 42 of 128 Pageid#:
                                    1307



   JURXSGLVFXVVLRQ(DFKVHUYHULVRUJDQL]HGLQWR³FKDQQHOV´LQGLFDWHGE\D³´EHIRUHWKHQDPH

   3DUWLFLSDQWVLQWKHFKDWXVH³KDQGOHV´RUQLFNQDPHVWRLGHQWLI\WKHPVHOYHV3DUWLFLSDQWVFDQ

   UHTXHVWWREH³WDJJHG´DVDPHPEHURIDJURXS2QFHWDJJHGWKHSDUWLFLSDQWVFDQUHDGDQG

   SDUWLFLSDWHLQWKDWJURXS¶VFKDWV

                            $³&KDUORWWHVYLOOH´VHUYHUZDVHVWDEOLVKHGRQ'LVFRUGLQ-XQH7KLV

   VHUYHUZDVXVHGWRGLUHFWDQGSODQXQODZIXODFWVRIYLROHQFHLQWLPLGDWLRQDQGGHQLDORIHTXDO

   SURWHFWLRQRIODZDWWKH8QLWHWKH5LJKW³UDOO\´2QHXVHUH[SODLQHGWKDW'LVFRUGZDV³IRU

   FORVHGWRSVXSHUVHFUHWFRPPXQLFDWLRQVLQWHQGHGIRUWKHHOLWHLQQHUFLUFOHRIWKHDOWULJKW´

   'HIHQGDQWVXVHG'LVFRUGDVDWRROWRSURPRWHFRRUGLQDWHDQGRUJDQL]HWKH8QLWHWKH5LJKW

   ³UDOO\´DQGDVDPHDQVWRFRPPXQLFDWHDQGFRRUGLQDWHYLROHQWDQGLOOHJDODFWLYLWLHV³LQVHFUHW´

   GXULQJWKHDFWXDOHYHQWVRIWKDWZHHNHQG

                            'LVFRUGZDVPRGHUDWHGUHYLHZHGGLUHFWHGDQGPDQDJHGE\'HIHQGDQWV.HVVOHU

   DQG0RVOH\DORQJZLWKWKHLUFRFRQVSLUDWRUV$VPRGHUDWRUVRIWKHJURXSWKH\ZHUHDEOHWR

   YLHZDOORIWKHSRVWVLQYLWHRUUHMHFWSDUWLFLSDQWVDQGGHOHWHPHVVDJHVWKH\GLGQRWFRQGRQH7KH

   JURXSZDV³LQYLWHRQO\´DQGQRWRSHQWRWKHSXEOLF

                            ,QGLYLGXDO'HIHQGDQWVLQFOXGLQJ+HLPEDFK3DUURWW&DQWZHOODQG5D\ZHUHDOO

   SDUWLFLSDQWVRQ'LVFRUGDQGSDUWLFLSDWHGLQWKHGLUHFWLRQSODQQLQJDQGLQFLWLQJRIXQODZIXODQG

   YLROHQWDFWVWKURXJK'LVFRUG

                            7KHVH'HIHQGDQWVDQGWKHLUFRFRQVSLUDWRUVXVHG'LVFRUGIRUUHJXODU³OHDGHUVKLS´

   PHHWLQJVWKURXJKZKLFKWKH\VKDUHGLQIRUPDWLRQDQGSODQV'HIHQGDQWVDOVRXVHG'LVFRUGWR

   GLVWULEXWHZKDWWKH\FDOOHG³2UGHUV´WRFRFRQVSLUDWRUVDQGDWWHQGHHV2QHGRFXPHQWSRVWHGE\


   
   
    $QRWKHUXVHUH[SODLQHG³XQOHVV-DVRQRU(OLPDGHWKLVVHUYHUSXEOLFZLWKRXWWHOOLQJPHWKLVLVQ¶WDSXEOLF
   VHUYHU,W¶VLQYLWHRQO\WKURXJKRXUWUXVWHGSUHYHWWHGDOWULJKWVHUYHUV1RWVXUHZKRWROG\RXLW¶VSXEOLF´ 
                                                                  
                                                                   
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 26 of 112 Pageid#: 838
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 43 of 128 Pageid#:
                                    1308



   'HIHQGDQW0RVOH\ZDVHQWLWOHG³*HQHUDO2UGHUV´IRU³2SHUDWLRQ8QLWHWKH5LJKW&KDUORWWHVYLOOH

   ´

                  7KHUHZHUHDWOHDVWFKDQQHOVVHWXSRQ'LVFRUGDVDPHDQVRIVKDULQJVSHFLILF

   LQIRUPDWLRQ7KRVHFKDQQHOVLQFOXGHG

              DQQRXQFHPHQWV                  QHZV                  PDBFWBUL
              GL[LHO\ULFV                   VDIHW\BSODQQLQJ       YWBQKBPH
              PRGBKHOS                       DOH[BMRQHVBFKDW       JUHDWBODNHVBUHJLRQ
              FRQILUPHGBSDUWLFLSDQWV         SLFWXUHVBDQGBYLGHR    PLGZHVWBUHJLRQ
              VKXWWOHBVHUYLFHBLQIRUPDWLRQ    EHOWZD\BELJRWV        N\BWQ
              FRGHBRIBFRQGXFW                YRLFHBFKDW            W[BRN
              VHOIBSURPRWLRQ                 IULGD\QLJKW          IORULGD
              IODJVBEDQQHUVBVLJQV            VXQGD\QLJKW          JHRUJLD
              SURPRWLRQBDQGBF\EHUVWULNH      FKDQWV               FDUROLQDV
              JHDUBDQGBDWWLUH                YLUJLQLDBODZV         FDOLIRUQLDBSDFLILFBQZ
              DQWLIDBZDWFK                   ORGJLQJ               FDUSRROBDYDLODEOH
              GHPRQVWUDWLRQBWDFWLFV          ORGJLQJBZDQWHG        Q\BQM
              VSRQVRUVBRQO\                  ORGJLQJBDYDLODEOH     SHQQV\OYDQLD
              LBQHHGBDBVSRQVRU               FDUSRROBZDQWHG        GFBYDBPG
                                                                       
                  7KH\DOVRKDGDFKDQQHOFDOOHGTXHVWLRQVBIRUBFRRUGLQDWRUVZKHUHSDUWLFLSDQWV

   FRXOGDVNTXHVWLRQVRIWKHRUJDQL]HUVDQGDFKDQQHOIRUWKH³OHDGHUVKLS´UHVHUYHGIRU

   FRQYHUVDWLRQVDPRQJWKHPDLQRUJDQL]HUVRIWKHHYHQWDERXW³SODQQLQJ´DQG³LQIUDVWUXFWXUH´DVD

   OHDGHURI'HIHQGDQW9DQJXDUG$PHULFDODWHUGHVFULEHGLW:LWKWKHSHUPLVVLRQRIDPRGHUDWRU

   LQGLYLGXDOVFRXOGEH³WDJJHG´DVPHPEHUVRIFHUWDLQRUJDQL]DWLRQV'HIHQGDQWV9DQJXDUG

   $PHULFD,GHQWLW\(YURSD7:3DQG/HDJXHRIWKH6RXWKDVZHOODV'DLO\6WRUPHU 0RRQEDVH

   +ROGLQJV DQGLWV³ERRNFOXE´FKDSWHUVDOOKDG³SULYDWHRUJDQL]DWLRQFKDQQHO>V@´RQWKH

   &KDUORWWHVYLOOH'LVFRUGVHUYHUWKDWDOORZHGWKHLUWDJJHGPHPEHUVWRSDUWLFLSDWHLQSULYDWH

   JURXSFRPPXQLFDWLRQVLQDGYDQFHRIWKH³UDOO\´

                  'HIHQGDQWVHQOLVWHGRWKHUFRFRQVSLUDWRUVWRFRRUGLQDWHDQGRUJDQL]HWKH³UDOO\´

   WKURXJK'LVFRUGDQGRWKHUPHDQV)RUH[DPSOHRQHLQGLYLGXDOXVLQJWKH'LVFRUGKDQGOH

   ³7\URQH´ KHUHLQDIWHU7\URQH DJUHHGZLWK'HIHQGDQW.HVVOHUWKDWKHZRXOGFRRUGLQDWH
                                                      
                                                        
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 27 of 112 Pageid#: 839
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 44 of 128 Pageid#:
                                    1309



   WUDQVSRUWDWLRQIRUDWWHQGHHVRQ$XJXVW2WKHUVZHUHWDVNHGZLWKKHOSLQJ'HIHQGDQWV.HVVOHU

   DQG0RVOH\PRGHUDWHWKH'LVFRUGVHUYHU$QRWKHULQGLYLGXDOXVLQJWKH'LVFRUGKDQGOH

   ³&DHUXOXV5H[´ZDVWKHFRRUGLQDWRUEHWZHHQYDULRXV³VHFXULW\GHWDLOV´WKDWZHUHHVWDEOLVKHGE\

   'HIHQGDQWVDQGWKHLUFRFRQVSLUDWRUV³&DHUXOXV5H[´KDVDOVREHHQLGHQWLILHGDVDIUHTXHQW

   ERG\JXDUGRI'HIHQGDQW6SHQFHU

                            3URPRWLRQDOPDWHULDOVRIWHQSURPRWLQJDQGLQFLWLQJYLROHQFHZHUHDGGHGWR

   'LVFRUGLQRUGHUWREHVKDUHGDQGXWLOL]HGPRUHEURDGO\

                            'HIHQGDQWVDOVRXVHG'LVFRUGWRFRRUGLQDWHKRZWKH\ZRXOGFRPPXQLFDWHRQ

   RWKHUVRFLDOPHGLD)RUH[DPSOHWKH\WROGIROORZHUVWRXVH8QLWH7KH5LJKWDQG&KDUORWWHVYLOOH

   RQ7ZLWWHUVRWKDWWKH\DQGWKHLUIROORZHUVFRXOGFORVHO\FRPPXQLFDWHGXULQJWKHZHHNHQGRIWKH

   ³UDOO\´7KH\VKDUHGWKDWKDVKWDJWKURXJK'LVFRUG

                            $GGLWLRQDO'LVFRUGVHUYHUVZHUHXVHGE\'HIHQGDQWVDQGFRFRQVSLUDWRUVWR

   VSUHDGWKHZRUGDERXWWKHHYHQWVLQ&KDUORWWHVYLOOHDQGWRHQFRXUDJHIROORZHUVWRVKRZXSDQGEH

   SUHSDUHGIRUYLROHQFH)RUH[DPSOH'HIHQGDQW9DQJXDUG$PHULFDKDVDWOHDVWRQH'LVFRUG

   VHUYHUFDOOHG6RXWKHUQ)URQWZKLFKZDVHVWDEOLVKHGIRUPHPEHUVRIWKHJURXSOLYLQJLQVRXWKHUQ

   VWDWHV9DQJXDUG$PHULFDOHDGHUVZKRZHUHDFWLYHRQWKH&KDUORWWHVYLOOH'LVFRUGVHUYHU

   XVHGWKH6RXWKHUQ)URQWVHUYHUWRFRRUGLQDWHDWWHQGDQFHRIDGGLWLRQDO9DQJXDUGPHPEHUVDQGWR

   SURYLGHFKDQQHOVRIFRPPXQLFDWLRQEHWZHHQ9DQJXDUGPHPEHUVDQGWKHPDLQRUJDQL]HUVRIWKH

   &KDUORWWHVYLOOHHYHQW

                            &HUWDLQFRFRQVSLUDWRUVLQDVHOIVW\OHG³DQWL$QWLID´JURXSFDOOHG

   ³$QWLFRP´ZKLFKSXUSRUWVWRSURYLGHGHIHQVLYHYLROHQFHDWZKLWHVXSUHPDFLVWHYHQWVOLNHWKH



   
   
   ,QWKLV)LUVW$PHQGHG&RPSODLQWUHIHUHQFHVWR³'LVFRUG´DUHWRWKH&KDUORWWHVYLOOH'LVFRUGVHUYHUH[FHSW
   ZKHUHRWKHUZLVHLQGLFDWHG
                                                                  
                                                                   
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 28 of 112 Pageid#: 840
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 45 of 128 Pageid#:
                                    1310



   ³%DWWOHIRU%HUNHOH\´RUJDQL]HGLQWKHLURZQ'LVFRUGVHUYHU7KHOHDGHURI$QWLFRPZDVDFWLYH

   RQWKH&KDUORWWHVYLOOHVHUYHUDQGWKHQXVHGWKH$QWLFRPVHUYHUWRWHOOIROORZHUVWRDWWHQGWKH

   HYHQWDQGEULQJZHDSRQVSXUVXDQWWRWKHGLUHFWLYHVRIWKH³UDOO\´RUJDQL]HUV

                            $OWKRXJKFHUWDLQSRVWVRQWKH&KDUORWWHVYLOOH6RXWKHUQ)URQWDQG$QWLFRP

   'LVFRUGVHUYHUVKDYHEHHQPDGHSXEOLFQXPHURXVRWKHU'LVFRUGVHUYHUVDQGFKDQQHOVZHUHXVHG

   DORQJZLWKWKHDIRUHPHQWLRQHGVHUYHUVWRSODQDQGFRRUGLQDWHDWWHQGDQFHDQGYLROHQWDFWVDWWKH

   HYHQWVRI$XJXVWDQG7KHVHDGGLWLRQDOVHUYHUVDQGFKDQQHOVKDYHQRW\HWEHHQPDGH

   SXEOLF/LNHZLVHWKHOHDGHUVKLSFKDQQHORQWKH&KDUORWWHVYLOOHVHUYHUUHPDLQVXQGLVFORVHG

                            'HIHQGDQWV$QJOLQDQG5D\OLNHZLVHHVWDEOLVKHG³PHHWXSV´DQGFKDWURRPV

   WKURXJKWKH'DLO\6WRUPHU¶VZHEVLWHWKDWFRFRQVSLUDWRUVDQGDWWHQGHHVZHUHWROGWRXVH

   WKURXJKRXWWKHZHHNHQGWRFRRUGLQDWHWKHLUDFWLRQV

                            $³&KDUORWWHVYLOOH6WDWHPHQW´ZDVGLVWULEXWHGE\'HIHQGDQW6SHQFHUVHWWLQJRXW

   WKHSKLORVRSK\DQGLGHRORJ\XQGHUO\LQJWKH³UDOO\´+HZDVDLGHGLQGUDIWLQJKLVPDQLIHVWRE\

   'HIHQGDQW,QYLFWXVFRFRQVSLUDWRU0F/DUHQDQGRWKHUV$PRQJRWKHUWKLQJVWKH

   &KDUORWWHVYLOOH6WDWHPHQWKROGVWKDW³µ-XGHR&KULVWLDQYDOXHV¶PLJKWEHDTXDLQWSROLWLFDOVORJDQ

   EXWLWLVDGLVWRUWLRQRIWKHKLVWRULFDODQGPHWDSK\VLFDOUHDOLW\RIERWK-HZVDQG(XURSHDQV´DQG

   WKDW³1DWLRQVPXVWVHFXUHWKHLUH[LVWHQFHDQGXQLTXHQHVVDQGSURPRWHWKHLURZQGHYHORSPHQW

   DQGIORXULVKLQJ5DFLDOO\RUHWKQLFDOO\GHILQHGVWDWHVDUHOHJLWLPDWHDQGQHFHVVDU\´

   &           'HIHQGDQWV3URPRWHG$WWHQGDQFH9LROHQFHDQG,PDJHU\'HVLJQHGWR7KUHDWHQ
                 ,QWLPLGDWHDQG+DUDVV

                                      >7@KLV ZLOO FOHDUO\ EH DQ HDUWKVKDNLQJ GD\ WKDW ZLOO JR
                                GRZQLQWKHKLVWRU\ERRNVRXUWLPHKDVFRPH
   
   
     2QHFRFRQVSLUDWRUDQRUJDQL]HURIWKH8QLWHWKH5LJKWHYHQWDQGOHDGHURI'HIHQGDQW9DQJXDUG$PHULFDZKR
   ZDVDFWLYHRQWKH6RXWKHUQ)URQWDQG&KDUORWWHVYLOOH'LVFRUGVHUYHUVSRVWHGLQWKH6RXWKHUQ)URQWVHUYHULQ
   UHVSRQVHWRUHSRUWVWKDWFHUWDLQ'LVFRUGFRQYHUVDWLRQVKDGEHHQPDGHSXEOLF³:HKDYHEHHQDZDUHRIWKDW7KHFKDW
   ORJVZHUHUHOHDVHGWRXQLFRUQULRW7KH\KDYHPRQWKVRIFRQYHUVDWLRQV,WZDVWKHJHQHUDOFKDWQRWWKHOHDGHUVKLS
   WKRXJKVRWKH\JRWYHU\OLWWOHLQWKHZD\RISODQQLQJRULQIUDVWUXFWXUH´
                                                                   
                                                                    
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 29 of 112 Pageid#: 841
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 46 of 128 Pageid#:
                                    1311



                                        
                                        $XJXVW   LV JRLQJ WR EH D VKRW KHDUG DURXQG WKH
                                ZRUOG7KHUHZLOOEHEHIRUH&KDUORWWHVYLOOHDQGWKHUHZLOO
                                EH DIWHU &KDUORWWHVYLOOH   WKHUH LV QR ZD\ WR H[DJJHUDWH WKH
                                VLJQLILFDQFHRIWKLV:HFDQPDNHDOOWKHQRLVHRQWKHLQWHUQHWWKDW
                                ZHZDQWDQGWKLVLVJUHDWEXWRXUUHDOSRZHUZLOOFRPHRQO\IURP
                                QXPEHUVLQWKHVWUHHWV
                                        
                                        >7@KDQNVWRWKHPDJQLWXGHRIWKLVHYHQW,WUXO\EHOLHYH²
                                PRUH WKDQ , HYHU GLG EHIRUH²WKDW ZH ZLOO HYHQWXDOO\ ZLQ WKLV
                                VWUXJJOHDQGVHFXUHWKHH[LVWHQFHRIRXUSHRSOHDQGIXWXUHIRUZKLWH
                                FKLOGUHQ,WLVRXUGHVWLQ\1H[WVWRS&KDUORWWHVYLOOH9$)LQDO
                                VWRS$XVFKZLW]6HH\DWKHUHIDJJRWV

                                                                                           Daily Stormer

                            'HIHQGDQW$QJOLQWKURXJK'DLO\6WRUPHUWROGIROORZHUV³:HDUHDQJU\

   7KHUHLVD>VLF@DWDYLVWLFUDJHLQXVGHHSLQXVWKDWLVUHDG\WRERLORYHUThere is a craving to

   return to an age of violence. We want a war´+HDGYLVHGIROORZHUVWKDW³WKHKDUGFRUHPHVVDJH

   LVZKDWVHOOV´DQGWROGWKHPWR³>E@HUHDG\WRGLHIRU>WKHILJKW@´

                            2Q'HIHQGDQW6SHQFHU¶VZHEVLWHDOWULJKWFRPRQHDUWLFOHRQWKHXSFRPLQJ

   $XJXVW³UDOO\´H[SODLQHG³2XULGHDVGRPLQDWHWKHLQWHUQHW1RZLW¶VWLPHWRGRPLQDWHWKH

   VWUHHWV<RXPLJKWWKLQNLW¶VMXVWDUDOO\EXWUHDOO\LW¶VVRPXFKPRUH:HDUHWHOOLQJWKH

   DQWL:KLWHHVWDEOLVKPHQWDQGLW¶V>VLF@DWWDFNGRJVWKDWZHDUHQRWJRLQJWRJLYHDQRWKHULQFK

   $QGQRZZHKDYHFRPHWRWKHWLSSLQJSRLQW´

                            'HIHQGDQW5D\GHFODUHG³:HDUHVWHSSLQJRIIWKH,QWHUQHWLQDELJZD\:H

   KDYHEHHQRUJDQL]LQJRQWKH,QWHUQHW$QGVRQRZWKH\DUHFRPLQJRXW:HKDYHJUHDWO\

   RXWQXPEHUHGWKHDQWLZKLWHDQWL$PHULFDQILOWK$WVRPHSRLQWZHZLOOKDYHHQRXJKSRZHUWKDW

   ZHZLOOFOHDUWKHPIURPWKHVWUHHWVIRUHYHU\RXDLQ¶WVHHQQRWKLQJ\HW´,QDQLQWHUYLHZ


   
   
    9LFHUHOHDVHGDPLQXWHGRFXPHQWDU\IROORZLQJ'HIHQGDQWVWKURXJKRXWWKHGD\7KHYLGHRFDQEHIRXQGDW
   KWWSVQHZVYLFHFRPVWRU\YLFHQHZVWRQLJKWIXOOHSLVRGHFKDUORWWHVYLOOHUDFHDQGWHUURU  
                                                                     
                                                                      
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 30 of 112 Pageid#: 842
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 47 of 128 Pageid#:
                                    1312



   GXULQJWKHWRUFKOLJKWUDOO\'HIHQGDQW5D\DOVRVWDWHGWKDW'HIHQGDQWV¶JRDOZDVWR³VWRS´WKH

   ³XVXUS>DWLRQ@´RI³RXUFRXQWU\´³E\DIRUHLJQWULEHFDOOHGWKH-HZV´

                  'HIHQGDQW0RVOH\WZHHWHG³:HDUH>@JRLQJWR&KDUORWWHVYLOOH7KLVLVRXU

   FRXQWU\DQGLWLVRXUULJKWWKDWPHDQGWKRXVDQGVIRXJKWIRUDOUHDG\2XUELUWKULJKWZLOOEH

   DVKHV WKH\¶OOKDYHWRSU\LWIURPRXUFROGGHDGKDQGVLIWKH\ZDQWLW7KH\ZLOOQRWUHSODFHXV

   ZLWKRXWDILJKW´

                  2QHSURPRWLRQDOLPDJHFUHDWHGE\'HIHQGDQW7:3DQGGLVWULEXWHGRQ'LVFRUG

   VWDWHG³7KLVLVQRWDQDWWDFNRQ\RXUKHULWDJHWKLVLVDQDWWDFNRQ\RXUUDFLDOH[LVWHQFH),*+7

   %$&.25',(´

                  7KH'DLO\6WRUPHUUHOHDVHGLWVRZQSRVWHUZKLFKZDVODWHUVKDUHGE\'HIHQGDQW

   9DQJXDUG$PHULFD




                                                      
                                                       
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 31 of 112 Pageid#: 843
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 48 of 128 Pageid#:
                                    1313




                                                                                     


                  8VLQJ'DLO\6WRUPHU¶VZHEVLWH'HIHQGDQWV$QJOLQDQG5D\FRPPDQGHGWKH

   'DLO\6WRUPHUFRPPXQLW\WRDWWHQG ³<RXPXVWPDNHLWWKHUH´ 7KH\WROGWKHLUPHPEHUV

   ³>Z@HQHHGWRGRHYHU\WKLQJZHFDQWRJHWDVPDQ\SHRSOHWRDWWHQGWKLVUDOO\DVSRVVLEOH

   7KHUHLVDULVLQJQDWLRQDOLVWPRYHPHQWLQ$PHULFDDQGLWLVQRWJRLQJDZD\+DYLQJWKRXVDQGVRI

   QDWLRQDOLVWVFRPHRXWIRUWKLVUDOO\ZLOOSXWWKHIHDURIJRGLQWRWKHKHDUWVDQGPLQGVRIRXU

   HQHPLHV´$ZULWHURQ6SHQFHU¶VZHEVLWHDOWULJKWFRPHQWKXVHGWKDW'DLO\6WRUPHUZDV³JRLQJ

   WREULQJDORWRI\RXQJQHZFDGUHVWRWKHUDOO\´LQFOXGLQJ,GHQWLW\(YURSD

                  $QJOLQDOVRXUJHGKLVIROORZHUV³:HDUHQRZWDNLQJWKHVH>6WRUPHU%RRN&OXEV@

   WRWKHQH[WOHYHO:HDUHJRLQJWRKDYHFKDOOHQJHV ZKLFKZLOOLQFOXGHJHWWLQJ\RXLQILWDQG
                                                     
                                                      
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 32 of 112 Pageid#: 844
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 49 of 128 Pageid#:
                                    1314



   ILJKWLQJVKDSHDQGOHDUQLQJXVHIXOPDVFXOLQHVNLOOV :HDUHJRLQJWREXLOGDQLQYLVLEOH

   HPSLUH7KLVKDVDOOEHHQZRUNHGRXWLQP\PLQGDORQJWLPHDJRDQGWKLVVXPPHUWKH6XPPHU

   RIWKH%ODFN6XQLVZKHQZHDUHJRLQJWREULQJLWDOOWRJHWKHU´2Q'HIHQGDQW9DQJXDUG

   $PHULFD¶V6RXWKHUQ)URQW'LVFRUGVHUYHU'HIHQGDQW5D\WROG9DQJXDUGPHPEHUVLQ-XO\

   ³<RXGRQ¶WWKLQNWKH>'DLO\6WRUPHU%RRN&OXEV@KDYHDQ\WKLQJWRGRZLWKERRNVGR\RX"

   7KLQNERRWVQRWERRNV´

                  'HIHQGDQW+LOOHQFRXUDJHGIROORZHUVRI'HIHQGDQW/HDJXHRIWKH6RXWKWRDWWHQG

   E\XUJLQJWKHPQRWWR³PLVVRXWRIWKHIXQ´LQGHDOLQJZLWKWKHLUSXUSRUWHGHQHPLHV'HIHQGDQW

   (DVW&RDVW.QLJKWVH[KRUWHGLQGLYLGXDOVWRDWWHQG³:HZLOOEHWKHUH-RLQXV´

                  $QRWKHUFRFRQVSLUDWRURQ'LVFRUGSRVWHGDQLPDJHRIDUDLVHGILVWKROGLQJD

   GDJJHUE\LWVEODGHGULSSLQJEORRGRYHUWKHZRUGV³),*+7817,/7+(/$67'523´




                                                                                   

                  'HIHQGDQWV¶LQWHQWWRHQJDJHLQYLROHQFHWRHQVXUHWKDWRWKHUVHQJDJHGLQ

   YLROHQFHDQGWRRUFKHVWUDWHDQGGLUHFWWKDWYLROHQFHDJDLQVWUDFLDODQGUHOLJLRXVPLQRULWLHVZDV

   RSHQDQGH[SOLFLW)RUH[DPSOHRQDSRGFDVWUXQE\'HIHQGDQW3HLQRYLFKWKH'DLO\6KRDKD

   FRFRQVSLUDWRUGLVFXVVLQJWKH³UDOO\´DVNHG³1RZFRPHRQEHDWLQJXSWKHZURQJQHJURLV

   WKDWHYHQDSRVVLELOLW\"%HDWXSWKHZURQJQLJJHU´$PHPEHURI'HIHQGDQW9DQJXDUG

                                                       
                                                        
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 33 of 112 Pageid#: 845
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 50 of 128 Pageid#:
                                    1315



   $PHULFDEOLWKHO\DVNHGRQ'LVFRUG³:KHQFDQZHJDVWKHUHSUREDWHV´7\URQHDFR

   FRQVSLUDWRUZURWH³0RVWHIILFLHQWLVKRZ\RXJHWVL[PLOOLRQ-HZVLQD&DGLOODFLQWKHIURQW

   LQWKHUHDULQWKHDVKWUD\´

                  2Q'LVFRUGPRGHUDWHGDQGFRQWUROOHGE\'HIHQGDQWV.HVVOHUDQG0RVOH\WKHUH

   ZHUHFRXQWOHVVH[KRUWDWLRQVWRYLROHQFHLQFOXGLQJ

                           Ɣ ³,¶PUHDG\WRFUDFNVNXOOV´

                           Ɣ ³,I\RXGRQ¶WKDYHDIODPHWKURZHU\RX¶UHZURQJ´

                           Ɣ ³,W¶VJRLQJWRJHWZLOG%ULQJ\RXUERRWV´

                           Ɣ ³6WXGLHVVKRZQLJJHUVDQGIHPLQLVWVIXFNULJKWRIIZKHQIDFHG
                              ZLWKSHSSHUVSUD\´

                           Ɣ ³%ULQJLQJZRPHQWRDSURWHVWUDOO\ZKHUHZHH[SHFWYLROHQFHLVIXFNLQJ
                              UHWDUGHGHYHQLI\RXDUHQ¶WH[SHFWLQJYLROHQFH\RXVKRXOGSUHSDUHIRU
                              LW´

                           Ɣ ³/HWWKHUHEHQRPLVWDNH±WKHVHWZRVLGHKDYHLUUHFRQFLDEOH>VLF@
                              GLIIHUHQFHVWKDWZLOOQHYHUUHDFKFRPSURPLVH±WKHRQO\TXHVWLRQLVWKH
                              OHYHORIFRQIOLFWWRGHFLGHWKHYLFWRU´

                           Ɣ ³<RXKDYHDZHHNEURV%HVWVSHQGLWKDYLQJIRXURUILYHRI\RXUIULHQGV
                              VLPXODWHMXPSLQJ\RX*ROLJKWGRQ¶WJHWLQMXUHGEHIRUHWKHHYHQWDQG
                              IRFXVRQEORFNLQJDQGSXVKLQJEDFNLQZD\VWKDWGRQ¶WORRNOLNHDVVDXOW´

                           Ɣ ³/HW¶VPDNHWKLVFKDQQHOJUHDWDJDLQ7KH&DUROLQDV NLQGRI VWDUWHGWKH
                              5HYROXWLRQDU\:DUDQGWKH&LYLO:DUVRZK\QRWDGGWKH5DFH:DU
                              6HFRQG&LYLO:DUWRWKHOLVW"´

                  'HIHQGDQWVWRRNQRVWHSVWRSUHYHQWDQ\YLROHQFH7RWKHFRQWUDU\FRQVLVWHQW

   ZLWKWKHLUFRQVSLUDF\WRHQFRXUDJHDQGHQDEOHYLROHQFH'HIHQGDQWVDQGFRFRQVSLUDWRUV

   UHLQIRUFHGDIDOVHQDUUDWLYHRIDODUJHU²QHFHVVDULO\YLROHQW²UDFLDODQGUHOLJLRXVZDULQZKLFK

   8QLWHWKH5LJKWHYHQWVZHUHDFULWLFDOPRPHQW7KLVVWUDWHJ\ZDVLQWHQGHGWR²DQGIRUHVHHDEO\

   UHVXOWHGLQ²YLROHQFHGLUHFWHGDWWKHUDFLDODQGUHOLJLRXVPLQRULWLHV



                                                        
                                                         
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 34 of 112 Pageid#: 846
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 51 of 128 Pageid#:
                                    1316



                  )RUH[DPSOH'HIHQGDQW+LOOWZHHWHGRQ-XO\³,I\RXZDQWWRGHIHQGWKH

   6RXWKDQG:HVWHUQFLYLOL]DWLRQIURPWKH-HZDQGKLVGDUNVNLQQHGDOOLHVEHDW&KDUORWWHVYLOOHRQ

   $XJXVW´

             'HIHQGDQW0RVOH\SXEOLVKHG³*HQHUDO2UGHUV´IRUWKH³UDOO\´ZKLFKGLYLGHG

   DWWHQGHHVLQWR³)ULHQGOLHV´DQG³(QHPLHV&RXQWHU3URWHVWHUV´,QGLYLGXDOVRSSRVHGWRWKHLGHDV

   DGYDQFHGE\WKH8QLWHWKH5LJKW³UDOO\´ZHUHGHVFULEHGDV³KRVWLOH´

             7KH*HQHUDO2UGHUVIXUWKHULQVWUXFWHGFRFRQVSLUDWRUVDQGDWWHQGHHVWKDWLIWKH\

   HQGHGXSORVLQJWKHLUSHUPLWWRJDWKHULQWKHSDUNWKHQWKH\PD\³KDYHWRLQLWLDWHSODQUHGRUKDYH

   WRWDNHWKHJURXQGE\IRUFHZLWKSODQ\HOORZ´3ODQ5HGZDVGHVFULEHGDV³LQFUHGLEO\

   GDQJHURXV´DQGFDOOHGIRUPHHWLQJHDUO\DWDUDOO\SRLQWDQGPDUFKLQJWRWKHSDUN7KH*HQHUDO

   2UGHUVDOVRSURPLVHGWKDWWKHUHZRXOGEH³VHFXULW\IRUFHVWRUHGXFHWKHWKUHDW´SUHVHQWHGE\

   ³KRVWLOHV´

             &RFRQVSLUDWRUVRQ'LVFRUGLQFLWHGDWWHQGHHVWREULQJZHDSRQVDQGHQJDJHLQ

   YLROHQFH7KLVLQFLWHPHQWZDVNQRZQWRDQGSURPRWHGE\'HIHQGDQWV

             7\URQHSRVWHGDTXRWHIURP+LWOHU¶VFORVHDVVRFLDWHDQG³5HLFK3OHQLSRWHQWLDU\

   IRU7RWDO:DU´3DXO-RVHSK*RHEEHOVRQ'LVFRUG³:KRHYHUFDQFRQTXHUWKHVWUHHWZLOORQHGD\

   FRQTXHUWKHVWDWHIRUHYHU\IRUPRISRZHUSROLWLFVDQGDQ\GLFWDWRUVKLSUXQVWDWHKDVLWVURRWVLQ

   WKHVWUHHW´

             'HIHQGDQWVH[SUHVVO\DFNQRZOHGJHGWKDWWKHLUIDOVHQDUUDWLYHRI³VHOIGHIHQVH´

   ZDVPHUHO\DSUHWH[WIRUYLROHQFH7\URQHIRUH[DPSOHKDGWKHIROORZLQJH[FKDQJHRQ'LVFRUG

                      7\URQH³:KDWLIZHDUHVRFLRSDWKLFDQGZDQW>DQWLID@WRVKRZXSIRUVHOI
                      GHIHQVHSXUSRVHV"´
                      
                      $PHULFDQD±0',I\RX¶UHFRQFHUQHGDERXWDQWLIDVKRZLQJXSDQGEHLQJYLROHQW
                      ,SUHVHQW\RXYDOLGRSWLRQV'RQ¶WDWWHQG>HPRMLRIDZRPDQ@RU%HEHWWHU

                                                       
                                                        
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 35 of 112 Pageid#: 847
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 52 of 128 Pageid#:
                                    1317



                      DWYLROHQFHWKDQWKH\DUH
                      
                      7\URQH,W¶VQRWMXVWDERXW\RX FROOHFWLYH\RXQRWSHUVRQDO YLROHQFHOLNHWKLVLVD
                      WHDPJDPH

   7\URQHWKHQWROGRWKHUV³7KHEHVWGHIHQVHLVDJRRGRIIHQVHP\JUDQGSDSS\WDXJKWPH´

             2QH'LVFRUGSDUWLFLSDQWWROGSHRSOHWR³SXUFKDVHVHOIGHIHQVHLQVXUDQFH´ZKLOH

   DQRWKHUTXLSSHGWKDWWKHDELOLW\WRPDNHRXWDVHOIGHIHQVHFODLP³>G@HSHQGVKRZPXFKRIDMHZ

   \RXUODZ\HULV´

             8VLQJ'LVFRUGDQGRWKHUPHGLXPV'HIHQGDQWVJDYHRUGHUVWRHDFKRWKHUFR

   FRQVSLUDWRUVDQGIROORZHUVLQDGYDQFHRIWKH8QLWHWKH5LJKWZHHNHQGLQFOXGLQJZKDWZHDSRQV

   WREULQJZKDWSURWHFWLYHDUPRUWRZHDUDQGLQVWUXFWLRQVIRUXQLIRUPV,QSDUWLFXODUWKH\

   DGYLVHGRWKHUSDUWLFLSDQWVWREULQJILUHDUPVRULPSURYLVHGZHDSRQV7KH\HQJDJHGLQWKHVHDFWV

   ZLWKWKHLQWHQWLRQWKDWWKH\DQGWKHLUFRFRQVSLUDWRUVZRXOGLQIDFWHQJDJHLQYLROHQFHDQG

   KDUDVVPHQWDJDLQVWUDFLDODQGUHOLJLRXVPLQRULWLHVDQGWKUHDWHQWKHEURDGHU&KDUORWWHVYLOOH

   SRSXODWLRQ

             'HIHQGDQW&DQWZHOOH[SUHVVO\³HQFRXUDJH>G@´5DGLFDO$JHQGDIROORZHUV³WRFDUU\

   DFRQFHDOHGILUHDUP´

             2QHFRFRQVSLUDWRUZKRZDVDFWLYHRQWKH&KDUORWWHVYLOOH'LVFRUGVHUYHUDV

   WKH³+HDG5HSUHVHQWDWLYH´RI$QWLFRPRQWKHVHUYHUWROGKLVIROORZHUVLQWKH$QWLFRPVHUYHURQ

   $XJXVW³#HYHU\RQH%ULQJDVPXFKJHDUDQGZHDSRQU\DV\RXFDQZLWKLQWKHFRQILQHVRIWKH

   ODZ,¶PVHULRXV<RXVWLOOKDYHDIHZGD\VWRJHWVRPHSURWHFWLRQIURP+RPH'HSRWDQG

   EULQJDQ\JXQV\RXKDYH7KLVLVQ¶WMXVW$QWLFRP6SHQFHURUJDQL]HUVHYHU\RQHDUHEHKLQG

   WKLV´+HDGGHG³7KLVLVWKHWLPHWRJHWRII'LVFRUGDQGWDNHDFWLRQ´2Q$XJXVWKH

   VLPXOWDQHRXVO\SRVWHGRQWKH&KDUORWWHVYLOOHDQG$QWLFRPVHUYHUVWKHDSKRWRJUDSKRI

   KLPVHOILQWDFWLFDOJHDUFDUU\LQJDULIOH VHHLPDJHVEHORZIURPWKH&KDUORWWHVYLOOHVHUYHU
                                                        
                                                         
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 36 of 112 Pageid#: 848
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 53 of 128 Pageid#:
                                    1318



   OHIWDQG$QWLFRPVHUYHUULJKW +HWROGKLVIROORZHUV³,ZDVQ¶WNLGGLQJZKHQ,PDGHDQ

   DQQRXQFHPHQWWREULQJDVPXFKZHDSRQU\DVOHJDOO\IHDVLEOH7KLVZDVGLVFXVVHGZLWKWKH

   RUJDQL]HUV´$Q$QWLFRPIROORZHUUHVSRQGHG³<HDK,DOVRUHFRPPHQGHGFURZGIXQGLQJD

   GROODUFDPSDLJQWRKDQGRXWSHSSHUVSUD\WRIHOORZJRHUV´




                                                                                                  

             'HIHQGDQWVDQGFRFRQVSLUDWRUVSRVWHGSKRWRVRIWKHPVHOYHVSRVLQJZLWK

   DXWRPDWLFZHDSRQVDQGWDFWLFDOJHDUDQGERDVWHGDERXWWKHZHDSRQVWKH\ZHUHEULQJLQJ

   7\URQHIRUH[DPSOHEUDJJHGRQWKH&KDUORWWHVYLOOHVHUYHUWKDWKHZRXOGEHEULQJLQJ

   ³0RVLQ1DJDQWVZLWKED\RQHWVDWWDFKHG´UHIHUULQJWRPLOLWDU\ULIOHVXVHGE\5XVVLDQDQG6RYLHW

   DUPHGIRUFHVZKLFK³ZLOOVKRRWFOHDQWKURXJKDFURZGDWOHDVWIRXUGHHS´7LP³%DNHG$ODVND´

   *LRQHWDFRFRQVSLUDWRUDQGDWWHQGHHRIWKHHYHQWVRI$XJXVWDQGSRVWHGWKHIROORZLQJRQ

   7ZLWWHU



                                                   
                                                    
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 37 of 112 Pageid#: 849
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 54 of 128 Pageid#:
                                    1319




                                                                                    

             'HIHQGDQW5D\ZURWHRQ'LVFRUG³:HOO,DOVRFRPHEDUHKDQGHGDQGEDUHILVWHG

   EFRIILFHUVGRQ¶WGXFNORO%XWP\JX\VZLOOEHUHDG\ZLWKORWVRIQLIW\HTXLSPHQW´

             2QHFRFRQVSLUDWRURQ'LVFRUGSRVWHGDIDNHDGYHUWLVHPHQWIRUDSURGXFWWKDW

   ORRNHGOLNHSHSSHUVSUD\FDOOHG³1LJ$ZD\´²´DQRIXVVQRPXVVµQLJJHUNLOOHU¶´SURPLVHGWR

   ³NLOO>@RQFRQWDFWGLVVROY>LQJ@DOOWLVVXHOHDY>LQJ@RQO\ERQHPDWWHU´LQRUGHUWR³ULGWKHDUHD

   RIQLJJHUV´+HFRPPHQWHGEHQHDWKWKHSKRWR³VWRFNXSQRZ´




                                                      
                                                       
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 38 of 112 Pageid#: 850
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 55 of 128 Pageid#:
                                    1320




                                                                                                


            'LVFRUGZDVULIHZLWKGLVFXVVLRQVE\FRFRQVSLUDWRUVRIZHDSRQVDQGWKHXVHRIHYHU\GD\

   REMHFWVWRLQIOLFWKDUP
                      Ɣ
                           ³,¶PFRQFHDOFDUU\LQJ´

                      Ɣ ³>$@UHDOPDQNQRZVKRZWRPDNHDVKLHOGDGHDGO\ZHDSRQ´

                      Ɣ ³>.@QLYHVDQGJXQVDUHPRUHOHJDOWKDQEOXQWZHDSRQVRUEDWRQVEXWLWV>VLF@
                         EHWWHUWRRQO\FDUU\ZKDWZRXOGRQO\EHSHUFHLYHGDVDGHIHQVLYHWRRO,ILJXUH
                         NQLYHVZRXOGFDXVHWKHSROLFHPRUHDODUPRYHUDFDQRISHSSHUVSUD\RUD
                         UXJJHGDQGDEUDVLYHVKLHOG´

                      Ɣ ³>*@HWVWDQGDUG2&VSUD\,SHUVRQDOO\XVH)R[/DEV´

                      Ɣ ³>5@HPHPEHUWKDWQHZVSDSHUVFDQEH\RXUJUHDWHVWDOO\WRVVDIHZSHQQLHVLQ
                         WKHUHUROOLWXSDQGIROGLWDQGEDP´

                      Ɣ ³>$@YRLGEDWRQVMXVWJHWKDUGZRRGGRZHO WKDWILWVLQ\RXUKDQG IURPD
                         VWRUHDQGFXWLWWRVL]H´

                      Ɣ ³,I\RXJHW39&JHWVFKHGXOHIRUWKLFNHUWKXPSLQJ´

                      Ɣ ³'RQ¶WFDUU\DQ\WKLQJWKDW¶VH[SOLFLWO\DZHDSRQ)ODJSROHVDQGVLJQVZRUN
                         EXWRSHQO\FDUU\LQJREYLRXVZHDSRQU\LVSUREDEO\QRWDJRRGLGHD´

                      Ɣ ³$ZUHQFKZLWKDZULVWODQ\DUGJHWVWKHVDPHMRE>DVDEODFNMDFNELOO\FOXE@
                         DFFRPSOLVKHG´

                                                       
                                                        
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 39 of 112 Pageid#: 851
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 56 of 128 Pageid#:
                                    1321



                      Ɣ ³-XVWFDUU\DSRFNHWIXOORIURFNV7KH\FDQEHLQDVRFNRUVRPHWKLQJ´




                                                                                                


               2Q-XQH.HVVOHUSRVWHGLQWKHDQQRXQFHPHQWFKDQQHORIWKH

   &KDUORWWHVYLOOH'LVFRUGVHUYHU³#HYHU\RQH,UHFRPPHQG\RXEULQJSLFNHWVLJQSRVW

   VKLHOGVDQGRWKHUVHOIGHIHQVHLPSOHPHQWVZKLFKFDQEHWXUQHGIURPDIUHHVSHHFKWRROWRDVHOI

   GHIHQVHZHDSRQVKRXOGWKLQJVWXUQXJO\´

               2QHFRFRQVSLUDWRURQ'LVFRUGSRVWHGDOLQNWRKLVVWRUH5HVLVWDQFH7RROVDORQJ

   ZLWKDFRXSRQFRGH 81,7(7+(5,*+7 DQGZURWH³)253(23/(127&21&($/('

   &$55<,1*,1&¶9,//(,VHOOVWXQJXQVWDVHUVSHSSHUVSUD\EDWRQVDQGRWKHUVHOIGHIHQVH

   VWXII´

               'HIHQGDQW9DQJXDUG$PHULFDWKURXJKLWVOHDGHUVDQGPHPEHUVHQFRXUDJHGLWV

   PHPEHUVWRDWWHQGWKHUDOO\RQLWVRZQ'LVFRUGVHUYHU6RXWKHUQ)URQW$QLQGLYLGXDOZLWKWKH

   XVHUQDPH³7KRPDV5\DQ´RQLQIRUPDWLRQDQGEHOLHI7KRPDV5\DQ5RXVVHDXDOHDGHURI

   9DQJXDUG$PHULFDUHSHDWHGO\XUJHGPHPEHUVWRFRQWDFWKLPGLUHFWO\LIWKH\SODQQHGWRDWWHQG

   WKH³8QLWHWKH5LJKW´HYHQWDQGLIWKH\ZDQWHGWRWUDYHOWRJHWKHULQD³KDWHEXV´VD\LQJ³7KLV

   HYHQWLVD     %,*'($/      DQGRIIHUVDFKDQFHWROLQNXS9DQJXDUG*X\VIURPDFURVVWKH

   QDWLRQ´+HDOVRLVVXHGRUGHUVRQWKHSURSHU9DQJXDUGXQLIRUPIRUWKHHYHQW

                                                       
                                                        
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 40 of 112 Pageid#: 852
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 57 of 128 Pageid#:
                                    1322



             'HIHQGDQW9DQJXDUG$PHULFDPHPEHUVZHUHLQVWUXFWHGWRDUULYHDWWKHUDOO\LQ

   PDWFKLQJNKDNLSDQWVDQGZKLWHSRORVDERXWZKLFKRQHPHPEHURQWKHVHUYHUFRPPHQWHG³,

   OLNHWKHSRORVLW¶VDJRRGILJKWLQJXQLIRUP´5RXVVHDXDOVRWROGKLV9DQJXDUG$PHULFDFR

   FRQVSLUDWRUV³6HOIGHIHQVHLWHPVDUHQRWOLVWHGRQWKHJHDUOLVWVRPHLQGLYLGXDOVZLOOKDYH

   FRQFHDOHGFDUU\VRPHZLOOQRW´2Q$XJXVWRQHFRFRQVSLUDWRUDVNHG³6HULRXVTXHVWLRQZK\

   DUHWKH\VD\LQJQRWWREULQJILUHDUPV"´$QRWKHUUHSOLHG³6RXQGVOLNHWKH\DUHVFDUHGORO,

   DOZD\VFDUU\DFROODSVLEOHEDWRQQRZLW¶VP\QHZIDYRULWH´³7KRPDV5\DQ´UHSOLHG³,W¶V

   FRQFHDOHGFDUU\RQO\&RQFHDOHGNQLYHVKDYHGR]HQVRIODZVDURXQGWKHP2SHQNQLYHVGR

   QRWEXWLWORRNVUHDOO\GXPEWRFDUU\DQRSHQODUJHNQLIHVRZH¶UHQRWGRLQJWKDW1RWVXUH

   DERXWEDWRQV´

             'HIHQGDQW5D\D³JRRGIULHQG´RI'HIHQGDQW9DQJXDUG$PHULFDDFFRUGLQJWR

   WKHLUOHDGHU5RXVVHDXDOVRXVHGWKH6RXWKHUQ)URQWVHUYHUWRHQFRXUDJH9DQJXDUG$PHULFD

   PHPEHUVWRDWWHQGWKHUDOO\SRVWLQJDOLQNWRWKH'DLO\6WRUPHUDUWLFOH³&KDUORWWHVYLOOH:K\

   <RX0XVW$WWHQGDQG:KDWWR%ULQJDQG1RWWR%ULQJ´$9DQJXDUG$PHULFDPHPEHU

   UHVSRQGHGWR5D\¶VSRVWZLWKDYLROHQWGUDZLQJRI'HIHQGDQW+HLPEDFKZHDULQJDVKLUWEHDULQJ

   1D]LDQG'HIHQGDQW7:3V\PEROVDQGWKHZRUGV³QLJJHUNLOOHU´DERYHDWDOO\RI³FRPPXQLVWV

   NLOOHG´VPLOLQJLQIURQWRIGHFDSLWDWHGEODFNPHQZHDULQJORJRVDVVRFLDWHGZLWKDQWLIDVFLVW

   PRYHPHQWV

            




                                                     
                                                      
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 41 of 112 Pageid#: 853
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 58 of 128 Pageid#:
                                    1323




                                                                                                      

             2QHPHPEHURI'HIHQGDQW9DQJXDUG$PHULFDH[SODLQHGRQWKH6RXWKHUQ)URQW

   VHUYHUDIWHUWKHHYHQWWKDW9DQJXDUG$PHULFDKDGFRRUGLQDWHGZLWK'HIHQGDQW1DWLRQDO6RFLDOLVW

   0RYHPHQWEHFDXVHWKH&KDUORWWHVYLOOHHYHQWZDVDERXWYLROHQFH³,QFYLOOHZHQHHGHGQXPEHUV

   160IRXJKWVRKDUGUHJDUGOHVVRIWKHLURSWLFV'RZHQHHGWKHPDWQRUPLHHYHQWV"1R:H

   QHHGWKHPLQDILJKW"<HV´

             ,QDGGLWLRQWRGLUHFWLYHVEHLQJFLUFXODWHGRQ'LVFRUG'HIHQGDQWV5D\DQG$QJOLQ

   LVVXHGGLUHFWLYHVXVLQJ'DLO\6WRUPHU¶VZHEVLWHLQDGYDQFHRIWKH8QLWHWKH5LJKWZHHNHQG,Q

   DUWLFOHVWLWOHG³2SHUDWLRQDO6HFXULW\IRU5LJKW:LQJ5DOOLHV´DQG³&KDUORWWHVYLOOH:K\<RX


                                                   
                                                    
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 42 of 112 Pageid#: 854
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 59 of 128 Pageid#:
                                    1324



   0XVW$WWHQGDQG:KDWWR%ULQJDQG1RWWR%ULQJ´³6WRUPHUV´ZHUHWROGWKDWWKH\ZHUHUHTXLUHG

   WREULQJWLNLWRUFKHVDQGVKRXOGDOVREULQJSHSSHUVSUD\IODJSROHVIODJVDQGVKLHOGV

             ,QGHHGWKHHYLGHQFHWKDW'HIHQGDQWVZHUHSODQQLQJWRDUPWKHPVHOYHVLQDGYDQFH

   RIWKH³UDOOLHV´ZDVVRSHUYDVLYHWKDWWKH&KDUORWWHVYLOOH3ROLFH'HSDUWPHQWUHFHLYHGSULYDWH

   WKUHDWDVVHVVPHQWVIURPWKH)HGHUDO%XUHDXRI,QYHVWLJDWLRQLQGLFDWLQJWKDW³8QLWH7KH5LJKW

   VXSSRUWHUVZRXOGEULQJEDWVEDWRQVIODJVWLFNVNQLYHVDQGILUHDUPVWRFRQIURQWWKHLUSROLWLFDO

   RSSRQHQWV´

             'HIHQGDQWVDQGFRFRQVSLUDWRUVSURYLGHGJXLGDQFHDQGLQVWUXFWLRQVWRFR

   FRQVSLUDWRUVDQGSDUWLFLSDQWVDERXWKRZWRWU\WRDYRLGWKHOHJDOUDPLILFDWLRQVRIWKHLUYLROHQFH

   )RUH[DPSOHWKH\VHWXSDFKDQQHORQ'LVFRUGGHYRWHGWRXQGHUVWDQGLQJ9LUJLQLDODZZKHUHRQH

   FRFRQVSLUDWRUVXJJHVWHGWKDWUDOO\JRHUVEX\VHOIGHIHQVHLQVXUDQFH'HIHQGDQWVDOVRDVVXUHGFR

   FRQVSLUDWRUVWKDWWKH\ZRXOGEHSURWHFWHGZKHQWKH\HQJDJHGLQYLROHQWDFWVLQWHQGHGLQFLWHG

   VWUDWHJL]HGDQGHQFRXUDJHGE\'HIHQGDQWV7KH³*HQHUDO2UGHUV´WROGDWWHQGHHVWKDWLIWKH\

   IRXQGWKHPVHOYHVDUUHVWHGWKHUHZRXOGEH³PRQH\DQGDOHJDOWHDPVHWDVLGHIRU\RXDIWHU´

   'HIHQGDQW6SHQFHUSXWRXWDFDOOIRUDWWRUQH\VRQKLVZHEVLWHDOWULJKWFRP'DLO\6WRUPHU

   DGYLVHGDWWHQGHHV

                               >,@I\RXHQGXSLQVRPHKHDY\VWXIIDQGDUHQRW\HWFKDUJHG
                      ZLWKDQ\WKLQJXVH\RXUPRPHQWVRIIUHHGRPWRJHWUHDOO\GLIILFXOW
                      WRILQG'RQRWZDLWDURXQGIRUEDGSURFHVVHVWREHJLQDJDLQVW\RX
                      ([LWIURPDQ\ULVN\VLWXDWLRQDVTXLFNO\DV\RXFDQ,I\RXPDNH
                      \RXUVHOI HDV\ WR VHUYH ZLWK OHJDO SURFHVV OHJDO SURFHVV ZLOO EH
                      OLNHO\EHVHUYHGWR\RX

             'HIHQGDQWVDQGFRFRQVSLUDWRUVWROGHDFKRWKHUWREULQJVKLHOGVXQLIRUPVIODJV

   DQGVLJQVGHFRUDWHGZLWKLFRQRJUDSK\WKDWZRXOGLQVWLOOIHDUDORQJUDFLDODQGUHOLJLRXVOLQHV

   ZKLOHDOVRLGHQWLI\LQJUDOO\JRHUVZLWKWKHKDWHJURXSVWRZKLFKWKH\EHORQJ7KH7H[DVDQG


                                                          
                                                           
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 43 of 112 Pageid#: 855
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 60 of 128 Pageid#:
                                    1325



   /RXLVLDQDFKDSWHUVRI'HIHQGDQW9DQJXDUG$PHULFDIRUH[DPSOHSODQQHGWRKDYHVKLHOGVZLWK

   WKHLUORJRVSDLQWHGRQ

              'HIHQGDQWVDOVRGLVFXVVHGDQGLQWHQGHGIRUIROORZHUVWRFRPHZLWKSDUDSKHUQDOLD

   EHDULQJUDFLVWDQGDQWL6HPLWLFLPDJHU\'HIHQGDQW.HVVOHUIRUH[DPSOHH[SODLQHG³7KH

   &RQIHGHUDWHIODJLV7+(%(67RSWLFVEHFDXVHLW¶VEHORYHGE\OHJLRQVRI6RXWKHUQHUVZKRDUHRQ

   WKHGRRUVWHSRIEHFRPLQJMXVWOLNHXVLIZHFDQPRYHWKHPEH\RQGµKHULWDJHQRWKDWH¶´

              7KH³RIILFLDO´SRVWHUIRUWKHHYHQWFRQWDLQHG1D]LDQGFRQIHGHUDWHLFRQRJUDSK\

   LQFOXGLQJLPSHULDOHDJOHVUHPLQLVFHQWRI1D]L*HUPDQ\¶VQDWLRQDOHPEOHPFRQIHGHUDWHIODJVDQG

   PRQXPHQWVDQGFRQIHGHUDWHVROGLHUVLQIRUPDWLRQ




                                                                       

   '       'HIHQGDQWV&RRUGLQDWHG)XQGLQJ/RJLVWLFV7UDQVSRUWDWLRQDQG/HJDO6XSSRUW)RU
             &R&RQVSLUDWRUVDQG$WWHQGHHV

              'HIHQGDQWVIXUWKHUHGWKHLUFRQVSLUDF\DQGLWVLOOHJDOLQMXULRXVREMHFWLYHVE\

   FRRUGLQDWLQJDWWHQGDQFHDWWKHUDOO\WKURXJK'LVFRUGWKH'DLO\6WRUPHUZHEVLWHDQGRWKHU

   PHGLD

              2Q'LVFRUG'HIHQGDQWVHVWDEOLVKHGWKHVSRQVRUVBRQO\DQGLBQHHGBDBVSRQVRU

   FKDQQHOVWRSURYLGHILQDQFLDOVXSSRUWWRRWKHUVZKRZDQWHGWRWUDYHOWR&KDUORWWHVYLOOH
                                                     
                                                      
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 44 of 112 Pageid#: 856
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 61 of 128 Pageid#:
                                    1326



   'HIHQGDQWVDOVRXVHGFKDQQHOVOLNHFDUSRROBZDQWHGDQGFDUSRROBDYDLODEOHWRRUJDQL]H

   FDUSRROVLQ³+DWH9DQ>V@´DQG³IXOOEORZQKDWHFRQYR\>V@´

                  2QWKH'DLO\6WRUPHUZHEVLWHDWWHQGHHVZHUHDGYLVHG³,I\RXZDQWWRFRPHEXW

   FDQ¶WILQGDZD\JHWRQWKH%%6>D'DLO\6WRUPHUIRUXP@DQGDVNIRUKHOS*RWRWKH%RRN&OXE

   VHFWLRQDQGILQGWKHQHDUHVWERRNFOXEWR\RXDQGSRVWLQWKDWWKUHDGWKDW\RXZDQWWRJREXWQHHG

   DVVLVWDQFH,I\RXKDSSHQWRKDYHKLWDGHDGWKUHDGVWDUWDWKUHDGLQ*HQHUDO'LVFXVVLRQDVNLQJ

   IRUKHOS,I\RXDUHJRLQJDQGKDYHDQH[WUDVHDWRUVHDWVVWDUWDWKUHDGWRRIIHUDULGH´

                  &DQWZHOODVNHGOLVWHQHUVRIKLV5DGLFDO$JHQGDSRGFDVWDQGUHDGHUVRIKLVZHEVLWH

   WRVHQGPRQH\WRKLPLIWKH\³ZDQW>HG@WRKHOS´EXWFRXOGQRWDWWHQGWKH³UDOO\´

                  5RRW%RFNVDQG:H6HDUFKU²VLWHVWKDWZHUHVHWXSWRUDLVHPRQH\IRUKDWHEDVHG

   FDXVHV²IDFLOLWDWHGWKHDWWHQGDQFHRIFRFRQVSLUDWRUV2Q-XO\IRUH[DPSOH5RRW%RFNV

   WZHHWHG³#%DNHG$ODVNDZDVEDQQHGIURP#*R)XQG0HVRJRKHOSKLPRXWKHUH´%DNHG

   $ODVNDDND7LP*LRQHWKDVDGYRFDWHGUDFLDODQGUHOLJLRXVEDVHGYLROHQFHLQFOXGLQJE\

   FLUFXODWLQJDQLPDJHRID-HZLVKZRPDQLQDJDVFKDPEHU'DYLG'XNHDOVRWZHHWHG³+HOSP\

   IULHQG%DNHG$ODVNDJHWWRWKH8QLWH7KH5LJKWUDOO\3OHDVHGRQDWHWRPDNHWKLVKDSSHQ

   URRWERFNVFRPSURMHFWVJHWE´




   
   
    7KH³+DWH9DQ´DQG³KDWHFRQYR\´VXJJHVWHGE\FRQVSLUDWRUVLQWKLVFDVHKDVKLVWRULFDOSUHFHGHQW'XULQJWKH&LYLO
   5LJKWV(UD*HRUJH/LQFROQ5RFNZHOOWKHIRXQGHURIWKH$PHULFDQ1D]L3DUW\DQGKLVVXSSRUWHUVGURYHDWZR
   YHKLFOHFDUDYDQWKDWLQFOXGHGDEOXHDQGZKLWHYDQGXEEHGWKH³+DWH%XV´WKURXJKWKH6RXWK7KHH[WHULRURIWKH
   YDQZDVSODVWHUHGZLWKWKHZRUGV³/,1&2/152&.:(//¶6+$7(%86´DQGWKHSKUDVHV³:('2+$7(
   5$&(0,;,1*´DQG³:(+$7(-(:&20081,60´5RFNZHOOSOHGJHGVROLGDULW\ZLWKWKH.ODQVPHQZKR
   DWWDFNHGWKH)UHHGRP5LGHUV EODFNDQGZKLWHFLYLOULJKWVDFWLYLVWVZKRURGHLQWHUVWDWHEXVVHVLQDFDPSDLJQRI
   GHVHJUHJDWLRQ DQGKRSHGWRFRQIURQWWKH³&RPPXQLVWQLJJHUORYLQJ´5LGHUVZKHQWKH\DUULYHGLQ1HZ2UOHDQV,Q
   1HZ2UOHDQVWKH\GHPRQVWUDWHGZLWKVLJQVWKDWUHDG³$PHULFDIRU:KLWHV$IULFDIRU%ODFNV´DQG³*DV&KDPEHU
   IRU7UDLWRUV´$IWHU5RFNZHOO¶VDVVDVVLQDWLRQLQWKH$PHULFDQ1D]L3DUW\EURNHLQWRWZRIDFWLRQVRQHRI
   ZKLFKEHFDPHWKH'HIHQGDQW160UXQE\'HIHQGDQW6FKRHS6HH5$<021'$56(1$8/7)5(('205,'(56
   $1'7+(6758**/()255$&,$/-867,&(  

   
                                                                  
                                                                   
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 45 of 112 Pageid#: 857
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 62 of 128 Pageid#:
                                    1327



             2QWKH$XJXVW³&KDUORWWHVYLOOH8QLWHWKH5LJKW$QQRXQFHPHQW6SHFLDO´SRGFDVW

   ZLWK'HIHQGDQW3HLQRYLFK'HIHQGDQW0RVOH\WROGOLVWHQHUVWKDWWKH\¶GEHVHWWLQJXSDJHQHUDO

   OHJDOIXQGXVLQJ5RRWERFNV2QWKDWVDPHSURJUDP0RVOH\WROGOLVWHQHUVKRZWRJHWKHOSZLWK

   WUDQVSRUWDWLRQ

             'HIHQGDQWVDQGFRFRQVSLUDWRUVDOVRFRRUGLQDWHGWUDYHOIRUWKHGD\RIWKH³UDOO\´

   RQ6DWXUGD\$IWHUFRQVXOWLQJZLWK'HIHQGDQW.HVVOHU7\URQHWRRNUHVSRQVLELOLW\IRUKHOSLQJ

   RUJDQL]HVKXWWOHV2QHFRFRQVSLUDWRULQVWUXFWHG'LVFRUGSDUWLFLSDQWV³1RERG\LVJRLQJWRWKH

   SDUNRQWKHLURZQ:HZLOOEHDUULYLQJDVDJURXS´

   (      :KHQ3ODLQWLIIVDQG2WKHUV6RXJKWWR3UHSDUHIRUWKH(YHQWVRI$XJXVW7KH\
            :HUH7DUJHWHGIRU$GGLWLRQDO7KUHDWVDQG+DUDVVPHQW

             3ODLQWLIIVDQGFRPPXQLW\PHPEHUVXQGHUVWRRGWKDW$XJXVWFRXOGEH DQG

   XOWLPDWHO\ZDV WKHODUJHVWSXEOLFJDWKHULQJRIKDWHJURXSVLQGHFDGHV

             $QWLFLSDWLQJDQHHGIRUDGHVLJQDWHGVHSDUDWHVSDFHIRUSHDFHIXOSURWHVWHUVD

   89$SURIHVVRUUHFHLYHGSHUPLWVIRU0F*XIIH\3DUNDQG-XVWLFH3DUNIRUWKHSHULRGVGXULQJ

   ZKLFKWKH8QLWHWKH5LJKW³UDOO\´ZDVWRWDNHSODFH

             $EURDGJURXSRIFRQFHUQHGFLWL]HQVLQFOXGLQJ3ODLQWLII:LVSHOZH\UHFRJQL]HG

   WKHQHHGWRRUJDQL]HFRPPXQLW\PHPEHUVLQDGYDQFHRIWKHUDOO\ZHHNHQGLQRUGHUWRSURYLGHD

   VHQVHRIVROLGDULW\IRU&KDUORWWHVYLOOHDQGJLYHJXLGDQFHRQQRQYLROHQWSURWHVW

             :LVSHOZH\DQRUGDLQHGPLQLVWHUFRFUHDWHGDPHPEHUVKLSRUJDQL]DWLRQ

   ³&RQJUHJDWH´WRMRLQLQWHUIDLWKFOHUJ\IURPDURXQGWKHFRXQWU\WR³VWDQGDJDLQVWZKLWH

   VXSUHPDF\DQGEHDUZLWQHVVWRORYHDQGMXVWLFH´&RQJUHJDWH¶VJRDOZDVWREULQJFOHUJ\

   PHPEHUVWR&KDUORWWHVYLOOHWRVWDQGXSIRUHTXDOLW\DQGDJDLQVWKDWH:RUNLQJZLWKRWKHU

   UHOLJLRXVOHDGHUVDQGFRPPXQLW\RUJDQL]HUVDQGRUJDQL]DWLRQV&RQJUHJDWHSODQQHGDQLQWHUIDLWK

   VHUYLFHIRU$XJXVWDW6W3DXO¶V0HPRULDO&KXUFKRQ8QLYHUVLW\$YHQXH ³6W3DXO¶V´ WKH
                                                    
                                                     
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 46 of 112 Pageid#: 858
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 63 of 128 Pageid#:
                                    1328



   QLJKWEHIRUH'HIHQGDQWV¶SHUPLWWRJDWKHULQ(PDQFLSDWLRQ3DUN&RQJUHJDWHDOVRKHOSHGSODQDQ

   LQWHUIDLWK³VXQULVHVHUYLFH´IRU$XJXVWDWWKH$IULFDQ$PHULFDQ)LUVW%DSWLVW&KXUFKRQ:HVW

   0DLQ6WUHHWVRWKDWFRPPXQLW\PHPEHUVFRXOGJDWKHUIHHOVXSSRUWHGDQGSUD\

             $VDUHVXOWRILWVZRUNLQVXSSRUWRIWKH&KDUORWWHVYLOOHFRPPXQLW\&RQJUHJDWH

   ZDVWDUJHWHG'HIHQGDQW.HVVOHUDGYLVHGKLVIROORZHUVRI&RQJUHJDWH¶VZRUNLQDYLGHRUHOHDVHG

   SULRUWRWKH8QLWHWKH5LJKWZHHNHQG,QGRLQJVR.HVVOHULQWHQGHGWRKDYHRWKHUVWKUHDWHQDQG

   SRWHQWLDOO\FDXVHYLROHQFHWRWKHRUJDQL]DWLRQ²DSUDFWLFHWKDWLVQRWXQFRPPRQDPRQJ

   'HIHQGDQWVDQGFRFRQVSLUDWRUV)RUH[DPSOHDIWHUDSKRWRJUDSKZDVSXEOLVKHGRID\RXQJ

   ZRPDQJLYLQJWKHPLGGOHILQJHUWRDPDQLQDFRQIHGHUDWHDUP\XQLIRUPDSURPLQHQWPHPEHURI

   WKH(DVW&RDVW.QLJKWVWZHHWHGRXWWKH\RXQJZRPDQ¶VKRPHDGGUHVVDQGZURWH³:HZLOOEH

   KDYLQJDUDOO\DWWKLVDGGUHVVQH[WZHHN%ULQJ\RXURZQWRUFK´

             2Q$XJXVWRQHFRFRQVSLUDWRUSRVWHGRQ'LVFRUGVFUHHQVKRWVIURPD)DFHERRN

   HYHQWIRUDQXSFRPLQJFRPPXQLW\³%DFNWR6FKRRO%ORFN3DUW\´LQ&KDUORWWHVYLOOH+H

   FRPPHQWHG³1HJUREORFNSDUW\DERXWPLOH6:RI/HHSDUN´)ROORZLQJWKDWSRVWRQH

   'LVFRUGSDUWLFLSDQWVXJJHVWHGWKDWDZKLWHVXSUHPDFLVWJURXS³JRWRWKHEORFSDUW\DIWHUDQGEHDW

   WKHPDWNLFNEDOO´$QRWKHUUHSOLHGDVNLQJ³:KDWKDSSHQVLIZHORVH",KHDUQLJJHUVDUHSUHWW\

   JRRGDWVSRUWVEDOO´$WKLUGUHSOLHG³:HVKDQNWKHP´

             'HIHQGDQW.HVVOHUDORQJZLWKRWKHUFRFRQVSLUDWRUVSRVWHGYDULRXVSKRWRJUDSKV

   RQ'LVFRUGDQGSURYLGHGQDPHVDQGLGHQWLI\LQJLQIRUPDWLRQRILQGLYLGXDOVSODQQLQJWRSURWHVWLQ

   &KDUORWWHVYLOOHDVZHOODVWKHFRPPXQLW\JURXSVRUJDQL]LQJWKHSURWHVW2Q$XJXVW.HVVOHU

   'HIHQGDQW0RVOH\DQGRWKHUVKRVWHGDYRLFHFKDWRQ'LVFRUGGXULQJZKLFKDQXQLGHQWLILHG

   YRLFHRIIHUHGD³VROLGJROGPHGDO´WRDQ\SHUVRQZKRZRXOGVKDYHWKH³%HDUGHG/DG\´UHIHUULQJ

   WRDSKRWRJUDSKRIDQH[SHFWHGSURWHVWRU

                                                    
                                                      
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 47 of 112 Pageid#: 859
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 64 of 128 Pageid#:
                                    1329



             &RQJUHJDWLRQ%HWK,VUDHOWKHV\QDJRJXHWRZKLFK3ODLQWLII3HDUFHEHORQJVDOVR

   OHDUQHGRI'HIHQGDQWV¶RQOLQHSXEOLFWKUHDWVWR&KDUORWWHVYLOOH¶V-HZLVKSRSXODWLRQ,Q

   UHDVRQDEOHIHDUDQGDSSUHKHQVLRQRI'HIHQGDQWVDQGWKHLUFRFRQVSLUDWRUVWKH7HPSOHPDGHWKH

   SDLQIXOGHFLVLRQWRPRYHDQGKLGHLWVVDFUHG7RUDKVFUROOVRIIVLWHLQDGYDQFHRIWKHZHHNHQG

   $PRQJWKH7RUDKVDWWKH6\QDJRJXHZDVRQHVDOYDJHGIURPDQHLJKERUKRRGRI(DVWHUQ(XURSHDQ

   -HZVZKRZHUHPDVVDFUHGGXULQJWKH+RORFDXVWWKDWLVGLVSOD\HGLQDJODVVFDELQHW

   8QIRUWXQDWHO\WKDW+RORFDXVW7RUDKFRXOGQRWEHPRYHGEHFDXVHRILWVIUDJLOHFRQGLWLRQ

   3ODLQWLII3HDUFHWKRXJKWDWWKHWLPHRIKRZLURQLFLWZDVWKDWD7RUDKWKDWPDQDJHGWRVXUYLYHWKH

   +RORFDXVWZDVDJDLQEHLQJWKUHDWHQHGE\1D]LV

             7KH7HPSOHDOVRGHFLGHGLWQHHGHGWRPRYHLWV6DWXUGD\6KDEEDWVHUYLFHVXSDQ

   KRXUVRWKDWLWFRXOGFORVHLQWKHDIWHUQRRQZKHQ'HIHQGDQWVDQGRWKHUQHR1D]LVDQGZKLWH

   VXSUHPDFLVWVZHUHH[SHFWHGWREHLQ&KDUORWWHVYLOOH7KH7HPSOHWRRNIXUWKHUVDIHW\SUHFDXWLRQV

   LQFOXGLQJKLULQJDVHFXULW\JXDUGWRNHHSWKHFRQJUHJDWLRQVDIHZKLOHWKH\ZHUHWKHUHIRU

   VHUYLFHVUHGLUHFWLQJVXEVWDQWLDOUHVRXUFHV

             6WRUHVUHVWDXUDQWVDQGEDUVDURXQGWRZQFUHDWHGVLJQVWKDWWKH\SRVWHGLQWKHLU

   ZLQGRZVVKRZLQJWKHEXVLQHVVHV¶VXSSRUWIRUHTXDOLW\DQGGLYHUVLW\7KRVHVWRUHVDQG

   UHVWDXUDQWVZHUHDOVRWDUJHWHGE\'HIHQGDQWV

             ,Q-XQHIRUH[DPSOH'HIHQGDQW.HVVOHUHQFRXUDJHG'LVFRUGSDUWLFLSDQWVWR

   REWDLQWKHQDPHVRIORFDOEXVLQHVVHVZKRVHRZQHUVVLJQHGDSHWLWLRQWRDVNWKHJRYHUQPHQWWR

   FDQFHO.HVVOHU¶VSHUPLW,Q$XJXVWFRFRQVSLUDWRU*ULIILQWZHHWHGDERXWWDUJHWLQJDORFDO

   UHVWDXUDQW%UD]RV7DFRV'HIHQGDQW0RVOH\DOVRWZHHWHGDERXWWDUJHWLQJVHYHUDOUHVWDXUDQWV

   QDPHO\%UD]RV7DFRV&LQHPD7DFR&RPPRQZHDOWK5HVWDXUDQWDQG6N\EDU0XGKRXVHDQGWKH

   :KLVNH\-DU'HIHQGDQW6SHQFHUWZHHWHGDSLFWXUHRI&RPPRQZHDOWK5HVWDXUDQWZKLFKKDGD

                                                      
                                                       
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 48 of 112 Pageid#: 860
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 65 of 128 Pageid#:
                                    1330



   VLJQLQWKHZLQGRZUHDGLQJ³,IHTXDOLW\ GLYHUVLW\DUHQ¶WIRU\RXWKHQQHLWKHUDUHZH´2Q

   $XJXVW'HIHQGDQW3HLQRYLFKWZHHWHG³'RWKHVHZKLWHEXVLQHVVRZQHUVDQGVKLWOLEVLQ&9LOOH

   WKLQNWKDWWKHLUYLUWXHVLJQDOLQJPHDQWKH\ZLOOEHVSDUHGVRPHKRZ"/RO´

             %\LGHQWLI\LQJWKHVHEXVLQHVVHV'HIHQGDQWVLQWHQGHGWKDWWKHLUFRFRQVSLUDWRUV

   DQGIROORZHUVZRXOGWKUHDWHQWKHVHEXVLQHVVHV$QXPEHURIWKHVHEXVLQHVVHVWKHUHDIWHUUHFHLYHG

   LQSHUVRQDQGPDLOHGWKUHDWV




                                                                                      




                                                   
                                                    
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 49 of 112 Pageid#: 861
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 66 of 128 Pageid#:
                                    1331



   ,,     2Q$XJXVWDQG'HIHQGDQWV6XFFHVVIXOO\,PSOHPHQWHGWKH9LROHQFHDQG
            ,QWLPLGDWLRQ7KH\+DG3ODQQHG

   $      )ULGD\$XJXVW

                    7KH³6HFUHW´7RUFK3DUDGH

             'HIHQGDQWVLQFOXGLQJ0RVOH\6SHQFHU.HVVOHU5D\$QJOLQ&DQWZHOODQG

   ,QYLFWXVDORQJZLWKWKHLUFRFRQVSLUDWRUVRUJDQL]HGDWRUFKOLJKWPDUFKWKURXJKFDPSXV

   FXOPLQDWLQJDWWKHVWDWXHRI7KRPDV-HIIHUVRQQHDUWKH5RWXQGDRQ$XJXVWDWWKH*URXQGVDW

   89$

             7KHSHUPLW'HIHQGDQW.HVVOHUDSSOLHGIRUDQGUHFHLYHGZDVIRUWKHIROORZLQJGD\

   $XJXVWLQ(PDQFLSDWLRQ3DUN'HIHQGDQWVGLGQRWSXEOLFO\GLVFORVHWKHWLPHRUORFDWLRQIRU

   WKH$XJXVWWRUFKSDUDGH³EHFDXVHLWZDVDVHFUHWDUUDQJHPHQW´

             7KHWRUFKSDUDGHZDVWKHUHVXOWRIZHHNVRISODQQLQJE\'HIHQGDQWVDQGFR

   FRQVSLUDWRUV7KH\KDGHVWDEOLVKHGDIULGD\BQLJKWFKDQQHORQ'LVFRUGWRFRRUGLQDWHDWWHQGDQFH

   GUHVVFRGHDQGSODQV7KH\DGYLVHGFRFRQVSLUDWRUVWKDWWKHHYHQWZDVLQWHQGHGWREHDVHFUHW

   DQGWKDWWKH\VKRXOGEULQJWRUFKHV

             )RUH[DPSOHWKH'DLO\6WRUPHUZHEVLWHVWDWHG

                  7LNL7RUFKHV<HV±UHTXLUHG3LFNXSWLNLWRUFKHVEHIRUH\RXOHDYH
                  \RXUKRPHWRZQ7KHUHZLOOEHDWRUFKOLJKWFHUHPRQ\DQGWKHWLNL
                  WRUFKHVZLOODOOEHJRQHIURPWKHVKHOYHVRIWKHORFDOVWRUHV'ROODU
                  VWRUHVDUH\RXUEHVWEHW:DO0DUWKDVWKHPFKHDSDVZHOO0DNH
                  VXUH DQG JHW VRPH WLNL WRUFK IXHORLO WRR  2WKHUZLVH WKH\ ZRQ¶W
                  EXUQ
                          
             2QDSODQQLQJFDOOFRQGXFWHGWKURXJK'LVFRUG'HIHQGDQW0RVOH\LQVWUXFWHG

   'HIHQGDQWVDQGFRFRQVSLUDWRUV³:HDUHGRLQJDWRUFKOLJKWHYHQWRQ)ULGD\$Q\RQHZKR

   GRHVQ¶WKDYHWLNLVWXIIQRZVKRXOGJRRXWDQGJHWLWWRQLJKWRUWRPRUURZPRUQLQJDQGLI\RX

   FRXOGJHWH[WUDVWKDWZRXOGEHJUHDW´'HIHQGDQW.HVVOHURUGHUHGDWWHQGHHVWREX\WRUFKHVIRU


                                                   
                                                    
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 50 of 112 Pageid#: 862
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 67 of 128 Pageid#:
                                    1332



   )ULGD\EXWWRGRVRRXWVLGHRI&KDUORWWHVYLOOHVRWKDWWKH\ZRXOGQRW³WLSRXUHQHP\RII´+H

   LQVWUXFWHGWKDWSHRSOH³EX\H[WUDVIRUWKRVHZKRDUHIO\LQJLQRUXQSUHSDUHG´

             'HIHQGDQW0RVOH\RUGHUHGLQGLYLGXDOVWRDUULYHDW1DPHOHVV)LHOGDODUJHDUHD

   EHKLQG89$¶V0HPRULDO*\PQDVLXPDWSPVRWKDWWKH\FRXOGPDUFKRQFHGDUNQHVVIHOO

   DWSP+HWROGWKHPQRWWRDUULYHHDUOLHUWRDYRLGWLSSLQJRIIFRXQWHUSURWHVWRUVDQG

   VWUHVVHGWKDW³LW¶VH[WUHPHO\LPSRUWDQWWKDWQRERG\PHQWLRQWKLVRXWVLGHRXUFLUFOH´

             :KLOHSODQQLQJWKHLUWRUFKOLJKWPDUFK'HIHQGDQWVZHUHDZDUHRIWKHIDFWWKDW

   RSHQILUHVDUHLOOHJDORQ89$¶VFDPSXVZLWKRXWDXWKRUL]DWLRQ1HDUO\RQHPRQWKEHIRUHWKH

   SODQQHGWRUFKOLJKWPDUFKD'LVFRUGSDUWLFLSDQWSRVWHGDOLQNWR89$¶VJXLGHOLQHVDJDLQVWRSHQ

   ILUHV$FRFRQVSLUDWRUDQGPRGHUDWRURQ'LVFRUG³SLQQHG´WKHUHJXODWLRQWRWKHFKDWPHDQLQJ

   WKDWLWZDVKLJKOLJKWHGIRUSDUWLFLSDQWV

             7KHFKRLFHWRXVHOLWWRUFKHVZDVDGHOLEHUDWHGHFLVLRQWRKDUDVVDQGLQWLPLGDWHWKH

   SHRSOHRI&KDUORWWHVYLOOHDQGFRXQWHUSURWHVWHUVHVSHFLDOO\SHRSOHRIFRORUDQG-HZLVKSHRSOH

   'HIHQGDQWVDQGFRFRQVSLUDWRUVLQWHQWLRQDOO\GUHZRQWKHKLVWRU\RIWRUFKEHDULQJPREVDQGLQ

   SDUWLFXODUWKH.X.OX[.ODQ¶VXVHRIWRUFKHVLQWKHODWHVDQGLQWKHWZHQWLHWKFHQWXU\DQG

   WKH1D]L¶VXVHRIWRUFKHVLQWKHLUUDOOLHVLQWKHV,QERWKKLVWRULFDOFDVHVMXVWDVZLWKFURVV

   EXUQLQJWKHXVHRIWRUFKHVZDVFRQQHFWHGZLWKUDFLDOYLROHQFHWRUFKHVZHUHFKRVHQE\

   'HIHQGDQWVDQGFRFRQVSLUDWRUVDVSDUWRIDGHOLEHUDWHSODQWRHYRNHIHDURIWKHVDPHNLQGRI

   YLROHQFH$VRQHFRFRQVSLUDWRURQ'LVFRUGH[SODLQHG³7LNLWRUFKHVDUHWKHODVWVWDQGRI

   LPSOLFLWZKLWHQHVV´'HIHQGDQW5D\H[SODLQHGWKHSXUSRVHRIWKHWRUFKSDUDGHDVIROORZV³2XU

   FRXQWU\LVEHLQJXVXUSHGE\DIRUHLJQWULEHFDOOHGWKH-HZV:HDUHJRLQJWRVWRSLW´'HIHQGDQW

   ,QYLFWXVH[SODLQHGWRDUHSRUWHU³6RPHERG\IRUJRWWKHSLWFKIRUNVDWKRPHVRDOOZHJRWLV

   WRUFKHV´

                                                     
                                                       
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 51 of 112 Pageid#: 863
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 68 of 128 Pageid#:
                                    1333



             2QWKHPRUQLQJRI$XJXVW'HIHQGDQW&DQWZHOODQGRWKHUFRFRQVSLUDWRUV

   JDWKHUHGDWD:DOPDUWRXWVLGHRI&KDUORWWHVYLOOH&DQWZHOOWKHQWUDYHOOHGWR0F,QWLUH3DUNWR

   SUHSDUHIRUWKHHYHQLQJ,QDQLQWHUYLHZZLWKDUHSRUWHUIURPVice&DQWZHOOVDLG³,¶PWU\LQJWR

   PDNHP\VHOIPRUHFDSDEOHRIYLROHQFH,¶PKHUHWRVSUHDGLGHDVWDONLQWKHKRSHVWKDW

   VRPHERG\PRUHFDSDEOHZLOOFRPHDORQJDQGGRWKDW´

             2Q)ULGD\HYHQLQJXVLQJ'LVFRUG'HIHQGDQW0RVOH\DOHUWHGFRFRQVSLUDWRUVWKDW

   WKH\VKRXOGJRWR89$³(YHU\RQHFDQVWDUWDVVHPEOLQJDWQDPHOHVVILHOGULJKWQRZZLWK\RXU

   WRUFKHVWRVWDUWVWDJLQJ:HZLOOVWHSRIIIURPWKHILHOGDWSP´

             6WDUWLQJDURXQGSPDSSUR[LPDWHO\QHR1D]LVDQGZKLWH

   VXSUHPDFLVWV²'HIHQGDQWVDQGWKHLUFRFRQVSLUDWRUV²EHJDQDUULYLQJDW1DPHOHVV)LHOG7KH\

   FDUULHGXQOLWWLNLWRUFKHVDQGPDQ\ZRUHNKDNLSDQWVDQGZKLWHSRORVKLUWV WKHXQLIRUPRI

   'HIHQGDQW9DQJXDUG$PHULFD DQGSLQVPDUNLQJWKHLUDIILOLDWLRQVZLWKGLIIHUHQWKDWHJURXSV$

   OLWWOHDIWHUSP'HIHQGDQW6SHQFHUWH[WHGDUHSRUWHU³,¶GEHQHDUFDPSXVWRQLJKWLI,ZHUH

   \RX$IWHUSP1DPHOHVVILHOG´

             %\HDUO\HYHQLQJ3ODLQWLII:LVSHOZH\ZDVLQVLGH6W3DXO¶V&KXUFKDORQJZLWK

   DQRYHUIORZFURZGRIDQHVWLPDWHGSHRSOH'R]HQVRIORFDODQGQDWLRQDOFOHUJ\PHPEHUV

   YLVLWLQJ&KDUORWWHVYLOOHIRUWKHZHHNHQGSDUWLFLSDWHGDQGVSRNHDWWKHVHUYLFH

             3ODLQWLII-RKQ'RHDORQJZLWKRWKHU89$VWXGHQWVSHDFHIXOO\ZDONHGWRWKH

   5RWXQGDZKHUH'HIHQGDQWVZHUHEHOLHYHGWREHKROGLQJWKHLUHYHQW

             3ODLQWLII1DWDOLH5RPHURKDGVSHQWWKHDIWHUQRRQRI$XJXVWSDLQWLQJEDQQHUV

   DQGSRVWHUVIRUXVHGXULQJWKHSODQQHGSHDFHIXOSURWHVWRIWKH$XJXVW³UDOO\´5RPHURWKHQ

   OHDUQHGWKDW'HIHQGDQWVZRXOGEHKROGLQJDUDOO\RQWKH89$FDPSXVDWWKH5RWXQGD:LWKD

   JURXSRIRWKHU89$VWXGHQWV5RPHURSHDFHIXOO\PDGHKHUZD\WRWKH5RWXQGD

                                                     
                                                      
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 52 of 112 Pageid#: 864
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 69 of 128 Pageid#:
                                    1334



             $WWKHVDPHWLPHDW1DPHOHVV)LHOG3ODLQWLII0DJLOOREVHUYHG'HIHQGDQWVDQG

   WKHLUFRFRQVSLUDWRUVEDUNLQJDQGJUXQWLQJORXGO\PDNLQJVRXQGVWKDWUHVRQDWHGIRUEORFNV

   'HIHQGDQWV&DQWZHOO.HVVOHU5D\DQGRWKHUFRFRQVSLUDWRUVZHUHLVVXLQJRUGHUVWRWKHRWKHU

   ZKLWHVXSUHPDFLVWVDQGQHR1D]LVWHOOLQJWKHPWRJHWLQVSHFLILFIRUPDWLRQVDQGDVVLJQLQJ

   SHRSOHHLWKHUWRPDUFKZLWKDWRUFKRURQWKHVLGHDV³VHFXULW\´

             'HIHQGDQWVDQGWKHLUFRFRQVSLUDWRUVILOOHGWKHLUWLNLWRUFKHVZLWKIXHOIRUPHGD

   ORQJFROXPQDQGOLWWKHIODPHV7KH\WKHQVWDUWHGPDUFKLQJWZRE\WZRIURP1DPHOHVV)LHOGWR

   WKH5RWXQGDDQGGRZQWRWKH-HIIHUVRQ6WDWXH'HIHQGDQWVDQGFRFRQVSLUDWRUVGHOLEHUDWHO\WRRN

   DFLUFXLWRXVURXWHWKDWLQFOXGHGPDUFKLQJWKURXJKVWXGHQWKRXVLQJRQWKH/DZQZKLFK3ODLQWLII

   6LQHVREVHUYHGDQGZKLFKZDVLQWHQGHGWRWKUHDWHQLQWLPLGDWHDQGKDUDVVDVPDQ\E\VWDQGHUV

   DVSRVVLEOH

             'HIHQGDQWVPDUFKHGLQDQRUJDQL]HGFRRUGLQDWHGIDVKLRQ2UJDQL]HUVLQFOXGLQJ

   'HIHQGDQW&DQWZHOOZRUHHDUSLHFHVFDUULHGUDGLRVDQGVKRXWHGVSHFLILFRUGHUVDWWKHPDUFKHUV

   7KH\VKRXWHGWRNHHSSDFHDYRLGJDSVVWD\LQOLQH³WZRE\WZR´DQGPDUFKDORQJVLGHD

   ³VHFXULW\JXDUG´'HIHQGDQW,QYLFWXVVDLGLWZDVD³WLJKWRSHUDWLRQ´DQGLQKLVOLYHYLGHRIHHG

   IUHTXHQWO\HQWKXVHG³KLJK7´PHDQLQJKLJKWHVWRVWHURQH

             'HIHQGDQW&DQWZHOOPDUFKHGRQWKHRXWVLGHRIWKHFROXPQDORQJZLWKRWKHU

   ³JXDUGV´ZKRZHUHVHOHFWHGIRUWKHLUZLOOLQJQHVVWR³JHWSK\VLFDO´ZLWKFRXQWHUSURWHVWRUV

             3ODLQWLIIV6LQHVDQG5RPHURKHDUGWKHPDUFKHUVFKDQWLQJVORJDQVFKRVHQIRUWKHLU

   LQWLPLGDWLQJDQGUDFLDOO\KDUDVVLQJHIIHFW7KHVHVORJDQVLQFOXGHG³<RXZLOOQRWUHSODFHXV´

   ³-HZVZLOOQRWUHSODFHXV´³%ORRGDQGVRLO´³:KLWHOLYHVPDWWHU´DQG³7KLVLVRXUWRZQQRZ´

   5RPHURDOVRKHDUGWKHPDUFKHUVFKDQW³JREDFNWRZKHUH\RXFDPHIURP´DQDSSDUHQWUHIHUHQFH

   WR5RPHUR¶V+LVSDQLFKHULWDJH

                                                    
                                                     
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 53 of 112 Pageid#: 865
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 70 of 128 Pageid#:
                                    1335



             7KHPDUFKHUVDOVREDUNHGOLNHGRJVDQGSHUIRUPHG1D]LVDOXWHV$JDLQWKHVH

   DFWLRQVZHUHLQWHQWLRQDOO\FKRVHQIRUWKHLUUDFLDOO\WKUHDWHQLQJLQWLPLGDWLQJDQGKDUDVVLQJHIIHFW

             'HIHQGDQWVLQWHQGHGWRVHQGDFOHDUPHVVDJHWKURXJKWKHWRUFKSDUDGH-HZLVK

   SHRSOHEODFNSHRSOHDQGWKHLUDOOLHVVKRXOGEHDIUDLGIRUWKHLUVDIHW\OLYHOLKRRGVDQGOLYHV

                    7KH$WWDFNDWWKH5RWXQGD

             7KHWRUFKPDUFKHYHQWXDOO\UHDFKHGWKHVWHSVRQWKHIDUVLGHRIWKH5RWXQGD

   +XQGUHGVRIQHR1D]LVDQGZKLWHVXSUHPDFLVWVLQFOXGLQJ'HIHQGDQWV.HVVOHUDQG6SHQFHU

   FKDUJHGWRZDUGDVPDOOJURXSRIIHZHUWKDQSHRSOHPRVWO\VWXGHQWVDQGFRPPXQLW\

   PHPEHUVLQFOXGLQJ3ODLQWLIIV-RKQ'RHDQG5RPHURZKRKDGORFNHGDUPVDURXQGWKHVWDWXHRI

   7KRPDV-HIIHUVRQ

             $V'HIHQGDQWVDQGWKHLUFRFRQVSLUDWRUVUXVKHGGRZQWKHVWHSVWKDWVXUURXQGWKH

   5RWXQGDDQGVWUHDPHGWRZDUGWKH-HIIHUVRQVWDWXHWKH\FRQWLQXHGWRVKRXW³%ORRGDQGVRLO´

   ³-HZVZLOOQRWUHSODFHXV´DQG³<RXZLOOQRWUHSODFHXV´DQGWREDUNOLNHGRJV7KH\DOVRPDGH

   PRQNH\QRLVHVDWWKHEODFNSURWHVWHUV3ODLQWLII-RKQ'RHRQHRIWKHIHZ$IULFDQ$PHULFDQPHQ

   SUHVHQWZDVWHUULILHGDQGIHDUHGIRUKLVOLIH3ODLQWLII5RPHURRQHRIWKHIHZ+LVSDQLF

   $PHULFDQVSUHVHQWKDGQHYHUEHHQPRUHDIUDLGLQKHUHQWLUHOLIH

             $VWKH\UHDFKHGWKHVWDWXH'HIHQGDQWVDQGFRFRQVSLUDWRUVVWRRGVKRXOGHUWR

   VKRXOGHUDQGHQFLUFOHGWKHVWXGHQWVWRWUDSWKHP6HHLQJWKHPREVXUURXQGWKHVWXGHQWV3ODLQWLII

   0DJLOOZKRKDGIROORZHGWKHZKLWHVXSUHPDFLVWVDQGZDVZDUQLQJRWKHUVWRVWHHUFOHDUUDQ

   WKURXJKWKHFURZGDQGORFNHGDUPVZLWKWKHVPDOOJURXSZKLFKLQFOXGHG3ODLQWLIIV-RKQ'RHDQG

   5RPHUR2QHFRFRQVSLUDWRU\HOOHG³ZHQHHGVRPHPRUHSHRSOHWRILOOLQWKLVZD\WREORFN

   WKHVHSHRSOHRII´$IWHUWKHIDFWRQHSURWHVWRUWZHHWHG³7KH\VXUURXQGHGXVDWWKHVWDWXH7KH\

   ZRXOGQ¶WOHWXVRXW´'HIHQGDQW6SHQFHUUHWZHHWHGWKLVDGGLQJ³)DFWFKHFNWUXH´

                                                     
                                                      
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 54 of 112 Pageid#: 866
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 71 of 128 Pageid#:
                                    1336



             2QHFRFRQVSLUDWRURQ'HIHQGDQW9DQJXDUG$PHULFD¶V6RXWKHUQ)URQW'LVFRUG

   VHUYHUSRVWHGDWZHHWIURP+DWHZDWFKVD\LQJ³$QWLIDVFLVWVDUHVXUURXQGHGE\KXQGUHGVRI

   IDVFLVWVDW-HIIHUVRQVWDWXH1RSROLFH´$QRWKHUUHSOLHG³'2,77,0(723+<6,&$//<

   5(029(7+(0´

             'HIHQGDQWVDQGFRFRQVSLUDWRUVEHJDQWRNLFNDQGSXQFKWKHSURWHVWHUVDURXQGWKH

   VWDWXHXVLQJWKHLUWRUFKHVDVZHDSRQVDQGWREHDWLQGLYLGXDOVRQWRWKHJURXQG'HIHQGDQW5D\

   FODLPHGWKDWWKHJURXSRIZKLWHVXSUHPDFLVWV³ZHQWWKURXJK>WKHSURWHVWRUV@OLNHVKLWWKURXJKD

   JRRVH´

             )URPWKHFURZG'HIHQGDQWVFRFRQVSLUDWRUVDQGRWKHUVWKUHZDQXQLGHQWLILHG

   IOXLGDWWKHSHDFHIXOSURWHVWHUVDURXQGWKHVWDWXHLQFOXGLQJRQ3ODLQWLIIV0DJLOO-RKQ'RHDQG

   5RPHUR/RRNLQJGRZQDWWKHIOXLGRQWKHLUFORWKLQJZKLFKWKH\IHDUHGZDVIXHORURWKHU

   IODPPDEOHOLTXLGDQGWKHKXQGUHGVRIOLWWRUFKHVDURXQGWKHP0DJLOODQG-RKQ'RHEHOLHYHG

   WKDWWKH\PLJKWEHNLOOHG&R&RQVSLUDWRUVDQGRWKHUVWKHQWKUHZWKHLUOLWWRUFKHVWKURXJKWKHDLU

   DLPHGDQGGLUHFWHGDWPDQ\RIWKHSURWHVWHUVDURXQGWKHVWDWXH$WRQHSRLQW'HIHQGDQW5D\

   VKRXWHG³7KHKHDWKHUHLVQRWKLQJFRPSDUHGWRZKDW\RX¶UHJRLQJWRJHWLQWKHRYHQV´

             3ODLQWLII6LQHVZLWQHVVHGFRFRQVSLUDWRUVWKURZLQJIXHODQGWLNLWRUFKHVDWWKH

   SHDFHIXOSURWHVWRUVDURXQGWKHVWDWXWH

             3ODLQWLII5RPHURZLWQHVVHGFRFRQVSLUDWRUVUHPRYLQJWKHLUKHOPHWVDQGVZLQJLQJ

   WKHPDWSHDFHIXOSURWHVWRUV5RPHURZDVDOVRVSLWRQE\FRFRQVSLUDWRUV

             'HIHQGDQWVDQGFRFRQVSLUDWRUVLQFOXGLQJ'HIHQGDQW&DQWZHOODWWDFNHGWKH

   SURWHVWRUVZLWKPDFH7KH'DLO\6WRUPHULQFOXGHGWKHEHORZSKRWRRI&DQWZHOOVSUD\LQJD

   SURWHVWRULQWKHH\HVLQLWVOLYHIHHGZLWKWKHFDSWLRQ³PLJKWEHWKHJUHDWHVWSKRWR,¶YHHYHU



                                                     
                                                      
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 55 of 112 Pageid#: 867
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 72 of 128 Pageid#:
                                    1337



   VHHQ´7KHVDPHSKRWRZDVUHWZHHWHGE\'HIHQGDQW0RVOH\XQGHUDFDSWLRQ³+HSURWHFW+H

   DWDFN%XWPRVWLPSRUWDQWO\KHJRW\RXUEDFN´




                                                                                             

             'XHWR'HIHQGDQWV¶FRQGXFWDQGFRQVLVWHQWZLWKWKHLULQWHQWLRQWRWHUURUL]H

   3ODLQWLII-RKQ'RHIHDUHGWKDWKHZDVLQLPPLQHQWGDQJHU(QFLUFOHGE\'HIHQGDQWVDQGFR

   FRQVSLUDWRUV-RKQ'RHIHOWWUDSSHGDQGGLGQRWEHOLHYHWKDWKHFRXOGHVFDSHVDIHO\+HNQHZWKDW

   DVDQ$IULFDQ$PHULFDQPDQLIKHKDGWULHGWRHVFDSHEHIRUHWKHJURXSGLVSHUVHGKHZRXOGKDYH

   EHHQDWWDFNHG)RUDSSUR[LPDWHO\WHQPLQXWHVKHUHPDLQHGLQSODFHDQGZKLOHFRQILQHGZLWKLQ

   WKHFLUFOHRI'HIHQGDQWVDQGFRFRQVSLUDWRUVZDVVSUD\HGZLWKPDFH

             )HDULQJIRUWKHLUOLYHV3ODLQWLIIV-RKQ'RH5RPHURDQGWKHRWKHUSURWHVWHUV

   VWUXJJOHGWRHVFDSHWKHPRE2QFHDZD\IURPWKHPRE5RPHURDWWHPSWHGWRZDVKRIIWKHPDFH

   WKDWKDGEHHQVSUD\HGLQKHUH\HVDQGDOORYHUKHUVKRXOGHUVE\'HIHQGDQWVDQGFRFRQVSLUDWRUV

   $IWHUWKHWUDXPDRIWKHWRUFKOLJKWUDOO\5RPHURKDGWURXEOHVOHHSLQJWKDWQLJKW

                                                    
                                                     
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 56 of 112 Pageid#: 868
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 73 of 128 Pageid#:
                                    1338



             'HIHQGDQWVDQGWKHLUFRFRQVSLUDWRUVFOLPEHGWRWKHWRSRIWKH7KRPDV-HIIHUVRQ

   VWDWXHDQGZDYHGWKHLUWRUFKHVKLJKLQWKHDLU\HOOLQJ³+DLO6SHQFHU+DLOYLFWRU\´'HIHQGDQW

   6SHQFHUVSRNHEULHIO\WRWKHFURZGVD\LQJ³:HRZQWKHVHVWUHHWV:HRFFXS\WKLVJURXQG´

   +HWROGWKHFURZGWKDWWKH\ZHUH³ULVNLQJWKHLUOLYHV´IRUWKHLUIXWXUH7KLVZDVFRQVLVWHQWZLWK

   WKHXQODZIXOSODQGHYHORSHGE\'HIHQGDQWVWKURXJKWKHLUFRQVSLUDWRULDODFWVLQWKHZHHNVDQG

   PRQWKVSUHFHGLQJWKHVHHYHQWVDQGDVRSHUDWLRQDOL]HGDQGPRGLILHGE\'HIHQGDQWVLQUHVSRQVH

   WRGHYHORSPHQWVRQWKHJURXQG

             7KHVHDFWVRIYLROHQFHZHUHQRWLVRODWHGRUXQSODQQHGLQFLGHQWV7KHWRUFKUDOO\

   ZDVSODQQHGZLWKWKHVSHFLILFLQWHQWRIHQJDJLQJLQUDFLDOO\PRWLYDWHGYLROHQFHWKUHDWV

   LQWLPLGDWLRQDQGKDUDVVPHQW7KHDWWDFNVXSRQWKHVWXGHQWVZHUHFRRUGLQDWHGERWKLQDGYDQFH

   DQGRQWKHGD\WKDWWKH\RFFXUUHG'HIHQGDQWVDQGFRFRQVSLUDWRUVLQWHQWLRQDOO\IRUPHGDFLUFOH

   WUDSSLQJWKHVWXGHQWVDQGHLWKHUGLUHFWO\SDUWLFLSDWHGLQWKHHQVXLQJYLROHQFHRUFRQWLQXHGWR

   LQFLWHLW²LQFOXGLQJWKURXJKWKHFKDQWVGHVFULEHGDERYH²DVWKHYLROHQFHZDVRFFXUULQJ

                    6W3DXO¶V0HPRULDO&KXUFK

             'XULQJWKHDWWDFNDWWKH5RWXQGDKXQGUHGVRISHRSOHZHUHDFURVVWKHVWUHHWDW6W

   3DXO¶V&KXUFKOLVWHQLQJWRFLYLOULJKWVDQGUHOLJLRXVOHDGHUVVSHDNRISHDFHDQGHTXDOLW\$WOHDVW

   RQHZKLWHVXSUHPDFLVW'HIHQGDQWV¶FRFRQVSLUDWRUZDVZLWKLQWKHFKXUFKOLYHVWUHDPLQJWKH

   LQWHUIDLWKVHUYLFHWRKLVIROORZHUV

             6RPHRIWKHLQGLYLGXDOVZLWKLQWKHFKXUFKLQFOXGLQJ3ODLQWLII:LVSHOZH\DORQJ

   ZLWKSHRSOHZKRKDGYROXQWHHUHGWRVHUYHLQDVHFXULW\UROHRXWVLGHWKHFKXUFKFRXOGVHHDQG

   KHDUWKHPREFKDUJLQJWKURXJKWKH5RWXQGDFKDQWLQJDQGZLHOGLQJWRUFKHV

             $IWHUVHHLQJWKHPREVXUURXQGDQGDWWDFNWKHSHDFHIXOSURWHVWRUVDWWKH

   5RWXQGD3ODLQWLII:LVSHOZH\DQGRWKHUVZHUHUHDVRQDEO\DIUDLGWKDWWKHPREZRXOGFRPH

                                                    
                                                     
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 57 of 112 Pageid#: 869
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 74 of 128 Pageid#:
                                    1339



   WRZDUGVWKHFKXUFKWRFDXVHYLROHQFHWRWKHEXLOGLQJDQGWKHLQGLYLGXDOVLQVLGHSDUWLFXODUO\JLYHQ

   WKHUDFLDODQGUHOLJLRXVPDNHXSRIWKHDVVHPEOHGJURXSDQGWKHIDFWWKDW'HIHQGDQW.HVVOHUKDG

   VSHFLILFDOO\WDUJHWHG&RQJUHJDWHLQDGYDQFHIRUKDUDVVPHQWDQGLQWLPLGDWLRQ

             $WDURXQGSPZKHQWKHVHUYLFHDW6W3DXO¶VHQGHGWKHRUJDQL]HUVDVNHG

   HYHU\RQHLQDWWHQGDQFHWROHDYHLQJURXSVWKURXJKWKHEDFNGRRUVWRDYRLGWKHQHR1D]LVDQG

   ZKLWHVXSUHPDFLVWV+RZHYHUDIWHUOHDUQLQJPRUHGHWDLOVRIWKHYLROHQFHRFFXUULQJDWWKH

   5RWXQGD3ODLQWLII:LVSHOZH\UHDVRQDEO\DSSUHKHQGHGWKDWIRUFHZRXOGEHXVHGDJDLQVWWKRVH

   VWLOOZLWKLQWKHFKXUFKLIWKH\ZHQWRXWVLGH7KHFKXUFKZDVILOOHGZLWKFKLOGUHQDQGHOGHUO\

   LQGLYLGXDOVZKRZHUHSDUWLFXODUO\YXOQHUDEOHWRDQ\YLROHQFHWKDWFRXOGRFFXU$FFRUGLQJO\D

   IHZPLQXWHVODWHUHYHU\RQHDW6W3DXO¶VZDVDVNHGWRUHWXUQWRWKHLUVHDWV7KH\UHPDLQHGLQWKH

   FKXUFKIRUQHDUO\DQKRXUDIWHUWKHVHUYLFHZDVVXSSRVHGWRHQG

             $IWHUWKHFKXUFKUHRSHQHGLWVGRRUV3ODLQWLII:LVSHOZH\GURYHVRPHRIKLV

   IHOORZFOHUJ\EDFNWRWKHLUKRWHOVWRPDNHVXUHWKH\ZHUHVDIH)URPKLVFDU:LVSHOZH\VDZFR

   FRQVSLUDWRUVFDUU\LQJEDVHEDOOEDWVDQGWRUFKHV²FDUULHGIRUWKHSXUSRVHRIWKUHDWHQLQJ

   LQWLPLGDWLQJDQGKDUDVVLQJUHVLGHQWV

             'LUHFWO\RXWVLGHRIWKH*UDGXDWH+RWHO3ODLQWLII:LVSHOZH\VDZ'HIHQGDQW

   $XJXVW,QYLFWXVKDUDVVDQGLQWLPLGDWHDIULHQG,QYLFWXVWKHQZDONHGWRZDUGV:LVSHOZH\ZKR

   ZDVZHDULQJDFROODUXQWLOWKH\ZHUHPHUHLQFKHVDSDUW,QYLFWXVNHSWPRYLQJIRUZDUGHYHQDV

   :LVSHOZH\SXOOHGEDFN2QFHKHZDVGLUHFWO\IDFHWRIDFHZLWK:LVSHOZH\,QYLFWXVEHJDQ

   GHPDQGLQJLQDFKDOOHQJLQJDQGKLJKO\DJJUHVVLYHWRQHWKDW:LVSHOZH\UHYHDOZKDWFKXUFKKH

   EHORQJVWR'HIHQGDQW$XJXVWXV,QYLFWXVWKHQDVNHG³:KDWWKHKHOODUH\RXGRLQJ´DQG

   FRQWLQXHGKRXQGLQJ:LVSHOZH\WRVWDWHKLVFKXUFKGHQRPLQDWLRQ



                                                    
                                                     
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 58 of 112 Pageid#: 870
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 75 of 128 Pageid#:
                                    1340



                    'HIHQGDQWV&HOHEUDWHGWKH7RUFK3DUDGHDVDQ$GYHUWLVHPHQWIRUWKH³8QLWHWKH
                      5LJKW´5DOO\WKH)ROORZLQJ'D\

             'DYLG'XNHWKHIRUPHU*UDQG:L]DUGRIWKH.X.OX[.ODQDQGFRFRQVSLUDWRU

   SRVWHGWKHIROORZLQJ




                                                                                         

             &RFRQVSLUDWRU0F/DUHQSRVWHGDSKRWRRIWKHPDUFKDQGWZHHWHG³:KLWH

   SHRSOHVQHYHUDJUHHGWREHFRPHPLQRULWLHVLQWKHLURZQODQGVLQQXPEHUVDQGVSLULW´'HIHQGDQW

   .HVVOHUWZHHWHGDSLFWXUHRIWKHWRUFKOLJKWPDUFKHUVVXUURXQGLQJWKHSURWHVWRUVDWWKHVWDWXHDQG

   ZURWH³,QFUHGLEOHPRPHQWIRUZKLWHSHRSOHZKR¶YHKDGLWXSWRKHUH DUHQ¶WJRLQJWRWDNHLW

   DQ\PRUH7RPRUURZZH8QLWH7KH5LJKW&KDUORWWHVYLOOH´6SHQFHUUHWZHHWHGWKDWWZHHW




                                                     
                                                      
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 59 of 112 Pageid#: 871
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 76 of 128 Pageid#:
                                    1341




                                                                                             

             &RFRQVSLUDWRU7KRPDV5\DQ5RXVVHDXDOHDGHURI'HIHQGDQW9DQJXDUG

   $PHULFDNHSWKLVFRFRQVSLUDWRUVLQIRUPHGRQWKH6RXWKHUQ)URQW'LVFRUGVHUYHUSRVWLQJ³$OO

   9$PHPEHUVVDIHDQGDFFRXQWHGIRU´ZKLOHDQRWKHUFRFRQVSLUDWRUZURWH³,KDGDORWRIIXQ

   WRQLJKW&DQ¶WZDLWIRUWKHELJHYHQWWRPRUURZ´

             'HIHQGDQW,QYLFWXVWROGZDWFKHUVRIKLVOLYHVWUHDPWRFRPHRQ6DWXUGD\WRWKH

   PRVWLPSRUWDQW³UDOO\´RIWKH\HDU$QWLFLSDWLQJDQGVWUDWHJL]LQJYLROHQFH'HIHQGDQW$QJOLQ

   ZURWHRQKLV'DLO\6WRUPHUZHEVLWHWKDWSHRSOHVKRXOG³EHDW/HH3DUNE\QRRQSUHIHUDEO\E\

   ´$OWKRXJKKHZRXOGQ¶WEHWKHUH$QJOLQVDLGWKDWKHKDGJLYHQ'HIHQGDQW5D\ZRUGVWR

   UHOD\WRWKHFURZG+HWROGUHDGHUV³0DNHVXUH\RX¶UHZLWKDFUHZ'RQ¶WSDUNDORQHGRQ¶W

   ZDONWR\RXUFDUDORQH,I\RXZDQQDVWD\XSDOOQLJKWZLWK6WRUPHUVRUDUUDQJHWRWUDYHOWR

   WKHSDUNWRJHWKHUWRPRUURZJHWLQWKLVWKUHDGDQGVWDUWVHQGLQJSHRSOH30V´+HVLJQHGRIIIRU

   WKHHYHQLQJVD\LQJ³>Z@HDUHRQWKHYHUJHRIEUHDNLQJWKURXJKLQWRDZKROHRWKHUUHDOP´


                                                    
                                                      
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 60 of 112 Pageid#: 872
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 77 of 128 Pageid#:
                                    1342



   %      6DWXUGD\$XJXVW

                    'HIHQGDQWV,QWHQWLRQDOO\3ODQQHG$9LROHQW&RQIURQWDWLRQ:LWK&RXQWHU
                      3URWHVWHUV

             2Q$XJXVW'HIHQGDQWVWKHLUFRFRQVSLUDWRUVDQGRWKHUVDFWLQJDWWKHLU

   GLUHFWLRQH[HFXWHGWKHLUSODQWRFDUU\RXWUDFLDOUHOLJLRXVDQGHWKQLFYLROHQFHLQWLPLGDWLRQDQG

   KDUDVVPHQW'HIHQGDQWV.HVVOHU&DQWZHOO0RVOH\+HLPEDFK+LOO,QYLFWXV5D\6SHQFHU

   'DPLJR3HLQRYLFK)LHOGV3DUURWW7XEEVWKH1DWLRQDOLVW)URQW/HDJXHRIWKH6RXWK160

   7:39DQJXDUGWKH(DVW&RDVW.QLJKWVWKH/R\DO:KLWH.QLJKWV)2$.DQGKXQGUHGVRI

   6WRUPHUV PDQ\RIWKHPIURP6WRUPHU%RRN&OXEV DOOSDUWLFLSDWHGLQWKHYLROHQWHYHQWVRIWKH

   GD\WRJHWKHUZLWKFRFRQVSLUDWRUVLQFOXGLQJ'XNHDQGWKH3URXG%R\V

             'HIHQGDQWVDQGFRFRQVSLUDWRUVSODQQHGWRDUULYHHDUO\DQGDQWLFLSDWHGDQG

   HQFRXUDJHGWKHXVHRIYLROHQFHWRDVVLVWWKHUDOO\$VRQHFRFRQVSLUDWRUH[SODLQHG³0HWKH

   UHVWRI7:3DQG/6>/HDJXHRIWKH6RXWK@KDYHEHHQWRPRUHWKDQRQHURGHR$QGVKLW160

   ZLOOEHWKHUHHDUO\WRR7KRVHJX\VDUHQXWV,QDJRRGZD\´'HIHQGDQW.HVVOHUSURPLVHGWKDW

   WKHUHZRXOGEHKXQGUHGVRIPHPEHUVRI7:3DQG/HDJXHRIWKH6RXWKDWWKHSDUNDVHDUO\DV

   DP

             'HIHQGDQWV0RVOH\.HVVOHUDQGFRFRQVSLUDWRUVH[KRUWHGUDOO\JRHUVWRDUULYH

   EHIRUHWKHSDUNRSHQHGWRIRUP³DZKLWHEORFEDUULHURUVTXDUHDURXQGWKHHQWLUHVWDWXHSRGLXP

   JLYHQWKDWWKH\NQRZZH¶UHFRPLQJZH¶OODOOQHHGDVPDQ\SHRSOHDVSRVVLEOHWREHWKHUH

   ULJKWZKHQWKHSDUNRSHQV´

             'HIHQGDQW.HVVOHUWROG'LVFRUGSDUWLFLSDQWV³(9(5<21(QHHGVWRJHWWRWKH

   SDUNDVHDUO\DVSRVVLEOHDQGGHIHQGRXUWHUULWRU\´+HVXJJHVWHGWKDWFDPSLQJRXWDWWKH

   PRQXPHQWWKHQLJKWEHIRUHZRXOGJLYHWKHP³>W@KHPRVWH[WUHPHO\SUHSDUHGSRVLWLRQ´,QWKHVH



                                                    
                                                      
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 61 of 112 Pageid#: 873
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 78 of 128 Pageid#:
                                    1343



   UHPDUNV.HVVOHUUHIHUUHGWR DQGDFWLYHO\HQFRXUDJHG SUHSDUDWLRQIRUYLROHQFHDJDLQVWUDFLDODQG

   UHOLJLRXVPLQRULWLHVDQGDQ\RQHZKRVXSSRUWHGWKHLUFDXVH

              $FRFRQVSLUDWRUDVNHGWKH'LVFRUGJURXS³6RDUHZHJRLQJWRRFFXS\YHU\

   HDUO\"2UWU\DQGIRUFHWKLVFRPPLHVFXPRXWDIWHUWKHIDFW",¶PJRRGZLWKHLWKHU´$QRWKHU

   SDUWLFLSDQWUHVSRQGHG³:HZLOOEHILQHDVORQJDVZHKDYHERGLHVWKHUHDQGZLOOLQJWRUHPRYH

   ZKRHYHULVLQRXUZD\9DQJXDUGLVIDEULFDWLQJDGGLWLRQDOVKLHOGV:HVKRXOGKDYHDJRRG

   DPRXQWEHWZHHQRUJDQL]DWLRQV:HMXVWQHHGWRPDNHVXUHZHKDYHERGLHVWKHUHUHDG\WRURFN´

              &RQVLVWHQWZLWKWKHFRQVSLUDF\¶VHIIRUWWRRUJDQL]HDQGPD[LPL]HYLROHQWDFWVD

   FRFRQVSLUDWRUDQGPRGHUDWRURQ'LVFRUGWROGSDUWLFLSDQWV³ZH¶OOEHSXWWLQJRXWDYLGHRIRUEDVLF

   IRUPDWLRQUROHVDQGFRPPDQGVWRDOORIWKHJURXSOHDGHUVVKRUWO\´DQGSRVWHGD³6KLHOGV 

   6KLHOG7DFWLFV3ULPHU´PDGHE\WKH³'HWURLW5LJKW:LQJV´DVZHOODVDYLGHRLOOXVWUDWLQJVKLHOG

   ILJKWLQJWHFKQLTXHVWREHVWXGLHGE\SDUWLFLSDQWV'HIHQGDQW0RVOH\VDLG³,UXQWKLV>WKH8QLWH

   WKH5LJKW³UDOO\´@DVDPLOLWDU\RSHUDWLRQ,ZDVLQWKHDUP\´

              'HIHQGDQWVWRRNQRVWHSVWRSUHYHQWRUDLGLQSUHYHQWLQJWKHLQWLPLGDWLQJ

   WKUHDWHQLQJDQGRWKHUZLVHLOOHJDOFRQGXFWWKH\NQHZZDVEHLQJSODQQHGDQGFRRUGLQDWHG

                    7KH(YHQWV2Q$XJXVW:HUH,QWHQWLRQDOO\9LROHQW,Q$FFRUGDQFHZLWK
                      'HIHQGDQWV¶3ODQQLQJ

              $FFRUGLQJWRIRUPHU&KDUORWWHVYLOOH3ROLFH&KLHI$O67KRPDV-U'HIHQGDQWV

   UHIXVHGWRIROORZDSODQWKDWKDGEHHQZRUNHGRXWWRNHHSWKHPVHSDUDWHGIURPWKHFRXQWHU

   SURWHVWHUV)RUH[DPSOHLQVWHDGRIHQWHULQJWKHSDUNIURPRQHHQWUDQFHWKH\FDPHLQIURPDOO

   VLGHV

              0RVWRIWKH'HIHQGDQWJURXSVDUULYHGLQPLOLWDU\IRUPDWLRQVDUPHGOLNH

   SDUDPLOLWDU\IRUFHV²FDUU\LQJDPRQJRWKHUWKLQJVJXQVVKLHOGVSURWHFWLYHJHDUIODJVDQGURGV

   7KH\VKRXWHGFRPPDQGVDWWKHLUJURXSVWR³PRYHIRUZDUG´RU³UHWUHDW´*RYHUQRU7HUU\
                                                      
                                                       
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 62 of 112 Pageid#: 874
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 79 of 128 Pageid#:
                                    1344



   0F$XOLIIHVWDWHGWKDW³SHUFHQWRIWKHSHRSOHKHUHKDGVHPLDXWRPDWLFZHDSRQV\RXVDZWKH

   PLOLWLDZDONLQJGRZQWKHVWUHHW\RXZRXOGKDYHWKRXJKWWKH\ZHUHDQDUP\´

             )RXUPHPEHUVRI'HIHQGDQWV1DWLRQDOLVW)URQW/HDJXHRIWKH6RXWK1607:3

   DQG9DQJXDUG$PHULFDPHWDWDSUHVHWORFDWLRQLQRUGHUWRPDUFKWR(PDQFLSDWLRQ3DUNLQ

   IRUPDWLRQ

             'HIHQGDQW9DQJXDUG$PHULFDPDUFKHGWRWKH3DUNILUVWFKDQWLQJ³%ORRGDQG

   VRLO´0HPEHUVRIWKHJURXSZHUHLQXQLIRUPVDVLQVWUXFWHGGUHVVHGLQKHOPHWVZKLWHRUEODFN

   SRORVDQGNKDNLVDQGZLHOGHGPDWFKLQJVKLHOGVDQGIODJV'HIHQGDQW)LHOGV ZKRZDVZHDULQJ

   WKHXQLIRUPZKLWHSRORNKDNLVDQGFDUU\LQJDEODFNVKLHOGZLWKWKH9DQJXDUGORJR PDUFKHG

   ZLWK9DQJXDUG$PHULFD

             'HIHQGDQW/HDJXHRIWKH6RXWKOHGE\GHIHQGDQW0LFKDHO+LOOIROORZHG/LNH

   'HIHQGDQW9DQJXDUG$PHULFDWKH\PDUFKHGZLWKFRRUGLQDWHGVKLHOGVDQGIODJVDQGFDUULHGURGV

   DQGRWKHUZHDSRQV




                                                  
                                                   
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 63 of 112 Pageid#: 875
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 80 of 128 Pageid#:
                                    1345




                                                                                                 

             2QHPHPEHURI'HIHQGDQW/HDJXHRIWKH6RXWKH[SODLQHGWKDWKHDWWHQGHGWKH

   8QLWHWKH5LJKW³UDOO\´EHFDXVH³,LQWHQGWRVWDQGIRUWKH6RXWKDQGGLHIRULWLIQHHGEH7KH\

   ZLOOQRWUHSODFHXV´

             'HIHQGDQW7:3PDUFKHGEHKLQG'HIHQGDQW/HDJXHRIWKH6RXWKDQG'HIHQGDQW

   3DUURWWPDUFKHGZLWK7:3'HIHQGDQW+HLPEDFKJXLGHGWKHJURXSZHDULQJDEODFNFRPEDW

   KHOPHWZLWKDERG\JXDUGFORVHRQKLVKHHOV

             $VWKH1DWLRQDOLVW)URQWJURXSVDQGRWKHU'HIHQGDQWVDQGFRFRQVSLUDWRUV

   PDUFKHGWRZDUGV(PDQFLSDWLRQ3DUNWKH\VKRXWHGWKUHDWHQLQJKDUDVVLQJDQGLQWLPLGDWLQJ

   ODQJXDJHDW&KDUORWWHVYLOOHUHVLGHQWVDQGSURWHVWHUVRQWKHEDVLVRIWKHLUUDFHUHOLJLRQDQG

   HWKQLFLW\RUWKHLUVXSSRUWIRUSHRSOHRIGLIIHUHQWUDFHVUHOLJLRQVDQGHWKQLFLWLHV7KHVHLQFOXGHG




                                                     
                                                      
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 64 of 112 Pageid#: 876
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 81 of 128 Pageid#:
                                    1346



   VWDWHPHQWVOLNH³*HWWKHIXFNRXWRIRXUFRXQWU\ELWFKHV<HDKFRPHXSWRPH&RPHXSWRPH

   ELWFK´

                  0DUFKLQJGRZQ-HIIHUVRQ6WUHHW'HIHQGDQWVDQGFRFRQVSLUDWRUVSDVVHGWKH

   V\QDJRJXHZKHUH3ODLQWLII3HDUFHLVDPHPEHU'XULQJWKH6KDEEDWVHUYLFHVWKUHHFR

   FRQVSLUDWRUVLQXQLIRUPVDQGVHPLDXWRPDWLFULIOHVVWRRGDFURVVIURPWKHWHPSOH$VRWKHUV

   SDUDGHGSDVWWKH\VKRXWHG³7KHUH¶VWKHV\QDJRJXH´IROORZHGE\FKDQWVRI³6LHJ+HLO´DQG

   RWKHUDQWL6HPLWLFODQJXDJH6RPHFDUULHGIODJVZLWKVZDVWLNDVDQGRWKHU1D]LV\PEROV

   'HIHQGDQW5D\LQWHQGLQJWRWKUHDWHQLQWLPLGDWHDQGKDUDVV&KDUORWWHVYLOOH¶V-HZLVKSRSXODWLRQ

   FDUULHGDEDQQHU ODWHUSRVWHGRQ'DLO\6WRUPHU¶VZHEVLWH WKDWUHDG³*DVWKHNLNHVUDFHZDU

   QRZ´'HIHQGDQW5D\DOVRWROGDZRPDQWR³SXWRQDIXFNLQJEXUND´DQGFDOOHGKHUD³VKDULD

   ZKRUH´+HHQGHGE\SURFODLPLQJ³+LWOHUGLGQRWKLQJZURQJ´7KHVHDFWVZHUHIXOO\FRQVLVWHQW

   ZLWKWKHEURDGHUFDPSDLJQRIUDFLDODQGUHOLJLRXVVXSSUHVVLRQDWWKHKHDUWRI'HIHQGDQWV¶

   FRQVSLUDF\

                  /DWHUWKDWGD\LQDWKUHDGZLWK'DLO\6WRUPHUFRFRQVSLUDWRUVVXJJHVWHGPHHWLQJ

   DWSPWR³WRUFKWKRVH-HZLVKPRQVWHUV´$IWHUVHHLQJWKHLUH[FKDQJHWKH&KDUORWWHVYLOOH

   PD\RUPDGHDIUDQWLFDSSHDOWRWKH6HFUHWDU\RI3XEOLF6DIHW\DVNLQJIRUSROLFHSURWHFWLRQDWWKH

   7HPSOH




   
   
     $VPDGHFOHDULQWKH'DLO\6WRUPHU³VW\OHJXLGH´UHIHUHQFHVOLNHWKLVDUHRQO\PHDQWWRVHHPK\SHUEROLFWRWKH
   XQLQLWLDWHG7KH'DLO\6WRUPHULVDZDUHWKDW³>P@RVWSHRSOHDUHQRWFRPIRUWDEOHZLWKPDWHULDOWKDWFRPHVDFURVVDV
   YLWULROLFUDJLQJQRQLURQLFKDWUHG´DQGVR³>W@KHXQGRFWULQDWHGVKRXOGQRWEHDEOHWRWHOOLIZHDUHMRNLQJRUQRW
   7KHUHVKRXOGDOVREHDFRQVFLRXVDZDUHQHVVRIPRFNLQJVWHUHRW\SHVRIKDWHIXOUDFLVWV´%XWDFFRUGLQJWR'HIHQGDQW
   $QGUHZ$QJOLQZKRGUDIWHGWKHVW\OHJXLGH³>W@KLVLVREYLRXVO\DSOR\DQG,DFWXDOO\GRZDQWWRJDVNLNHV´
                                                                  
                                                                   
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 65 of 112 Pageid#: 877
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 82 of 128 Pageid#:
                                    1347




                                                                            

             %\FRQWUDVW3ODLQWLII:LVSHOZH\KDGRUJDQL]HGDDPLQWHUIDLWKSUD\HU

   ³VXQULVH´VHUYLFHWKDWZDVKHOGDWWKHKLVWRULFDO$IULFDQ$PHULFDQ)LUVW%DSWLVW&KXUFKRQ:HVW

   0DLQ6WUHHW

             $IWHUWKHVHUYLFHDQXPEHURIFRPPXQLW\PHPEHUVOHIWWKHFKXUFKWRKROGD

   SHDFHIXOPDUFKIURPWKHQHDUE\-HIIHUVRQ6FKRRO$IULFDQ$PHULFDQ+HULWDJH&HQWHUWR

   0F*XIIH\3DUN2WKHUVLQFOXGLQJ3ODLQWLII:LVSHOZH\VLOHQWO\PDUFKHGZLWKRWKHUFOHUJ\

   PHPEHUVGLUHFWO\IURPWKHVXQULVHVHUYLFHWR(PDQFLSDWLRQ3DUN




                                                   
                                                    
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 66 of 112 Pageid#: 878
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 83 of 128 Pageid#:
                                    1348




                                                                                                  

             :KHQ3ODLQWLII:LVSHOZH\DQGKLVIHOORZFOHUJ\DUULYHGDW(PDQFLSDWLRQ3DUN

   DURXQGDPWKH\ZHUHFRQIURQWHGE\KHDYLO\DUPHGPLOLWLDPHQDQGH[WUHPLVWVPDQ\LQIXOO

   PLOLWDU\DWWLUHZLWKVHPLDXWRPDWLFULIOHVDQGSLVWROV3ODLQWLII:LVSHOZH\DQGRWKHUFOHUJ\

   PHPEHUVORFNHGDUPVDQGNQHOWEHIRUHWKHP

             $VWKH\KDGSODQQHG'HIHQGDQWVDQGWKHLUFRFRQVSLUDWRUVDSSURDFKHG

   (PDQFLSDWLRQ3DUNLQFRRUGLQDWHGZDYHVRISDVVHQJHUYDQV'HIHQGDQW3HLQRYLFKIODQNHGE\

   KLV³VHFXULW\WHDP´DSSURDFKHG(PDQFLSDWLRQ3DUNLQWKH³WKLUGRUWKHIRXUWKZDYH´

             &RQVLVWHQWZLWKWKHLUHODERUDWHSODQQLQJDQGOHVVRQVLQEDWWOHILHOGWDFWLFV

   'HIHQGDQWVDQGWKHLUFRFRQVSLUDWRUVFKDUJHGWKURXJKWKHSHDFHIXOFOHUJ\ZKHQWKH\DUULYHGDW

   WKHSDUN0DQ\RIWKHFOHUJ\ZHUHSXVKHGWRWKHJURXQGDQG3ODLQWLII:LVSHOZH\ZDVNQRFNHG

   LQWRDEXVK$FRFRQVSLUDWRUVWRRGVWDULQJ3ODLQWLII:LVSHOZH\GLUHFWO\LQWKHH\HVDQG

   UHSHDWHGO\VKRXWLQJ³IXFN\RXIDJJRW´DWKLP



                                                     
                                                       
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 67 of 112 Pageid#: 879
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 84 of 128 Pageid#:
                                    1349



             7KHYLROHQFHE\WKH'HIHQGDQWVDWWKHHQWUDQFHWR(PDQFLSDWLRQ3DUNIROORZHGD

   FRQVLVWHQWSDWWHUQDFFRUGLQJWRWKHLUSUHVHWSODQ7KH'HIHQGDQWVZRXOG³XVHVKLHOGVIODJVRU

   ILVWV´WREUHDNWKURXJKWKHEORFNDGHRIFRXQWHUSURWHVWRUVZRXOGVXFFHHGLQHQWHULQJWKHSDUN

   DQGWKHQDQRWKHUZDYHZRXOGDUULYH,QEHWZHHQHDFKZDYHFRXQWHUSURWHVWRUVZRXOGDWWHPSWWR

   UHDVVHPEOHEHIRUHWKHQH[WDUULYHG7KLVSOD\HGRXWDWOHDVWKDOIDGR]HQWLPHV

             $IWHUWKHEHLQJDVVDXOWHG3ODLQWLII:LVSHOZH\DQGRWKHUFOHUJ\ZHUHDIUDLGWKDW

   WKH\FRXOGJHWVHULRXVO\LQMXUHGRUZRXOGVXIIHUDQRWKHUPRUHVHULRXVDWWDFN$VDUHVXOWRI

   'HIHQGDQWV¶DQGWKHLUFRFRQVSLUDWRUV¶DFWLRQVDQGDVWKHYLROHQFHHVFDODWHG3ODLQWLII

   :LVSHOZH\ZDVIRUFHGWRHQGKLVSHDFHIXOSURWHVWDQGOHDYHWKHSDUNZKHUHKHDQGRWKHUVZHUH

   ODZIXOO\VWDQGLQJ

             3ODLQWLII5RPHURH[SHULHQFHGDVLPLODUDWWDFNE\'HIHQGDQWVDQGWKHLUFR

   FRQVSLUDWRUV+DYLQJOLQNHGDUPVZLWKDJURXSRIZRPHQIDFLQJ'HIHQGDQWVDQGFR

   FRQVSLUDWRUVZKRZHUHFODGLQVKLHOGVDQGKHOPHWVRXWVLGH(PDQFLSDWLRQ3DUN5RPHURZDV

   SXVKHGDJDLQVWDSROLFHFDUDVWKH'HIHQGDQWVDQGFRFRQVSLUDWRUVVRXJKWWRPRYHWKURXJK

   5RPHUR¶VJURXS'XULQJWKLVDVVDXOW5RPHURZDVDOVRVSLWRQ

             'HIHQGDQWVEUDJJHGDERXWWKHLUYLROHQFHDIWHUWKHIDFW'HIHQGDQW3DUURWWIRU

   H[DPSOHZURWHDQDFFRXQWRIWKH8QLWHWKH5LJKW³UDOO\´LQ³&DWFKHULQWKH5HLFK0\$FFRXQW

   RIP\([SHULHQFHLQ&KDUORWWHVYLOOH´+HZURWHWKDW'HIHQGDQWV7:3/HDJXHRIWKH6RXWK

   160DQGRWKHU1DWLRQDOLVW)URQWJURXSVMRLQHGWRJHWKHU³WRKHOSFUHDWHWZRVKLHOGZDOOV´IRU

   ³WKHILJKW´+HH[SODLQHG³:KLOHPRVWRIWKH,GHQWLW\(YURSDPHQZHUHRFFXSLHGRQRWKHU

   IURQWVWKH\VHQWDGHWDFKPHQWRIILJKWHUVWRDVVLVWXVDQGWRUHOD\LQWHOOLJHQFHWR-DVRQ.HVVOHU

   DQGRWKHURUJDQL]HUV7KH\RIIHUHGPRUHILJKWHUVEXWZHKDGRXUSRVLWLRQVDPSO\FRYHUHG´+H

   IXUWKHUVDLGLQDQLQWHUYLHZZLWKWKHLos Angeles Times

                                                    
                                                      
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 68 of 112 Pageid#: 880
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 85 of 128 Pageid#:
                                    1350



                      :LWKDIXOOWKURDWHGUHEHO\HOOWKH/HDJXHEURNHWKURXJKWKHZDOO
                      RI GHJHQHUDWHV DQG 7UDG:RUNHU PDQDJHG WR HQWHU WKH /HH 3DUN
                      YHQXHLWVHOIZKLOHWKH\ZHUHODUJHO\VWLOOUHHOLQJ0LFKDHO7XEEVDQ
                      HVSHFLDOO\ LPSRVLQJ /HDJXH RUJDQL]HU WRZHUHG RYHU DQG SXVKHG
                      WKURXJK WKH DQWLID OLNH D 7\UDQQRVDXUXV DPRQJ UDSWRUV DV OHDJXH
                      ILJKWHUVZLWKVKLHOGVSXWWKHLUWUDLQLQJWRZRUN

             'HIHQGDQW+LOOODWHUH[FODLPHGWKDW³0U7XEEVZDVHYHU\ZKHUHWKHFKDRVZDV´




                                                                                                  

             %\DURXQGDPKDYLQJFKDUJHGWKURXJKSURWHVWHUVSXVKLQJDQGVKRYLQJ

   WKHPZLWKWKHLUVKLHOGVDQGURGV'HIHQGDQWV7:3160DQG/HDJXHRIWKH6RXWKOLQHGXS

   LQVLGH(PDQFLSDWLRQ3DUNOHGE\DPRQJRWKHUV'HIHQGDQWV6FKRHS+LOO+HLPEDFKDQG

   3DUURWW'HIHQGDQW3DUURWWH[SODLQHGWKDWWKH\KDG³VWXFNZLWKWKHRULJLQDOSODQWRGHILQHDQG

   VHFXUHWKHHYHQWSHULPHWHU´

             2QFHLQVLGHWKH3DUN'HIHQGDQWV¶UDFLDOUHOLJLRXVDQGHWKQLFDOO\PRWLYDWHG

   YLROHQFHGLGQRWVWRS,WHVFDODWHG

             $VWKH\KDGSODQQHG'HIHQGDQWVXVHGWKHLUVKLHOGVDQGURGVWRSORZWKURXJK

   SHRSOHDQGNQRFNWKHPRYHU7KH\XVHGURGVDQGIODJVWRDVVDXOWSURWHVWHUV


                                                         
                                                          
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 69 of 112 Pageid#: 881
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 86 of 128 Pageid#:
                                    1351



             'HIHQGDQWVDOVRHQFRXUDJHGYLROHQFHE\RWKHUV2YHUWKHFRXUVHRIWKHPRUQLQJ

   'DLO\6WRUPHUWKURXJKDOLYHIHHGPDLQWDLQHGE\'HIHQGDQWV$QJOLQDQG5D\DQGRWKHU'DLO\

   6WRUPHUVWDIIRQWKHJURXQGHQFRXUDJHGIROORZHUVWRRUJDQL]HLQJURXSVDQGGHOLEHUDWHO\LQFLWHG

   WKHPWRHQJDJHLQYLROHQWDFWV$PRQJRWKHUH[KRUWDWLRQVWKH\WROGIROORZHUV³:+,7(

   6+$5,$12:´DQG³:(+$9($1$50<7+,6,67+(%(*,11,1*2)$:$5´

             0HPEHUVRI'HIHQGDQW9DQJXDUG$PHULFDDOVRFRPPXQLFDWHGRYHUWKH6RXWKHUQ

   )URQWVHUYHUVKDULQJOLYHIHHGVWUHDPVDQGHQFRXUDJLQJFRFRQVSLUDWRUVRQWKHJURXQGLQ

   &KDUORWWHVYLOOHWR³-XVWLQFLWHDULRWDOUHDG\´2QHFRFRQVSLUDWRURQWKH$QWLFRP'LVFRUGVHUYHU

   UHSRUWHGWRWKHJURXS³9DQJXDUGVKLHOGVDUHKROGLQJWKHOLQH´

             +DYLQJZLWQHVVHGWKHHYHQWVRI)ULGD\DQGWKHDQWL6HPLWLFFKDQWVRIGHIHQGDQWV

   DQGWKHLUFRFRQVSLUDWRUV3ODLQWLII3HDUFHVWUXJJOHGZLWKZKHWKHUVKHVKRXOGDWWHQGWKHSHDFHIXO

   SURWHVWDQGZKHWKHUVKHVKRXOGLGHQWLI\KHUVHOIDV-HZLVK2QWKHRQHKDQGVKHEHOLHYHGWKDWLW

   ZDVLPSRUWDQWWRSHDFHIXOO\SURWHVWEXWVKHDOVRIHDUHGIRUKHUVDIHW\$VVKHOHIWKHUKRXVHVKH

   PDGHD6WDURI'DYLGRXWRIGXFWWDSHDQGDWWDFKHGLWWRKHUVKLUWZKLFKERUHD+HEUHZOHWWHULQ

   UDLQERZFRORUVWRVKRZKHUVXSSRUWIRUWKH/*%7FRPPXQLW\6KHZHQWWR(PDQFLSDWLRQ3DUN

   WRSHDFHIXOO\SURWHVWWKHQHR1D]LVDQGZKLWHVXSUHPDFLVWSUHVHQFHLQ&KDUORWWHVYLOOH

             2QHRIWKHUDOO\JRHUVDFRFRQVSLUDWRUVDZ3ODLQWLII3HDUFHRQWKHVWUHHW

   SRLQWHGDWKHUDQGVKRXWHG³2KJRRGWKH\DUHPDUNLQJWKHPVHOYHVIRUXVVRLWLVHDV\WRILQG

   WKHP´$WWKH3DUN3HDUFHZDVMRLQHGE\KHUVRQZKRDOVRZRUHD6WDURI'DYLGDQGFDUULHGD

   UDLQERZIODJ

             :KLOH3ODLQWLII3HDUFHZDVVWDQGLQJSHDFHIXOO\RXWVLGHRIWKH3DUNH[SUHVVLQJ

   KHUVROLGDULW\ZLWKRWKHU-HZLVKDQGQRQZKLWHPHPEHUVRIKHUFRPPXQLW\DQRWKHUZKLWH

   VXSUHPDFLVWDQGFRFRQVSLUDWRUWKUHZDQRSHQERWWOHILOOHGZLWKDIRXOOLTXLGDWKHU²DFRPPRQ

                                                     
                                                      
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 70 of 112 Pageid#: 882
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 87 of 128 Pageid#:
                                    1352



   WDFWLFRI'HIHQGDQWVDQGWKHLUFRFRQVSLUDWRUV,QGHHGLQDGYDQFHRIWKHUDOO\FRFRQVSLUDWRUV

   KDGHQFRXUDJHGRWKHUVWR³>S@HHLQEDOORRQVDQGWKURZWKHPDWFRPPXQLVWV,QVHOIGHIHQVH´

   DQGWR³>I@HHOIUHHWRXULQDWHDQGGHIDFDWHRQ\RXUQHDUHVWDQWLIDWHUURULVWIDJJRWSXVV\´7KH

   ERWWOHVWUXFN3HDUFHRQKHUOHJDQGVKHFRXOGVPHOOWKHIRXOOLTXLGRQKHUERG\

             ,QVKRUWRUGHUSHDFHIXOSURWHVWHUVLQFOXGLQJ3ODLQWLIIV:LVSHOZH\DQG3HDUFH

   ZHUHIRUFHGWROHDYHWKHDUHDRI(PDQFLSDWLRQ3DUNDV'HIHQGDQWVDQGFRFRQVSLUDWRUVDWWDFNHG

   SHRSOHZLWKFOXEVVPRNHERPEVDQGSHSSHUVSUD\LQIXOILOOPHQWRIWKHLUSUHPHGLWDWHGVWUDWHJ\

   RILQIOLFWLQJLQMXU\

                    7KH$XWKRULWLHV'HFODUHGWKH5DOO\DQ8QODZIXO$VVHPEO\DQG'HIHQGDQWVDQG
                      &R&RQVSLUDWRUV,QWHQWLRQDOO\6SUHDGWKH9LROHQFH2XWVLGH(PDQFLSDWLRQ3DUN

             %\DPEHIRUHWKHSHUPLWIRUWKH³UDOO\´HYHQEHJDQ&KDUORWWHVYLOOH

   RIILFLDOVGHFODUHGWKHJDWKHULQJLQ(PDQFLSDWLRQ3DUNDQXQODZIXODVVHPEO\GHILQHGXQGHU

   9LUJLQLDODZDV³ZKHQHYHUWKUHHRUPRUHSHUVRQVDVVHPEOHGVKDUHWKHFRPPRQLQWHQWWRDGYDQFH

   VRPHODZIXORUXQODZIXOSXUSRVHE\WKHFRPPLVVLRQRIDQDFWRUDFWVRIXQODZIXOIRUFHRU

   YLROHQFHOLNHO\WRMHRSDUGL]HVHULRXVO\SXEOLFVDIHW\SHDFHRURUGHU´

             $WDP*RYHUQRU0F$XOLIIHGHFODUHGDVWDWHRIHPHUJHQF\VWDWLQJ³,WLV

   QRZFOHDUWKDWSXEOLFVDIHW\FDQQRWEHVDIHJXDUGHGZLWKRXWDGGLWLRQDOSRZHUVDQGWKDWWKH

   PRVWO\RXWRIVWDWHSURWHVWRUVKDYHFRPHWR9LUJLQLDWRHQGDQJHURXUFLWL]HQVDQGSURSHUW\,DP

   GLVJXVWHGE\WKHKDWUHGELJRWU\DQGYLROHQFHWKHVHSURWHVWRUVKDYHEURXJKWWRRXUVWDWHRYHUWKH

   SDVWKRXUV´

             'DLO\6WRUPHUZURWHVKRUWO\WKHUHDIWHU³6RPHRQHLVJHWWLQJJDVVHG/(7¶6

   +23(,7¶6-(:6´

             -DVRQ.HVVOHUDQGRWKHU'HIHQGDQWVGLUHFWHGWKHPREWRPRYHWR0F,QWLUH3DUN

   6RPH'HIHQGDQWVDQGFRFRQVSLUDWRUVORDGHGLQWRZKLWHYDQVDQG'HIHQGDQWV&DQWZHOODQG5D\
                                                     
                                                      
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 71 of 112 Pageid#: 883
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 88 of 128 Pageid#:
                                    1353



   VKDUHGRQHYDQ,QKLVLQWHUYLHZZLWKViceWKDWGD\5D\H[SODLQHG³:H¶UHVKRZLQJWRWKLV

   SDUDVLWLFFODVVRIDQWLZKLWHYHUPLQWKDWWKLVLVRXUFRXQWU\7KLVFRXQWU\ZDVEXLOWE\RXU

   IRUHIDWKHUV,WZDVVXVWDLQHGE\XV,W¶VJRLQJWRUHPDLQRXUFRXQWU\´

             'DLO\6WRUPHUHQFRXUDJHGLWVIROORZHUVWRJRWR0F,QWLUH3DUNDQGDVVHPEOH

   ³EHKLQG´'HIHQGDQWV5D\DQG&DQWZHOODQGLQFLWHGWKHFURZGWRYLROHQFH




                                                                                            

             $PRQJWKRVHZKRIROORZHGWKHLUGLUHFWLRQZDV'HIHQGDQW9DQJXDUG$PHULFD

   'HIHQGDQW6FKRHSDOVRPDUFKHGWR0F,QWLUH3DUNDWWDFNLQJSURWHVWRUVDORQJWKHZD\+H

   H[SODLQHG³,ZDVRIIHUHGDULGHWRVDIHW\DQGGHFOLQHGWROHDYHXQWLOWKHZRPHQDQGRWKHUVZHUH

   VDIHVRZHMXVWPDUFKHGEDFNWKURXJKDQWLID:HZHQWULJKWWKURXJK>DQWLID@OLNHZDUULRUV´

   'HIHQGDQW3DUURWWUHIXVHGWROHDYH(PDQFLSDWLRQ3DUNDQGZDVDUUHVWHGE\WKHSROLFHIRUIDLOLQJ

   WRGLVSHUVH3DUURWWGHVFULEHGKLVGHWHQWLRQDVEHLQJ³DSROLWLFDOSULVRQHUIRUDERXWPLQXWHV´

                                                    
                                                     
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 72 of 112 Pageid#: 884
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 89 of 128 Pageid#:
                                    1354



             %\SP'HIHQGDQWV6SHQFHUDQG3HLQRYLFKDQGWKHLUIROORZHUVKDGPRVWO\

   UHDVVHPEOHGLQ0F,QWLUH3DUN9LROHQFHDJDLQEURNHRXW2QHZRPDQSURWHVWLQJ'HIHQGDQWV¶

   PHVVDJHZDVFKRNHGE\FRFRQVSLUDWRU6WHYHQ%DOFDLWLVZKRZDVZHDULQJDWVKLUWDGYHUWLVLQJD

   ZKLWHQDWLRQDOLVWDQGDQWL6HPLWLFZHEVLWH5HG,FH$VKHJUDEEHGKHUQHFNKHORRNHGDWD

   E\VWDQGHUDQGVDLG³'RQ¶WVDYHKHU´

             'HIHQGDQWV6SHQFHUDQG3HLQRYLFKVSRNHWRWKHLUIROORZHUVDW0F,QWLUH3DUN

   3HLQRYLFKFDOOHGWKHFRXQWHUSURWHVWRUV³VDYDJHV´

             'HIHQGDQWVDW0F,QWLUH3DUNGLVFXVVHGUHWXUQLQJWR(PDQFLSDWLRQ3DUNLQGHILDQFH

   RISROLFHRUGHUV'HIHQGDQW0RVOH\VRXJKWSHRSOHZLWKJXQV³,QHHGVKRRWHUV´KHVDLG³:H¶UH

   JRQQDVHQGSHRSOHZLWKORQJULIOHVEDFNWRWKDWVWDWXH´$FFRUGLQJWRD'HIHQGDQW160

   WZLWWHUDFFRXQW'HIHQGDQW6FKRHS³OHGDJURXSRIEDFNWKHPLOHVIURPWKHQGSDUNEDFN

   WR/HH3DUNWKURXJK$QWLIDDQGSROLFHLQWHUIHUHQFH´7KH\MHHUHG³6RPXFKUHVSHFWIRUP\

   &RPPDQGHU-HII6FKRHS,ZLOOJRLQWREDWWOHZLWK\RXDQ\WLPH6LU´

             $IHZPLQXWHVDIWHUSP'DLO\6WRUPHUSRVWHG




                                                                                     

                                                   
                                                    
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 73 of 112 Pageid#: 885
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 90 of 128 Pageid#:
                                    1355



                  'HIHQGDQWVWRRNQRVWHSVWRSUHYHQWRUDLGLQSUHYHQWLQJWKHYLROHQWDFWLRQVWKDW

   WKH\NQHZZDVEHLQJSODQQHG

                  6RPH'HIHQGDQWVDQGFRFRQVSLUDWRUVVWD\HGLQWKHSDUNVZKLOHRWKHUVGLVSHUVHG

   DQGEHJDQWRWHUURUL]HUHVLGHQWVLQWKHGRZQWRZQDUHDRI&KDUORWWHVYLOOHQHDUWKHSHGHVWULDQPDOO

   0XxL]ZHDULQJDWVKLUWZLWKDUHSUHVHQWDWLRQRIZRPHQRIFRORUZLWQHVVHGWKHPDUFKHUVZDON

   EDFNWRWRZQIURP0F,QWLUH3DUNDQGWKHQIROORZHGKHUVHOIWRMRLQDJURXSRISHDFHIXOFRXQWHU

   GHPRQVWUDWRUV

                  2QWKHPDOO'HIHQGDQWVDQGFRFRQVSLUDWRUVDJDLQEURXJKWYLROHQFH2QHFR

   FRQVSLUDWRUIRUH[DPSOHZDVFDXJKWRQYLGHRSXQFKLQJWZRSHDFHIXOFRXQWHUSURWHVWRUVGLUHFWO\

   LQWKHIDFH

                              7KH&DU$WWDFN

                  ³5XQ7KHP2YHU´LVDSRSXODUDQWL%ODFN/LYHV0DWWHUDQGDQWLUDFLDOMXVWLFH

   SURWHVWFDWFKSKUDVHDQGVKRZVXSLQPHPHVDQGFRPPHQWVDFURVVWKH,QWHUQHW,QODWH-DQXDU\

   )R[1DWLRQWKHRSLQLRQZHEVLWHRSHUDWHGE\)R[1HZVWZHHWHGRXWD³5HHO2I&DUV

   3ORZLQJ7KURXJK3URWHVWRUV7U\LQJ7R%ORFN7KH5RDG´7KHDXWKRURIWKHYLGHRSLHFHZKLFK

   RULJLQDOO\DSSHDUHGRQWKH'DLO\&DOOHUZURWH³+HUH¶VDFRPSLODWLRQRIOLEHUDOSURWHVWHUVJHWWLQJ

   SXVKHGRXWRIWKHZD\E\FDUVDQGWUXFNV´DQG³6WXG\WKHWHFKQLTXHLWPD\SURYHXVHIXOLQWKH

   QH[WIRXU\HDUV´2Q)DFHERRNWKHDXWKRUEUDJJHGDERXWWKHSRSXODULW\RIWKHSLHFHERDVWLQJ

   WKDWKH³>P@DGHDSURILWIRUWKHFRPSDQ\WRGD\:HQWIURPWRPLOOLRQYLHZVLQD

   KRXUWLPHVSDFHZLQQLQJ´

   
   
     2YHUWKHSDVWWZR\HDUVWKHLPDJHU\RIUXQQLQJSURWHVWRUVRYHUZLWKDFDUKDVJDLQHGFXUUHQF\DPRQJ'HIHQGDQWV
   DQGRWKHUV'HIHQGDQW+HLPEDFKHQFRXUDJHGDSROLFHFDUWRPRZGRZQSHDFHIXOSURWHVWRUV$QDUWLFOHUHSRUWVWKDW
   +HLPEDFKZDVZDONLQJQHDUWKHSDUDGHURXWHZKHQKHHQFRXQWHUHGDJURXSRIGHPRQVWUDWRUVKROGLQJVLJQVDERXW
   ZDWHUSUHVHUYDWLRQ$EODFN689ZLWKSROLFHSODWHVGURYHXSDQGVWRSSHGLQIURQWRIWKHGHPRQVWUDWRUV$QRIILFHU
   OHDQHGRXWWKHZLQGRZDQGDVNHGWKHPWRVWHSDVLGHVRWKDWWKH\FRXOGSDVV³'RQ¶WVWRSRIILFHU´VKRXWHG
   +HLPEDFKDVWKH689PDGHLWVZD\WKURXJKWKHJURXS³)XFNLQJVWHSRQWKHJDV´
                                                                  
                                                                   
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 74 of 112 Pageid#: 886
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 91 of 128 Pageid#:
                                    1356



             7KHVDPHWURSHZDVXVHGDVSDUWRISODQQLQJIRUWKH8QLWHWKH5LJKW³UDOO\´2Q

   'LVFRUGIRUH[DPSOHLQUHVSRQVHWRDSRVWIURP7\URQHWKDWLI³VRPHWKLQJKDSSHQV

   DGMXVWPHQWVZLOOKDYHWREHPDGHWRUHPRYHSHRSOHIURPWKHVFHQH´FRFRQVSLUDWRU

   ³$OW&HOW ,/ ´UHVSRQGHGZLWKDQLPDJHIURPDIDPRXVVFHQHLQWKHPRYLHDawn of the DeadLQ

   ZKLFKWKHSURWDJRQLVWVUHWURILWEXVHVZLWKFKDLQVDZVDQGEDUEHGZLUHWRHVFDSHDPDOOE\UXQQLQJ

   RYHUWKRXVDQGVRIVZDUPLQJ]RPELHV$OW&HOW ,/ DGGHGD³FU\LQJODXJKLQJ´HPRMLDQGZURWH

   ³7KLVZLOOEHXV´
   




             7\URQHUHSOLHGZLWKSLFWXUHRID-RKQ'HHUHWUDFWRUFDSWLRQHG³,QWURGXFLQJ-RKQ

   'HHUH¶VQHZPXOWLODQHSURWHVWRUGLJHVWRU´DQGFRPPHQWHG³,NQRZ1&ODZLVRQWKHERRNVWKDW

   GULYLQJRYHUSURWHVWHUVEORFNLQJURDGZD\LVQ¶WDQRIIHQVH«6XUHZRXOGEHQLFH´




                                                   
                                                    
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 75 of 112 Pageid#: 887
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 92 of 128 Pageid#:
                                    1357




            

             2QWKHVDPHGD\ -XO\ 7\URQHDVNHGWKHYLUJLQLDBODZVFKDQQHO³Is it

   legal to run over protestors blocking roadways? I’m NOT just shitposting. I would like

   clarification. I know it’s legal in NC and a few other states. I’m legitimately curious for the

   answer.´7ZRSDUWLFLSDQWVUHDFWHGWRWKLVSRVWZLWKUHGKHDUWHPRMLV

             $QRWKHUFRFRQVSLUDWRURQ'LVFRUGXVLQJWKHYLUJLQLDBODZVFKDQQHOSRVWHGD

   SKRWRRIDQDUPRUHGPLOLWDU\WDQNDQGZURWH³,VWKLVOHJDOLQ9$"´(OHYHQSDUWLFLSDQWV

   UHVSRQGHGZLWKHPRMLVH[SUHVVLQJDSSURYDO

             6LPLODUO\ZKHQ'HIHQGDQW.HVVOHUDVNHGWKHGHPRQVWUDWLRQBWDFWLFVFKDQQHOIRU

   DGYLFHRQSODQQLQJDPDUFKRQHFRFRQVSLUDWRU³3ULPLWYH;DRF´HQFRXUDJHGWKHXVHRI

   VLGHZDONVEHFDXVH³VWUDLJKWWKURXJKWKHVWUHHWVOLNHWKH\GLGDIHZZHHNVDJRIRUWKHµFRPPXQLW\

   GHIHQVH¶0DUFKZDVDZIXO $QWLID ´+HSRVWHGVHYHUDOSKRWRVIURPWKDWPDUFKDQGZURWH

   ³7KHVHIRROVKDGEDELHVDQGFKLOGUHQLQWKHVWUHHWVGUDJJLQJEDQQHUVRYHUFDUVEORFNLQJWKHLU


                                                    
                                                     
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 76 of 112 Pageid#: 888
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 93 of 128 Pageid#:
                                    1358



   YLHZDQGVXFK7RREDGWKHFLYLOLDQVGLGQ¶WMXVWPDNHQHZVSHHGEXPSVIRUVRPHRIWKHVH

   VFXP´

             $WDSSUR[LPDWHO\SPLQIXUWKHUDQFHRIWKHFRQVSLUDF\'HIHQGDQW)LHOGV

   GURYHKLV'RGJH&KDOOHQJHURQWR)RXUWK6WUHHWLGOHGIRUDPRPHQWZKLOHKLVYHKLFOHIDFHGWKH

   SHDFHIXOSURWHVWHUVDQGWKHQGHOLEHUDWHO\DFFHOHUDWHGLQWRWKHFURZG

             3ODLQWLIIV0DUWLQ%ODLU6LQHV0XxL]$OYDUDGRDQG5RPHURZHUHPDUFKLQJXS

   )RXUWK6WUHHWZKHQ)LHOGVDWWDFNHG3ODLQWLII0XxL]KDGZDONHGWRWKHIURQWRIWKHFURZGZKHQLW

   ZDVDWWKHLQWHUVHFWLRQRI)RXUWK6WUHHWDQG:DWHU6WUHHWWRWDNHDSLFWXUHRIWKHJDWKHULQJ:KHQ

   WKHFURZGWXUQHGOHIWRQWR)RXUWK6WUHHW0XxL]ZDVVWLOOWRZDUGVWKHIURQWRIWKHFURZG

             3ODLQWLIIV0DUWLQDQG%ODLUZHUHDSSURDFKLQJWKHVDPHLQWHUVHFWLRQZDONLQJXS

   )RXUWK6WUHHWWRZDUGVWKHGRZQWRZQPDOOZLWKWKHLUIULHQG+HDWKHU+H\HU$VKHVDZWKHFDU

   VSHHGLQJGRZQWKHURDG0DUWLQSXVKHG%ODLURXWRIWKHSDWKRIWKHPRYLQJFDU6KHIHOOWRWKH

   JURXQGDQGVXVWDLQHGLQMXULHVLQFOXGLQJDKHPDWRPDRQKHUOHIWVLGHDQGDJDVKRQKHUULJKWDUP

   0DUWLQZDVKLWGLUHFWO\E\WKHFDUVXVWDLQLQJVHULRXVLQMXULHVLQFOXGLQJDEURNHQOHJIUDFWXUHG

   DQNOHDQGPXOWLSOHEUXLVHV




                                                    
                                                     
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 77 of 112 Pageid#: 889
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 94 of 128 Pageid#:
                                    1359



             +HLVSLFWXUHGEHORZIO\LQJWKURXJKWKHDLUDIWHUWKHFDUVODPPHGLQWRKLVERG\




                                                                                                        

             /RRNLQJIRU0DUWLQRQWKHVWUHHW%ODLUVDZSHRSOHO\LQJRQWKHJURXQGDQG

   EOHHGLQJ6KHVWHSSHGRYHUWKHPORRNLQJIRU0DUWLQ

             %ODLUIRXQG0DUWLQRQWKHJURXQGZKHUHSHRSOHZHUHWU\LQJWRKHOSKLP)LIWHHQ

   PLQXWHVDIWHUWKHDWWDFN0DUWLQZDVWDNHQWRWKHKRVSLWDODQG%ODLUURGHLQWKHDPEXODQFHZLWK

   KLP%ODLUGLGQRWUHFHLYHLPPHGLDWHWUHDWPHQWIRUKHULQMXULHVEHFDXVHVKHZDVORRNLQJDIWHU

   0DUWLQ

             :KLOHZDLWLQJLQWKHKRVSLWDO%ODLUOHDUQHGWKDWDZRPDQKDGGLHGLQWKHFDU

   DWWDFN6KHIHDUHGWKDWVKHNQHZZKRLWZDVDQGEHJDQDVNLQJHYHU\RQHDURXQGKHULIWKH\NQHZ

   ZKRLWZDV(YHQWXDOO\VKHOHDUQHGWKDWLWZDVKHUIULHQG+HDWKHU+H\HUZKRKDGEHHQVWUXFN

   DQGNLOOHG

                                                    
                                                     
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 78 of 112 Pageid#: 890
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 95 of 128 Pageid#:
                                    1360



             3ODLQWLII5RPHURZDVKLWGLUHFWO\E\'HIHQGDQW)LHOGV¶VFDU7KHLPSDFWWKUHZ

   KHUDJDLQVWDSDUNHGFDUZKLFKVKHKLWEHIRUHIDOOLQJWRWKHJURXQG3ODLQWLII5RPHURUHFDOOV

   ZDQWLQJWROLHGRZQDQGFORVHKHUH\HVEXWVKHWKRXJKWWKDWLIVKHFORVHGKHUH\HVDQGJDYHXS

   VKHZRXOGGLH6KHDWWHPSWHGWRJHWXSEXWVWUXJJOHGDQGZDVWROGE\DE\VWDQGHUWRVLWEDFN

   GRZQ

             5RPHURLVSLFWXUHGEHORZUHFHLYLQJLQLWLDOFDUHIURPE\VWDQGHUV




                                                                                                       

             &RYHUHGLQEORRGIURPDVNXOOIUDFWXUHVXVWDLQHGGXULQJWKHDWWDFN5RPHURZDV

   FDUULHGWRDQDPEXODQFHZKHUHDPHGLFLQIRUPHGKHUWKDWVKHKDGEHHQXQFRQVFLRXVDVWKH\

   KHOSHGKHUGRZQ)RXUWK6WUHHW%HIRUHIDOOLQJXQFRQVFLRXV5RPHURKDGEHJJHGE\VWDQGHUVWR

   FDOOKHUPRWKHUDVVKHKDGORVWKHUSKRQHZKHQVWUXFNE\)LHOGV¶VFDU

             3ODLQWLII$OYDUDGRZKRDWWHQGHGWKHHYHQWVZLWK3ODLQWLII5RPHURZDVDOVRKLWE\

   'HIHQGDQW)LHOGV¶VFDU7KHLPSDFWRIWKHFDUNQRFNHGKHUWRWKHJURXQG,QLWLDOO\ILOOHGZLWK
                                                    
                                                     
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 79 of 112 Pageid#: 891
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 96 of 128 Pageid#:
                                    1361



   DGUHQDOLQHVKHLPPHGLDWHO\SLFNHGKHUVHOIXSDQGORRNHGIRUKHUIULHQG5RPHURZKRKDGEHHQ

   KLW$OYDUDGRWKHQZDWFKHGDV'HIHQGDQW)LHOGVGURYHKLVFDULQUHYHUVHLQWRWKHFURZGVKHZDV

   VWDQGLQJLQ)LHOGVQDUURZO\PLVVHGKLWWLQJ$OYDUDGRDJDLQEHFDXVHVKHZDVDEOHWRSUHVVFORVHU

   WRWKHDGMRLQLQJZDOO$OYDUDGRFRQWLQXHGWRIHDUWKDWWKHFDUZRXOGFRPHEDFNGRZQWKHVWUHHW

             3ODLQWLII$OYDUDGRWKHQZHQWWRDVVLVW3ODLQWLII5RPHUR6KHVXSSRUWHG5RPHURDV

   WKH\ZDONHGXSWKHVWUHHWXQWLO5RPHURZDVSXWLQWRWKHDPEXODQFH$OYDUDGRZDVVXEVHTXHQWO\

   GLUHFWHGWRWKHPHGLFDOWHQWZKHUHVKHZDVWUHDWHGIRUKHULQMXULHV

             3ODLQWLIIV0XxL]DQG6LQHVQDUURZO\HVFDSHGEHLQJVWUXFNE\WKHFDU7KH\

   ZLWQHVVHGEHORQJLQJVDQGERGLHVIO\LQJLQWKHDLU:KHQWKH\VDZ'HIHQGDQW)LHOGVVSHHGKLV

   FDULQUHYHUVH²EDFNLQJRYHUPDQ\RIWKHERGLHVKHDOUHDG\KLW²WKH\ZHUHVXUHWKDWKHZDV

   JRLQJWRFRPHFKDUJLQJEDFNLQWRWKHFURZG3ODLQWLII0XxL]IHDUHGWKDWWKHFDUVZRXOGEH

   FRPLQJIURPDOOGLUHFWLRQV

             3ODLQWLII0XxL]UDQDZD\DQGFROODSVHGRQWKHVLGHRIWKHURDG6KHVXIIHUHGDQ

   DFXWHVWUHVVUHDFWLRQ3ODLQWLII6LQHVUDQLQWRDQDOOH\ZD\DQGZDVVRVKRFNHGWKDWVKHKDG

   GLIILFXOW\IRUPLQJDQ\ZRUGV)HDULQJRWKHUDWWDFNVVKHUDQWRKHUFORVHVWIULHQG¶VKRXVH

   GRZQWRZQ

             3ODLQWLII0XxL]VDZYROXQWHHUPHGLFVDUULYLQJ0XxL]ZDVVKDNHQDQGWHUULILHG

   DQGFRXOGQRWVWDQGXS0XxL]IHDUHGWKDWWKHLQFLGHQWZDVQRORQJHURYHU)LQDOO\ZKHQ0XxL]

   IHOWWKDWQRRWKHUDWWDFNZDVIRUWKFRPLQJWKHPHGLFJRW0XxL]WRKHUIHHWDQGZDONHGKHUWRWKH

   WUDXPDFHQWHU

             3ODLQWLII:LVSHOZH\ZDVQRWDW0DUNHW6WUHHWZKHQWKHFDUDWWDFNRFFXUUHG:KHQ

   KHOHDUQHGRIZKDWKDSSHQHGKHVSULQWHGWRWKHVLWHZLWKRWKHUFOHUJ\WRSURYLGHDVVLVWDQFHWR

   VXSSRUWYLFWLPVDQGWRKHOSFRQWUROWKHFURZGVVRWKDWPHGLFDOYHKLFOHVFRXOGUHDFKYLFWLPV

                                                    
                                                     
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 80 of 112 Pageid#: 892
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 97 of 128 Pageid#:
                                    1362



                  3ODLQWLII3HDUFHDOVRUXVKHGWRWKHVFHQHWRSURYLGHFDUHDQGZLWKWKHKHOSRIKHU

   VRQWULHGWRVXSSUHVVWKHFURZGVVRWKDWPHGLFDOYHKLFOHVFRXOGUHDFKWKRVHLQMXUHG

                  %XWDV3ODLQWLIIVPRXUQHGDQGWULHGWRFDUHIRURQHDQRWKHU'HIHQGDQWVDQGFR

   FRQVSLUDWRUVFHOHEUDWHGDQGHQFRXUDJHGRWKHUVWROHDYHWRZQLPPHGLDWHO\EHIRUHWKH\IRXQG

   WKHPVHOYHVLQWURXEOH

                  'HIHQGDQW6SHQFHUWZHHWHG³0\UHFRPPHQGDWLRQ'LVSHUVH*HWRXWRI

   &KDUORWWHVYLOOHFLW\OLPLWV´'HIHQGDQW.HVVOHUUHWZHHWHGKLP$WSP'HIHQGDQW+LOO

   WZHHWHG³7KH/HDJXHRIWKH6RXWKKDGDJRRGGD\LQ&KDUORWWHVYLOOH9LUJLQLD2XUZDUULRUV

   DFTXLWWHGWKHPVHOYHVDVPHQ*RGEHSUDLVHG´

                  &RQFOXGLQJLWVOLYHIHHGIRUWKHGD\'DLO\6WRUPHUSRVWHG³7+(675((7:$5

   +$6(1'(':(:21:(6+2:('7+$7285,'($6+$9(72%(6+87'2:1

   :,7+9,2/(1&(´

                              $IWHUWKH)DFW'HIHQGDQWV&HOHEUDWHG7KHLU6XFFHVVIXO3ODQWR,QFLWH9LROHQFH

                  $VQHZVDERXWWKHFDUDWWDFNVSUHDG'HIHQGDQWVFHOHEUDWHGZKDWWKH\EHOLHYHG

   ZDVWKHLU³YLFWRU\´DQGPRFNHGWKHGHDWKRI+HDWKHU+H\HU

                  2QO\RQHKRXUDIWHUWKHFDUDWWDFN'HIHQGDQW(DVW&RDVW.QLJKWV¶VSURPLQHQW

   PHPEHU³.QHXVV´WZHHWHG³$WOHDVWQRERG\LPSRUWDQWJRWKXUW&KDUORWWHVYLOOH´IROORZHGE\

   DQRWKHUWZHHWVWDWLQJ³'LUW\DSHVSOD\LQJLQWKHVWUHHWJRWWDOHDUQWKHKDUGZD\

   &KDUORWWHVYLOOH´%RWKWZHHWVZHUHOLNHGE\WKH(DVW&RDVW.QLJKWV7ZLWWHUDFFRXQW




   
   
    .QHXVVZKRXVHVWKHKDQGOH³#UHDO'5.1(866´RQ7ZLWWHULQWHUDFWVIUHTXHQWO\ZLWKWKH(DVW&RDVW.QLJKWVRQ
   7ZLWWHUDQGWKH\UHWZHHWHDFKRWKHUIUHTXHQWO\RIWHQWKH\DUHHDFKRWKHU¶VRQO\UHWZHHW2Q$XJXVWDWSP
   .QHXVVWZHHWHG³%LJVKRXWRXWWR/HDJXHRIWKH6RXWK7:3DQG160WKH(DVW&RDVW.QLJKWVJUHDWO\DSSUHFLDWH
   \RXDQGHYHU\WKLQJ\RXGR&KDUORWWHVYLOOH´7KH(DVW&RDVW.QLJKWV¶7ZLWWHUDFFRXQWUHWZHHWHGWKLVWZHHW2Q
   6HSWHPEHU.QHXVVWZHHWHGDVW\OL]HGLPDJHVD\LQJ(&.ZKLFKLVDUHIHUHQFHWRWKH(DVW&RDVW.QLJKWV
                                                                  
                                                                   
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 81 of 112 Pageid#: 893
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 98 of 128 Pageid#:
                                    1363



             /DWHUWKDWHYHQLQJ'HIHQGDQW$QJOLQSRVWHGDPHVVDJH³5RDGNLOO1LJKWV

   3RZHUHGE\'RGJH,W¶VJRLQJGRZQ6DWXUGD\$XJWKIURPDPWRSP´

             7KHIROORZLQJGD\'LVFRUGSDUWLFLSDQWVSRVWHGPHPLILHGSKRWRVRI'HIHQGDQW

   )LHOGVGULYLQJKLVFDULQWRWKHFURZGRQHODEHOLQJWKHFDU³5(63(&7´DQGWKHFURZG

   ³:20(1´$QRWKHUPHPHFLUFXODWHGRQOLQHODEHOHGWKHLPDJH³%$&.727+()+85(5´




                                                  
                                                   
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 82 of 112 Pageid#: 894
                                                      
 Case
     3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 99 of 128 Pageid#:
                                    1364




                                                                                                   

             ,Q6RXWKHUQ)URQWWKH'LVFRUGVHUYHUVHWXSIRUVRXWKHUQPHPEHUVRI9DQJXDUG

   $PHULFDDQGWKHRUJDQL]DWLRQWRZKLFK'HIHQGDQW)LHOGVEHORQJHGPHPEHUVSRVWHGVLPLODU

   PHPHVVXFKDVDSLFWXUHRI3ODLQWLII0DUWLQIO\LQJWKURXJKWKHDLUZLWKWKHFDSWLRQ³&DQ¶W'RGJH

   7KLV´DQGDQRWKHUODEHOLQJ)LHOGVD³86$3DWULRW´2QHFRFRQVSLUDWRUZURWH³,GRQ¶WWKLQNZH

   VKRXOGKDQGRXWVKLHOGVDQ\PRUH#HYHU\RQH:HVKRXOGKDQGRXWGRGJHFKDOOHQJHUV

   LQVWHDG´




                                                  
                                                   
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 83 of 112 Pageid#: 895
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 100 of 128 Pageid#:
                                    1365




                                                                                                      

             'DLO\6WRUPHUHQFRXUDJHGIROORZHUVWRILQGRXWWKHGHWDLOVRI+HDWKHU+H\HU¶V

   IXQHUDODQGWRDWWHQG$WZHHWIURP'HIHQGDQW.HVVOHU¶VDFFRXQWUHIHUUHGWR+HDWKHU+H\HUDVD

   FRPPXQLVWDQGVDLG³&RPPXQLVWVKDYHNLOOHGPLOOLRQ/RRNVOLNHLWZDVSD\EDFNWLPH´

   .HVVOHUFODLPHGKHZDVRQDPL[WXUHRISUHVFULSWLRQGUXJVDQGDOFRKROZKHQKHZURWHWKDW

   PHVVDJHDQGGLGQRWUHPHPEHULWDQDJHQWRI'DLO\6WRUPHUFODLPHGFUHGLWIRUKDFNLQJ.HVVOHU¶V

   DFFRXQWDQGSRVWLQJWKHWZHHW

             'HIHQGDQW+HLPEDFKVDLGRIWKHUDOO\³:HDFKLHYHGDOORIRXUREMHFWLYHV:H

   VKRZHGWKDWRXUPRYHPHQWLVQRWMXVWRQOLQHEXWJURZLQJSK\VLFDOO\:HDVVHUWHGRXUVHOYHVDV

   WKHYRLFHRIZKLWH$PHULFD:HKDG]HURYHKLFOHVGDPDJHGDOORXUSHRSOHDFFRXQWHGIRUDQG



                                                   
                                                    
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 84 of 112 Pageid#: 896
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 101 of 128 Pageid#:
                                    1366



   PRYHGDODUJHDPRXQWRIPHQDQGPDWHULDOVLQDQGRXWRIWKHDUHD,WKLQNZHGLGDQLQFUHGLEO\

   LPSUHVVLYHMRE´

             :KLWHVXSUHPDFLVWVGHEULHIHGRQ'LVFRUGFHOHEUDWLQJWKDWSURWHVWHUV³JRWEWIR

   >EORZQWKHIXFNRXW@E\DOOREMHFWLYHPHDVXUHVRQO\SHRSOHZKRPRYHGXVDVLQJOHLQFKZHUH

   WKH]RJFRSV´³.QHXVV´RIWKH'HIHQGDQW(DVW&RDVW.QLJKWVFHOHEUDWHG³IDWDOLWLHVLQ

   &KDUORWWHVYLOOH+RZPDQ\:1¶V>ZKLWHQDWLRQDOLVWV@"127)XFNWKHOHIW)XFNFRPPLHV

   DQGDOOND\DNVEHORQJLQRYHQV$PHQ´7KLVWZHHWZDVOLNHGE\WKH(DVW&RDVW.QLJKWV¶

   RIILFLDO7ZLWWHUDFFRXQW

             $9DQJXDUG$PHULFDFRFRQVSLUDWRUSRVWHGD'DLO\6WRUPHUDUWLFOHRQWKH

   6RXWKHUQ)URQW'LVFRUGVHUYHUDQGZURWH³7KLVZDVWKHELJJHVWYLFWRU\IRURXUPRYHPHQW

   KLVWRU\,WZDVJORULRXVKWWSVZZZGDLO\VWRUPHUFRPFKDUORWWHVYLOOHFRPSOHWHYLFWRU\HYHQW

   GHEULHILQJ´WKH\FHOHEUDWHG³:HIXFNHGXSPDQ\FRPPLHV:HKRVSLWDOL]HGGR]HQV:H

   JRWRXUJX\VRXWZLWKRXWSROLFHKHOS:HZRQ1RZ\RXPDNHWKHQH[WUDOO\DQGILJKWIRU

   \RXUSHRSOH´$IWHUWKH6DWXUGD\HYHQWV7KRPDV5\DQ5RXVVHDXDOHDGHURI9DQJXDUG

   $PHULFDUHDVVXUHGFRFRQVSLUDWRUVRQWKH6RXWKHUQ)URQW'LVFRUGVHUYHU³,¶PVDIHZLWKD

   GR]HQRUVRJX\VKDQJLQJRXWDWDKRWHOVKDULQJVWRULHVRIWKHGD\´

             'HIHQGDQW6FKRHSWZHHWHG³,WZDVDQ+RQRUWRVWDQGZLWK8DOOLQ&¶9LOOHWKLV

   ZHHNQG1601)7:3/269$(&.&+6DQGWKHUHVWWUXHZDUULRUV´³.QHXVV´DQG

   RWKHUFRFRQVSLUDWRUVUHWZHHWHGDQGOLNHGWKLV$FRFRQVSLUDWRUSRVWHGRQ)DFHERRN³'RQ¶WIHHO

   DVKDPHGRI&YLOOH7KLVLV\RXUIXWXUH7KLVLVWKHHQHP\´

             6SHDNLQJRI&KDUORWWHVYLOOHLQDQLQWHUYLHZWKH*UDQG'UDJRQIRU'HIHQGDQW

   /R\DO:KLWH.QLJKWVVDLG³,¶PVRUWDJODGWKDWWKHPSHRSOHJRWKLWDQG,¶PJODGWKDWJLUOGLHG

   7KH\ZHUHDEXQFKRI&RPPXQLVWVRXWWKHUHSURWHVWLQJDJDLQVWVRPHERG\¶VIUHHGRPRIVSHHFK

                                                   
                                                    
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 85 of 112 Pageid#: 897
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 102 of 128 Pageid#:
                                    1367



   VRLWGRHVQ¶WERWKHUPHWKDWWKH\JRWKXUWDWDOO´'HIHQGDQW/R\DO:KLWH.QLJKWVDOVRFKDQJHG

   WKHLURXWJRLQJYRLFHPDLOPHVVDJHWRVD\³1RWKLQJPDNHVXVPRUHSURXGDWWKH...WKDQZH

   VHHZKLWHSDWULRWVVXFKDV-DPHV)LHOGV-UDJHWDNLQJKLVFDUDQGUXQQLQJRYHUQLQH

   FRPPXQLVWDQWLIDVFLVWNLOOLQJRQHQLJJHUORYHUQDPHG+HDWKHU+H\HU-DPHV)LHOGVKDLO

   YLFWRU\,W¶VPHQOLNH\RXWKDWKDYHPDGHWKHJUHDWZKLWHUDFHVWURQJDQGZLOOEHVWURQJDJDLQ´

               /LNHZLVH'HIHQGDQW6SHQFHUWROGWKHNew York Times WKDW$XJXVWZDV³D

   KXJHPRUDOYLFWRU\´'HIHQGDQW&DQWZHOOWROGDViceUHSRUWHU³,¶GVD\LWZDVZRUWKLW1RERG\

   RQRXUVLGHGLHGQRQHRIRXUSHRSOHNLOOHGDQ\ERG\XQMXVWO\RXUULYDOVDUHMXVWDEXQFKRI

   VWXSLGDQLPDOVZKRGRQ¶WSD\DWWHQWLRQWKDWFRXOGQ¶WMXVWJHWRXWRIWKHZD\RIWKHFDU´

   6SHDNLQJRIFRXQWHUSURWHVWHUVOLNH3ODLQWLIIVKHVDLG³7KHVHSHRSOHZDQWYLROHQFHDQGWKHULJKW

   LVMXVWPHHWLQJPDUNHWGHPDQG´

               ,QDGGLWLRQWRFHOHEUDWLQJWKH$XJXVW³UDOO\´DVDVXFFHVV3ODLQWLII5RPHUR

   FRQWLQXHGWREHKDUDVVHGDQGLQWLPLGDWHG)ROORZLQJKHUUHOHDVHIURPWKHKRVSLWDO5RPHUR

   UHFHLYHGWKUHHPRUHSKRQHFDOOVIURPWKHVDPH.ODQVPDQZKRKDGKDUDVVHGKHULQ-XO\2Q

   WKHVHSKRQHFDOOVWKHPDQH[SODLQHGWKDWKHZDVWU\LQJWRVHOOVLOYHU'RGJH&KDOOHQJHUV²WKH

   FRORUPDNHDQGPRGHOXVHGE\'HIHQGDQWV)LHOGVLQKLVFDUDWWDFN²LQ&KDUORWWHVYLOOH)LYH

   PLQXWHVDIWHU5RPHURKXQJXSKHFDOOHGDJDLQZLWKWKHVDPHIRUHERGLQJSLWFK

               /DWHU5RPHURUHFHLYHGDIRXUWKFDOODJDLQIURPWKHVDPHLQGLYLGXDOLQZKLFKWKH

   FDOOHUVDLG³'RQ¶W\RXKDWHLWZKHQWKHUHDUHUDQGRPSHGHVWULDQVEORFNLQJWKHURDGDQGVKLWOLNH

   WKDW"7KHUHZDVRQHJLUOQDPHG1DWDOLH5RPHURVKHJRWFDXJKWLQWKHDFFLGHQW"6KHVKRXOG

   KDYHGLHGLQWKHKRVSLWDO´7KHVHFDOOVWHUULILHG5RPHURDQGVKHFRQWLQXHVWRZRUU\DERXWKHU

   VDIHW\



                                                      
                                                       
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 86 of 112 Pageid#: 898
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 103 of 128 Pageid#:
                                    1368



                  3ODLQWLII5RPHURDQGVHYHUDORWKHURIWKH3ODLQWLIIVDOVRDSSHDUHGRQDOLVW

   SXUSRUWLQJWRLGHQWLI\³PHPEHUVRI$QWLID´ZKRKDGDWWHQGHGWKH$XJXVW³UDOO\´7KHOLVW

   LGHQWLILHGZKRKDGEHHQLQMXUHGDQGZKRDPRQJWKRVH³PHPEHUVRI$QWLID´ZHUH³NQRZQWREH

   YLROHQW´1RQHRIWKH3ODLQWLIIVZHUHLGHQWLILHGRQWKHOLVWDVDPRQJWKRVH³NQRZQWREH

   YLROHQW´7KHOLVWZDVFUHDWHGE\DIRUPHUPHPEHURI'HIHQGDQW,GHQWLW\(YURSDZKRWKHQ

   MRLQHG9DQJXDUG$PHULFDLQ-XO\DQGEHFDPHDQDFWLYHSDUWLFLSDQWRQLWV6RXWKHUQ)URQW

   'LVFRUGVHUYHUEUDJJLQJ³,UHDOO\FDQKHOSWUDFNPRVW$QWLID´DQG³>P@\LQIRLVJRRGDQG,ZLOO

   GRHYHU\WKLQJ,FDQWRKHOS9$>9DQJXDUG$PHULFD@´

                  7KHOLVWKHFUHDWHGZDVFLUFXODWHGRQ*DED7ZLWWHUOLNHVRFLDOPHGLDVLWHZKHUH

   QHR1D]LVDQGZKLWHVXSUHPDFLVWVPDQ\RIZKRPKDYHEHHQNLFNHGRIIRIWUDGLWLRQDOVRFLDO

   PHGLDSODWIRUPVVKDUHDQGSRVWLQIRUPDWLRQ2Q*DEDWOHDVWRQHGLVWULEXWLRQRIWKHSXUSRUWHG

   ³$QWLID´OLVWZDVGLUHFWHGWR'HIHQGDQW&DQWZHOODPRQJRWKHUV

   ,,,        'HIHQGDQWV¶$FWLRQV+DYH&DXVHGDQG:LOO&RQWLQXHWR&DXVH'DPDJHWR3ODLQWLIIV

   $           7KH8QODZIXO$FWV%\'HIHQGDQWV&R&RQVSLUDWRUVDQG2WKHUV
                 $FWLQJDW7KHLU'LUHFWLRQ&DXVHG6HULRXV,QMXU\,QFOXGLQJ7R3ODLQWLIIV

                              'HIHQGDQWV¶$FWLRQV&DXVHG6HULRXV%RGLO\,QMXU\DQG'DPDJHWR3URSHUW\

                  7KHSODQQHGYLROHQFHEURXJKWDERXWE\'HIHQGDQWVLQ&KDUORWWHVYLOOHRQ

   $XJXVWDQGOHIWDQLQGHOLEOHPDUNRQ3ODLQWLIIV&KDUORWWHVYLOOHDQGWKHUHVWRIWKHFRXQWU\

   7KUHHLQQRFHQWSHRSOHORVWWKHLUOLYHVDSHDFHIXOSURWHVWRU+HDWKHU+H\HUDQGWZRVWDWHODZ

   HQIRUFHPHQWRIILFHUV/LHXWHQDQW+-D\&XOOHQDQG7URRSHU3LORW%HUNH00%DWHV$WOHDVW

   LQGLYLGXDOVLQFOXGLQJ3ODLQWLIIVZHUHLQMXUHGDQGFRXQWOHVVRWKHUVZHUHYLFWLPVRIDVVDXOW

   +XQGUHGVLIQRWWKRXVDQGVZHUHVXEMHFWHGWRYHUEDODEXVHWKUHDWVKDUDVVPHQWDQGLQWLPLGDWLRQ


   
   ϭϮ
     'HIHQGDQWVFRQVLGHUHGDQ\LQGLYLGXDORSSRVLQJWKHLU³UDOO\´DVEHLQJ³$QWLID´UHJDUGOHVVRIZKHWKHUWKH\ZHUH
   YLROHQWRULQWHQGHGWREHYLROHQW
                                                                  
                                                                   
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 87 of 112 Pageid#: 899
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 104 of 128 Pageid#:
                                    1369



   ZKHQ'HIHQGDQWVFRFRQVSLUDWRUVDQGWKHLUIROORZHUVFKDQWHGDQGVKRXWHGRYHUWO\DQWL6HPLWLF

   UDFLVW[HQRSKRELFDQGKRPRSKRELFPHVVDJHV

             &RXQWOHVVSXEOLFRIILFLDOVLQFOXGLQJ9LUJLQLD¶VJRYHUQRU7HUU\0F$XOLIIH

   $WWRUQH\*HQHUDO-HII6HVVLRQVDQG6HQDWRUV&RU\*DUGQHU7HG&UX]DQG5RQ:\GHQKDYH

   UHFRJQL]HGWKDWWKH8QLWHWKH5LJKW³UDOO\JRHUV´ZHUHPRWLYDWHGE\UDFLVP[HQRSKRELDDQGDQWL

   6HPLWLVPWKDWWKH³UDOO\JRHUV´HQJDJHGLQKDWHEDVHGYLROHQFHDQGWKDWWKHHYHQWVWKDWXQIROGHG

   ZHUHSURSHUO\FKDUDFWHUL]HGDVGRPHVWLFWHUURULVP

             2Q6HSWHPEHU&RQJUHVVSDVVHGDXQDQLPRXVDQGELSDUWLVDQMRLQW

   UHVROXWLRQ³UHMHFWLQJZKLWHQDWLRQDOLVWVZKLWHVXSUHPDFLVWVWKH.X.OX[.ODQQHR1D]LVDQG

   RWKHUKDWHJURXSV´UHFRJQL]LQJWKDWWKH\HQJDJHGLQD³KRUULILFDQGYLROHQWGLVSOD\RIELJRWU\´LQ

   &KDUORWWHVYLOOHDQGFRQGHPQLQJ³WKHYLROHQFHDQGGRPHVWLFWHUURULVWDWWDFNWKDWWRRNSODFH

   GXULQJHYHQWVEHWZHHQ$XJXVWDQG$XJXVW´

             7KHMRLQWUHVROXWLRQDOVRGRFXPHQWHGWKDWWKHKDWHEDVHGJURXSVDUH³RUJDQL]LQJ

   VLPLODUHYHQWV´DURXQGWKHFRXQWU\DQGXUJHGWKH3UHVLGHQWWR³VSHDNRXWDJDLQVWKDWHJURXSVWKDW

   HVSRXVHUDFLVPH[WUHPLVP[HQRSKRELDDQWL6HPLWLVPDQGZKLWHVXSUHPDF\´DQGDGGUHVV³WKH

   WKUHDWVSRVHGE\WKRVHJURXSV´ZKLFKDUHFXUUHQWO\JURZLQJZLWKLQWKH8QLWHG6WDWHV

             3UHVLGHQW7UXPSVLJQHGWKHUHVROXWLRQDQGLVVXHGDVLJQLQJVWDWHPHQW³RSSRV>LQJ@

   KDWUHGELJRWU\DQGUDFLVPLQDOOIRUPV´

                    3ODLQWLIIV6XIIHUHG$QG&RQWLQXH7R6XIIHU6HULRXV,QMXULHV

             3ODLQWLII0DJLOO0DJLOOVXIIHUHGSHUPDQHQWSK\VLFDOLQMXU\IURPDVWURNHWKDWZDV

   FDXVHGE\WKHWUDXPDRIWKHHYHQWVRI$XJXVWDQG)RXUGD\VDIWHUWKH³UDOO\´RQ7XHVGD\

   $XJXVW0DJLOOFROODSVHGDW89$OLEUDU\+HEHJDQORVLQJKLVYLVLRQDQGVSHHFKDQGFRXOG




                                                      
                                                       
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 88 of 112 Pageid#: 900
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 105 of 128 Pageid#:
                                    1370



   EDUHO\VSHDNZRUGVWRWHOOVRPHRQHWRFDOODQDPEXODQFH7KDQNIXOO\KHZDVDEOHWRPRWLRQWR

   VRPHRQHLQWKHOLEUDU\WRFDOOIRUKHOSDQGKHZDVUXVKHGWRWKHKRVSLWDO

             0DJLOOZDVDGPLWWHGWRWKHHPHUJHQF\URRPDWDPRQ7XHVGD\ZKHUH

   GRFWRUVIRXQGWKDWKLVFDURWLGDUWHU\KDGWRUQDQGWZREORRGFORWVZHUHUHOHDVHGWRKLVEUDLQ

   FDXVLQJDVWURNH0HGLFDOSURIHVVLRQDOVPDLQWDLQWKDW0DJLOO¶VVWURNHZDVDUHVXOWRIWUDXPDWR

   KLVQHFNDVDUHVXOWRIWKHHYHQWVGXULQJWKHZHHNHQG

             0DJLOOVSHQWWZRGD\VLQWKHKRVSLWDODQGDFFRUGLQJWRPHGLFDOSURIHVVLRQDOVZLOO

   QHYHUIXOO\UHFRYHUIURPWKHUHVXOWLQJEUDLQLQMXULHV+HKDVORVWDVSHFWVRIKLVYLVLRQDQGVSHHFK

   DQGKDVGLIILFXOW\ZULWLQJDQGUHDGLQJIRUORQJSHULRGVRIWLPH+HKDVLQFXUUHGVLJQLILFDQW

   PHGLFDOH[SHQVHVDQGZLOOFRQWLQXHWRGRVR+HZLOOQHHGFRQWLQXHGPHGLFDOFDUH0DJLOOKDV

   QRW\HWEHHQDEOHWRUHWXUQWRZRUN

             3ODLQWLII0DUWLQ$VDUHVXOWRIWKHFDUDWWDFN0DUWLQZDVGLDJQRVHGZLWKD

   VKDWWHUHGWLELDLQKLVOHIWOHJDIUDFWXUHGDQNOHDQGVLJQLILFDQWOLJDPHQWGDPDJH+HXQGHUZHQW

   VXUJHU\DQGKDGWZRVFUHZVSODFHGLQKLVDQNOH+HH[SHULHQFHGVZHOOLQJLQERWKDQNOHVDQGKH

   FRXOGQRWZDONIRURUGD\V+HKDVEHHQWROGWRH[SHFWVZHOOLQJLQKLVOHIWDQNOHIRUDWOHDVWD

   \HDU'XHWRWKHQDWXUHRIKLVMREKHZLOOQRWEHDEOHWRZRUNIRUDWOHDVWPRQWKV+HKDV

   VXIIHUHGVHYHUHHPRWLRQDOGLVWUHVVWKDWLQFOXGHVKDYLQJPHQWDOIODVKEDFNVWRWKHHYHQWVRIWKH

   ³UDOO\´0DUWLQLVJRLQJWRPHQWDOFRXQVHOLQJWZLFHDZHHNWRVHHNVXSSRUWIRUKLVHPRWLRQDO

   WUDXPD

             3ODLQWLII%ODLU)RUGD\VDIWHUWKHDWWDFN%ODLUIRXQGKHUVHOIVKRUWRIEUHDWK

   VKDNLQJDQGFU\LQJXQFRQWUROODEO\DWWLPHV7RWKLVGD\VKHKDVWURXEOHIRFXVLQJLQFOXGLQJDW

   ZRUNDQGILQGVKHUVHOIRIWHQXQFKDUDFWHULVWLFDOO\DQJU\6KHLVVFDUHGRI'RGJHFKDOOHQJHUVDQG

   ORXGQRLVHV6KHLVDOVRH[SHULHQFLQJIODVKEDFNV6KHLVZLWKGUDZQDQGUHWLFHQWLQZD\VVKH

                                                      
                                                       
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 89 of 112 Pageid#: 901
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 106 of 128 Pageid#:
                                    1371



   QHYHUZDVEHIRUH6KHKDVORVWDERXWWHQSRXQGVVLQFHWKHDWWDFNGXHWRODFNRIDSSHWLWH6KH

   FDQQRWZDONE\WKHORFDWLRQRIWKHDWWDFN

             3ODLQWLII5RPHUR$VDUHVXOWRIKHUDVVDXOWDQGIDOVHLPSULVRQPHQWDWWKH

   WRUFKOLJKWUDOO\5RPHURH[SHULHQFHGEXUQLQJLQKHUH\HVDQGRQKHUVKRXOGHUVDQGWKHIHDUDQG

   DQ[LHW\VKHIHOWWKDWQLJKWSUHYHQWHGKHUIURPVOHHSLQJ7KHFDUDWWDFNWKHIROORZLQJGD\OHIW

   5RPHURZLWKVHYHUHSK\VLFDOLQMXULHVDQGHPRWLRQDOWUDXPD5RPHURVXIIHUHGDVNXOOIUDFWXUH

   FRQFXVVLRQVHYHUHFRQWXVLRQVDIUDFWXUHGWRRWKDQGVFUDWFKHVDOORYHUKHUERG\6KHVXIIHUV

   IURPVHYHUHYHUWLJRDQGH[SHULHQFHVGHELOLWDWLQJKHDGDFKHVWKDWSUHYHQWKHUIURPOHDYLQJWKH

   KRXVH6KHDOVRFDQQRWEHH[SRVHGWREULJKWOLJKWRUORRNDWZKLWHSDSHUZLWKRXWH[SHULHQFLQJ

   SDLQ+HUGRFWRUVDUHXQVXUHRIZKHQWKHVHV\PSWRPVZLOOVXEVLGH,QDGGLWLRQWRKHUSK\VLFDO

   LQMXULHV5RPHURVXIIHUHGVHYHUHHPRWLRQDOWUDXPDDVDUHVXOWRIWKHWRUFKOLJKWUDOO\DQGFDU

   DWWDFN5RPHURGLGQRWUHWXUQWRFDPSXVIRUFODVVHVWKLVIDOOEHFDXVHRIDQ[LHW\DQGIHDU

   DVVRFLDWHGZLWKKHUDVVDXOWVRQ$XJXVWDQG

             3ODLQWLII$OYDUDGR7KHFDUDWWDFNRQ$XJXVWFDXVHG$OYDUDGRVHULRXVSK\VLFDO

   LQMXULHVDQGHPRWLRQDOWUDXPD$OYDUDGRVXIIHUHGDFRQFXVVLRQDQGVHYHUHFRQWXVLRQVWRKHU

   OHJV$VDUHVXOWRIKHUFRQFXVVLRQVKHFRQWLQXHVWRH[SHULHQFHFRQIXVLRQIRUJHWIXOQHVVDQG

   GLIILFXOW\SURFHVVLQJFRQYHUVDWLRQV,QDGGLWLRQWRKHUSK\VLFDOLQMXULHVWKHFDUDWWDFNDOVROHIW

   KHUZLWKVHYHUHHPRWLRQDOWUDXPD$OYDUDGRVXIIHUVIURPGHSUHVVLRQZKLFKKDVOHGWRZHLJKW

   JDLQLVRODWLRQIURPKHUIDPLO\DQGIULHQGVDQGDQLQDELOLW\WRGRGDLO\WDVNV

             3ODLQWLII:LVSHOZH\:LVSHOZH\FRQWLQXHVWRVXIIHUIURPHPRWLRQDOGLVWUHVV

   :LVSHOZH\¶VHPRWLRQDOGLVWUHVVKDVPDQLIHVWHGLQSK\VLFDOV\PSWRPVLQFOXGLQJFRQVWULFWHGFKHVW

   SDLQGLIILFXOW\EUHDWKLQJDQGFKURQLFVOHHSLVVXHV+HUHJXODUO\ZDNHVXSZLWKQLJKWWHUURUV

   UHFDOOLQJWKHHYHQWVRI$XJXVWDQGDQGKDVKDGWRWDNHWLPHRIIIURPKLVZRUNLQRUGHUWR

                                                     
                                                      
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 90 of 112 Pageid#: 902
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 107 of 128 Pageid#:
                                    1372



   FRSHZLWKWKHWUDXPDRIWKHZHHNHQG+HKDVVHHQDWUDXPDLQIRUPHGWKHUDSLVWKDVEHHQ

   SURVFULEHGZLWKVOHHSPHGLFDWLRQDQGGLDJQRVHGZLWKDFXWHVWUHVVGLVRUGHU:LVSHOZH\KDVDOVR

   EHFRPHK\SHUYLJLODQWHVSHFLDOO\LQFURZGV

              3ODLQWLII0XxL]$IWHUH[SHULHQFLQJWKHFDUDWWDFNDQGEHLQJYHUEDOO\KDUDVVHGRQ

   $XJXVW0XxL]KDVVXIIHUHGVHYHUHHPRWLRQDOLQMXU\)RUWKHILUVWZHHNIROORZLQJWKHDWWDFN

   0XxL]FRXOGQRWGULYHDFDU6KHZDVDIUDLGHYHQWREHDSDVVHQJHUZLWKRXWFRYHULQJKHUOHIW

   H\HEHFDXVHWKHVLJKWRIRQFRPLQJWUDIILFZDVWHUULI\LQJ0XxL]KDVVLQFHH[SHULHQFHG

   WULJJHUV²PRPHQWVZKHUHVKHUHOLYHVWKHIHDURIWKDWGD\DQGVKHVKDNHVDQGWUHPEOHV6KHKDV

   VXIIHUHGDIHZHSLVRGHVLQZKLFKVKHKDVIDOOHQWRWKHJURXQGLQDFDWDWRQLFVWDWHDQGFDQGR

   QRWKLQJEXWFU\DQGGURROIRUORQJSHULRGV6KHKDVEHHQVOHHSLQJHUUDWLFDOO\KDVVXIIHUHGVKRUW

   WHUPPHPRU\LVVXHVDQGKDVEHFRPHVRFLDOO\ZLWKGUDZQ6KHKDVEHHQXQDEOHWRREWDLQPHGLFDO

   FDUHIRURWKHUFRQGLWLRQVGXHWRKHUVWUHVVVRVKHFRQWLQXHVWRVXIIHUIURPRWKHUDLOPHQWV6KHLV

   VHHLQJDWKHUDSLVWPXOWLSOHWLPHVSHUZHHNDQGKDVVWDUWHGWKHUDS\IRUSRVWWUDXPDWLFVWUHVV$W

   ZRUN0XxL]XVHGWRPDQDJHDGHSDUWPHQWRIDURXQGWZHQW\SHRSOHZLWKWZRPDQDJHUVEHQHDWK

   KHU

              8QDEOHWRUHWXUQWRZRUN0XxL]ZDVRQOHDYHIRUGLVDELOLW\GXULQJZKLFKWLPHVKH

   ZDVSDLGRIKHUSD\DQGKDVORVWRWKHUILQDQFLDOEHQHILWVVXFKDVWXLWLRQUHLPEXUVHPHQW

   6KHUHWXUQHGWRZRUNRQDUHGXFHGVFKHGXOHRQ1RYHPEHUEXWKHUFRPSDQ\PDGHDGHFLVLRQ

   WKDWVKHLVQRWFDSDEOHRIGRLQJWKDWMREDQ\PRUHVRVKHZDVSODFHGLQDQHZUROHZLWKOHVV

   UHVSRQVLELOLW\0HGLFDOSURIHVVLRQDOVKDYHGLDJQRVHG0XxL]ZLWKDFXWHVWUHVVGLVRUGHU0XxL]

   UHWXUQHGWRZRUNIXOOWLPHRQ-DQXDU\DOWKRXJKLQKHUQHZUROHZLWKOHVVUHVSRQVLELOLW\6KHLV

   XQGHUJRLQJZHHNO\WKHUDS\IRUKHUV\PSWRPV



                                                    
                                                      
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 91 of 112 Pageid#: 903
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 108 of 128 Pageid#:
                                    1373



             3ODLQWLII-RKQ'RH$VDUHVXOWRIEHLQJEDUNHGDW\HOOHGDWDQGSK\VLFDOO\

   DVVDXOWHG-RKQ'RHKDVVXIIHUHGQXPHURXVHPRWLRQDOLQMXULHV+HKDVKDGGLIILFXOW\IRFXVLQJLQ

   VFKRRODQGLVFRQVWDQWO\UHFDOOLQJWKHWUDXPDRI)ULGD\HYHQLQJ:KHQKHZDONVSDVWWKH7KRPDV

   -HIIHUVRQVWDWXHRQKLVFDPSXVKHLVLPPHGLDWHO\WULJJHUHGE\WKHUHFROOHFWLRQRIWKHHYHQWVRQ

   $XJXVW6LQFHWKH³UDOO\´-RKQ'RHKDVKDGGLIILFXOW\VOHHSLQJDQGKDVGHYHORSHGD

   KHLJKWHQHGDQ[LRXVVHQVHRIDZDUHQHVVLQSXEOLFVSDFHV-RKQ'RHDOVRKDGWRPLVVWZRZHHNV

   RIZRUN

             3ODLQWLII6LQHV8SRQZLWQHVVLQJWKHFDUDWWDFNDQGQHDUO\EHLQJKLW6LQHV

   VXIIHUHGH[WUHPHHPRWLRQDOGLVWUHVVDQGVKRFN6KHRIWHQZDNHVXSZLWKQLJKWPDUHVRIWKHFDU

   DWWDFNDQGKHUDFDGHPLFSHUIRUPDQFHKDVVXIIHUHGLQODZVFKRRODVDUHVXOW6LQHVLVXQDEOHWR

   IRFXVDQGKDVPLVVHGFODVVHVGXHWRKHUHPRWLRQDOGLVWUHVV6LQHVLVDOVRQRZK\SHUYLJLODQW

   DQGDIUDLGLQKHURZQKRPH

             3ODLQWLII3HDUFH,QDGGLWLRQWRWKHSK\VLFDODQGYHUEDOUHOLJLRXVEDVHGDVVDXOW

   3HDUFHH[SHULHQFHGRQ$XJXVWVKHFRQWLQXHVWRVXIIHUVHULRXVHPRWLRQDOGLVWUHVV,QKLV

   +HEUHZVFKRROFODVV3HDUFH¶VVRQZDVDVNHGWRDQVZHUVHYHUDOZULWLQJSURPSWV,QUHVSRQVHWR

   WKHTXHVWLRQ³ZKDWPDNHVPHXQFRPIRUWDEOHDERXWEHLQJ-HZLVK´KHZURWH³QHR1D]LV´




                                                     
                                                      
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 92 of 112 Pageid#: 904
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 109 of 128 Pageid#:
                                    1374




                                                                                          

   6LQFH$XJXVWDQGLQUHVSRQVHWRWKUHDWVPDGHDJDLQVWLWE\'HIHQGDQWVDQGFRFRQVSLUDWRUV

   3HDUFH¶VV\QDJRJXH%HWK,VUDHOKDVDGRSWHGDQHZHODERUDWHVHFXULW\SURWRFROWKDWOLPLWV

   SDUHQWV¶DELOLW\WRSLFNXSWKHLUFKLOGUHQIURP+HEUHZVFKRRO:KHUHDVSULRUWR$XJXVW

   VWXGHQWSLFNXSZDVDUHOD[HGMR\IXOSURFHVVGXULQJZKLFKSDUHQWVZRXOGFKDWDQGFKLOGUHQ

   ZRXOGSOD\SDUHQWVPXVWQRZHQWHUDFRGHWRDORFNHGVHFXUHGRRUDIWHUZKLFKWKH\DUH

   SHUPLWWHGWRZDLWTXLHWO\LQVLGHWKHGRRUIRUWKHLUFKLOGWREHUHWULHYHG0RUHRYHU3ODLQWLII

   3HDUFHLVQRZDIUDLGIRUKHUVDIHW\DQGIRUWKHVDIHW\RIKHUIDPLO\DWWKH6\QDJRJXH$QGVLQFH



                                                     
                                                      
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 93 of 112 Pageid#: 905
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 110 of 128 Pageid#:
                                    1375



   WKHDWWDFNVKHKDVKDGWRH[SODLQWRKHUVRQZK\WKHUHDUHDOZD\VSROLFHRIILFHUVVWDQGLQJJXDUG

   RXWVLGHWKHV\QDJRJXH

   %      'HIHQGDQWV:LOO&RQWLQXHWR&DXVH9LROHQFHDQG,QWLPLGDWLRQ8QOHVV5HVWUDLQHG
            ³:H:LOO%H%DFN´

             ,QWKHZHHNVDIWHUWKH³UDOO\´DQGWKHPDVVRILQMXULHVLQ&KDUORWWHVYLOOH

   'HIHQGDQWVQRWRQO\FODLPHG³YLFWRU\´EXWVZRUHWKDWWKH\ZRXOGUHWXUQ$OUHDG\WKH\KDYH

   IROORZHGWKURXJKRQWKHLUSURPLVH

             'HIHQGDQW6SHQFHUVDLG³7R0D\RU0LNH6LJQHUDQG:HV%HOODP\DQGDOOWKHVH

   OLWWOHFUHHSVRIWKLVOLWWOHWRZQZKRGRQ¶WXQGHUVWDQGZKRWKH\¶UHGHDOLQJZLWK²WKHORFDOOLWWOH

   ORVHUV²ZHDUHQHYHUEDFNLQJGRZQ:HDUHJRLQJWREHEDFN´

             'HIHQGDQW$QJOLQZURWHRQ$XJXVW³$VIRUPHGLDUXPRUVWKDWWKH>'DLO\

   6WRUPHU@VLWHZLOOEHVKXWGRZQ<RXVKRXOGNQRZEHWWHU,W¶VJRLQJWRWDNHEXOOHWVWRVWRS

   XV´

             &RFRQVSLUDWRU0F/DUHQWZHHWHG³%URWKHUV VLVWHUVDFURVVWKH$OW5LJKW²WKLV

   LVDWDVWHRIKRZLWIHHOVWREHWKHWLSRIWKHVSHDUHQWHULQJRXUFLYLOL]DWLRQDOFULVLV´$IHZGD\V

   ODWHUKHWZHHWHG³,I\RXZHUHWKHUHLQ&KDUORWWHVYLOOH\RX¶UHDPXVHGDWWKHSURQRXQFHPHQWV

   RIWKH$OW5LJKW¶VGHDWK:HDUHRQO\MXVWEHJLQQLQJ´

             ³7KHUH¶VQRZD\LQKHOO,¶PQRWJRLQJEDFNWR&KDUORWWHVYLOOH´'HIHQGDQW

   6SHQFHUGHFODUHGDWDSUHVVFRQIHUHQFHZLWK'HIHQGDQW'DPLJR'HIHQGDQW0RVOH\WROGWKH

   +XIILQJWRQ3RVW³2XUSHRSOHDUHIHHOLQJUHDOJRRGULJKWQRZ«7KLVGD\ZDVDPLOHVWRQH

   SXVKLQJXVLQWRRXUQH[WVWDJH:HKDGDODUJHWXUQRXW:H¶UHFRPLQJEDFNWR&KDUORWWHVYLOOH´

             7KH'DLO\6WRUPHUDOVRYRZHGWKDWLWZRXOGKROGVLPLODUHYHQWV³VRRQ´$SRVW

   RQWKHZHEVLWHUHDG³:HDUHJRLQJWRVWDUWGRLQJWKLVQRQVWRS$FURVVWKHFRXQWU\:HDUH


                                                      
                                                       
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 94 of 112 Pageid#: 906
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 111 of 128 Pageid#:
                                    1376



   JRLQJWRJRELJJHUWKDQ&KDUORWWHVYLOOH:HDUHJRLQJWRJRKXJH´)XUWKHUPRUHLWWROGUHDGHUV

   WKDW³>Z@HDUHQRZDWZDU´DQGSURPLVHGWR³WDNHRYHUWKHFRXQWU\´

             'HIHQGDQW.HVVOHUSURPLVHG³:H¶UHJRLQJWRKDYHELJJHUDQGELJJHUHYHQWVLQ

   &KDUORWWHVYLOOH´

             'HIHQGDQWVSODQIRUWKHVHRWKHUHYHQWVWREHYLROHQW$IWHUWKH8QLWHWKH5LJKW

   ³UDOO\´'HIHQGDQW&DQWZHOOH[SODLQHG³,FDPHSUHWW\ZHOOSUHSDUHGIRUWKLVWKLQJWRGD\´ZKLOH

   SXOOLQJRXWWKUHHSLVWROVWZRVHPLDXWRPDWLFPDFKLQHJXQVDQGDNQLIH2IWKHQH[W³DOWULJKW

   SURWHVW´KHVDLG³LW¶VJRLQJWREHWRXJKWRWRSEXWZH¶UHXSWRWKHFKDOOHQJH,WKLQNDORW

   PRUHSHRSOHDUHJRLQJWRGLHEHIRUHZH¶UHGRQHKHUHIUDQNO\´

             )ROORZLQJKLVUHOHDVHRQERQGIRUWKHRIIHQVHVFRPPLWWHGRQ$XJXVW

   'HIHQGDQW&DQWZHOOUHPDUNHGWKDWDIWHUKLVVWLQWLQSULVRQKHZDQWVWR³WXUQLWXSWR´

             2QHZHHNDIWHUWKH8QLWHWKH5LJKW³UDOO\´5LFKDUG6SHQFHU¶VZHEVLWH9LQFHQW

   /DZSXEOLVKHG³7KH$OW5LJKWLV)LQLVKHG'HEDWLQJ1R0RUH:RUGV2QO\3UHSDUDWLRQ1RZ´

                              1RZZKDWKDSSHQVQH[W"2XUVLGHFHUWDLQO\LVQ¶WUHDG\IRU
                      PDVVDFWLRQ\HW$QGWKHUHDUHQRVWUHHWDFWLRQVSODQQHGIRUWKH
                      QHDUIXWXUH6WLOOWKHOLQHVKDYHEHHQGUDZQ7KLQNDERXWWKRVH
                      EUDYH \RXQJ PHQ DW &KDUORWWHVYLOOH  7KHUH LV QR JRLQJ EDFN IRU
                      WKHP

                              7KH SXEOLF ZLOO VHH YHU\ VRRQ WKDW GHEDWH LV SRLQWOHVV
                      7KHUHDUHQRSULQFLSOHVDWSOD\DQ\PRUH2QO\RXUWULEHDQGWKHLUV
                      $QG RQO\ RQH JURXS RXW WKHUH KDV GUDZQ D OLQH LQ WKH FOD\ DQG
                      GHFLGHGWRPDNHDVWDQGIRUZKDWLVWKHLUVE\ELUWKE\EORRGDQG
                      E\WKHZLOORI*RG7KH$OW5LJKWLVILQLVKHGGHEDWLQJQHJRWLDWLQJ
                      VXUUHQGHULQJ:H¶UHUHDG\WRFORVHUDQNVDQGILJKWIRUZKDWLVRXUV
                      3RVW&KDUORWWHVYLOOH RXU IOHHW OLHV DW WKH ERWWRP RI D GHHS DQG
                      WURXEOHGVHDDQGZHFDQRQO\PDUFKRQIRUZDUGOLNH&RUWH]RQFH
                      GLG$QGOLNHKLPZHVWDQGSRLVHGWRFRQTXHUWKHFRQWLQHQW

             2Q6DWXUGD\2FWREHU'HIHQGDQW6SHQFHUDQGRWKHUFRFRQVSLUDWRUVUHWXUQHGWR

   &KDUORWWHVYLOOH7KHFDOOHGWKHHYHQW³&KDUORWWHVYLOOH´$JDLQWKH\FDUULHGWLNLWRUFKHVDQG

                                                          
                                                           
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 95 of 112 Pageid#: 907
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 112 of 128 Pageid#:
                                    1377



   DJDLQWKH\FKDQWHG³<RXZLOOQRWUHSODFHXV´%XWWKLVWLPHWKH\DGGHG³:HZLOOEHEDFNZH

   ZLOOEHEDFN´

             2Q1RYHPEHU'HIHQGDQW.HVVOHUILOHGDQDSSOLFDWLRQIRUDSHUPLWWR

   KROGDQRWKHU³UDOO\´LQ&KDUORWWHVYLOOH$OWKRXJKWKDWDSSOLFDWLRQZDVGHQLHG.HVVOHUKDV

   LQGLFDWHGWKDWLWZLOOSURFHHGQRQHWKHOHVV,WLVVFKHGXOHGWRRFFXURQ$XJXVWDQG

           & 'HIHQGDQWV&RQWLQXH7KHLU(IIRUWVRI0XWXDO6XSSRUWDQG&RRUGLQDWLRQ

             8VLQJPDQ\RIWKHVDPHSODWIRUPVWKH'HIHQGDQWVXVHGWRIXQGWKHLUSUH´UDOO\´

   FRRUGLQDWLRQDQGSODQQLQJ'HIHQGDQWVKDYHVLQFHSURYLGHGPXWXDOVXSSRUWWRGHIUD\WKHFRVWV

   DVVRFLDWHGZLWKWKHLUXQODZIXOFRQGXFW

             'HIHQGDQW&DQWZHOOSRVWHGEDLOLQFRQQHFWLRQZLWKKLVIHORQ\LQGLFWPHQWE\

   FURZGIXQGLQJRQZKLWHVXSUHPDFLVWVXSSRUWLYHVLWHV+DWUHRQDQG*R\)XQG0H&DQWZHOO¶V

   *R\)XQG0HSDJHVROLFLWHGGRQDWLRQVIRUWKH³-XVWLFH)XQG´DSHUVRQDOL]HGYHUVLRQRIWKH

   SRSXODUZKLWHVXSUHPDFLVWQXPHULFV\PERO³´7KH³´VWDQGVIRUWKH:RUGVVORJDQ

   ZKLFKLVWKHKHDUWRI&DQWZHOODQGKLVFRFRQVSLUDWRUV¶LGHRORJ\³:HPXVWVHFXUHWKHH[LVWHQFH

   RIRXUSHRSOHDQGDIXWXUHIRUZKLWHFKLOGUHQ´,QSODFHRIWKHXVXDO³´ZKLFKLVVKRUWKDQGIRU

   ³+HLO+LWOHU´ +EHLQJWKHWKOHWWHURIWKHDOSKDEHW ³´LVDVWDQGLQIRU³&&´RU³&KULV

   &DQWZHOO´

             :KLOHLQSULVRQ'HIHQGDQW&DQWZHOOFRQWLQXHGWREURDGFDVWKLVSRGFDVW5DGLFDO

   $JHQGDZLWKWKHDVVLVWDQFHRI'HIHQGDQW3HLQRYLFK0RUHRYHU3HLQRYLFKDVVLVWHG&DQWZHOOLQ

   KLVIXQGUDLVLQJE\GLVWULEXWLQJUHFRUGLQJVRISKRQHFDOOVIURPMDLOLQZKLFK&DQWZHOOPDNHVSOHDV

   IRUGRQDWLRQV

             6LPLODUO\'HIHQGDQW'DPLJRIRXQGHURIFR'HIHQGDQW,GHQWLW\(YURSD

   HVWDEOLVKHGDSXUSRUWHG³,GHQWLW\(YURSD'HIHQVH)XQG´DQGVROLFLWHGGRQDWLRQVIRUKLPVHOI

                                                    
                                                     
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 96 of 112 Pageid#: 908
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 113 of 128 Pageid#:
                                    1378



   'HIHQGDQW0RVOH\DQG'HIHQGDQW,GHQWLW\(YURSD0RVOH\DQG'DPLJRDOVRDSSHDUHGWRJHWKHU

   ZLWK'HIHQGDQW6SHQFHURQ³5HG,FH79´WRVROLFLWGRQDWLRQV

                                         &2163,5$&<$&76

             $VGHWDLOHGDERYHDOO'HIHQGDQWVKDGDQDJUHHPHQWDQGXQGHUVWDQGLQJWRHQJDJH

   LQSURPRWHDQGLQFLWHUDFLDOUHOLJLRXVDQGHWKQLFLW\EDVHGKDUDVVPHQWDQGYLROHQFH7KH\GLG

   VRWKURXJKDPRQJRWKHUWKLQJVXVLQJDQGHQFRXUDJLQJWKHXVHRIZHDSRQVDQGFDXVWLF

   VXEVWDQFHVPLOLWDU\VW\OHPDUFKHVEXUQLQJWRUFKHVLQWLPLGDWLQJLFRQRJUDSK\DQGWKUHDWVRI

   YLROHQFH7KH\GLGVRLQRUGHUWR D LQMXUHEODFNDQG-HZLVKUHVLGHQWVRI9LUJLQLDE\GHQ\LQJ

   WKHPWKHHTXDOSULYLOHJHVDQGLPPXQLWLHVRIFLWL]HQVKLSDQGWKHXVHEHQHILWVDQGSULYLOHJHVRI

   SURSHUW\DQGRUFRQWUDFWXDOUHODWLRQVKLSV E IXUWKHU'HIHQGDQWV¶FDXVHRIUHFUXLWLQJQHZ

   IROORZHUVWRHQJDJHLQUDFLDOUHOLJLRXVDQGHWKQLFDOO\PRWLYDWHGYLROHQFHUHIHUHQFHGDERYHERWK

   DWWKH8QLWHWKH5LJKW³UDOO\´DQGLQWKHIXWXUHDQG F FRPSHOWKHFLW\RI&KDUORWWHVYLOOHWR

   PDLQWDLQWKHVWDWXHRI5REHUW(/HHLQ(PDQFLSDWLRQ3DUNDVDPHDQVRIIXUWKHULQJWKHLU

   DIRUHPHQWLRQHGJRDOV

             $OO'HIHQGDQWVZLWKWKHH[FHSWLRQRI'HIHQGDQW)LHOGVRQEHKDOIRIWKHPVHOYHV

   RUWKHRUJDQL]DWLRQVIRUZKLFKWKH\DUHDJHQWVSODQQHGDQGFRRUGLQDWHGWKH8QLWHWKH5LJKW

   ³UDOO\´HQFRXUDJHGDWWHQGDQFHDFWLYHO\RUJDQL]HGIROORZHUVWRDWWHQGFRRUGLQDWHGORJLVWLFDO

   VXSSRUWWRDWWHQGHHVSURPRWHGWKH³UDOO\´DVYLROHQWDQGHQFRXUDJHGDWWHQGHHVWRSUHSDUHIRU

   DQGFRPPLWYLROHQWDFWV

             $PRQJRWKHUWKLQJVWKH\XVHGRQOLQHDQGPHGLDSODWIRUPVWRHQFRXUDJH

   DWWHQGDQFHDWWKH8QLWHWKH5LJKW³UDOO\´WRGLVFXVVDQGSURPRWHFDXVLQJKDUPWR-HZLVKSHRSOH

   DQGSHRSOHRIFRORUDQGWRSURPRWHYLROHQFH



                                                    
                                                      
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 97 of 112 Pageid#: 909
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 114 of 128 Pageid#:
                                    1379



             'HIHQGDQW6SHQFHUDQGFRFRQVSLUDWRU0F/DUHQPHWLQSHUVRQWRSODQXQODZIXO

   DFWVRIYLROHQFHLQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQIRUWKH8QLWHWKH5LJKWHYHQWV

             'HIHQGDQWV&DQWZHOODQG.HVVOHUPHWLQSHUVRQLQ&KDUORWWHVYLOOHWRSODQ

   XQODZIXODFWVRIYLROHQFHLQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQIRUWKH8QLWHWKH5LJKW

   HYHQWV

             'HIHQGDQWV5D\&DQWZHOODQG0RVOH\DQGFRFRQVSLUDWRU'DYLG'XNHDWWHQGHG

   DQLQSHUVRQSODQQLQJPHHWLQJRQ$XJXVWWRSODQXQODZIXODFWVRIYLROHQFHLQWLPLGDWLRQDQG

   GHQLDORIHTXDOSURWHFWLRQDWWKH8QLWHWKH5LJKWHYHQWV

             'HIHQGDQWV$QJOLQDQG5D\ XVLQJDPRQJRWKHUWKLQJV'DLO\6WRUPHU¶VZHEVLWH 

   +LOODQG(DVW&RDVW.QLJKWVRUJDQL]HGDQGFDXVHGRWKHUVWRDWWHQGWKH8QLWHWKH5LJKWHYHQWV

   DQGFRPPLWDFWVRIYLROHQFHLQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQ

             'HIHQGDQWV1DWLRQDOLVW)URQW1607:3/HDJXHRIWKH6RXWK9DQJXDUG

   $PHULFD(DVW&RDVW.QLJKWVDQG³RWKHUDOOLHV´FRRUGLQDWHGWKHLUDWWHQGDQFHDVD³MRLQW

   RSHUDWLRQ´LQDGYDQFHRI$XJXVWLQRUGHUWRSODQXQODZIXODFWVRIYLROHQFHLQWLPLGDWLRQDQG

   GHQLDORIHTXDOSURWHFWLRQDWWKH8QLWHWKH5LJKWHYHQWV

             'HIHQGDQW'DPLJRDQGKLVJURXS,GHQWLW\(YURSDWRRNDOHDGUROHLQRUJDQL]LQJ

   ZKLWHVXSUHPDFLVWSDUWLFLSDWLRQDPRQJSHRSOHIURPRXWVLGH&KDUORWWHVYLOOHWRHQJDJHLQXQODZIXO

   DFWVRIYLROHQFHLQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQDWWKH8QLWHWKH5LJKWHYHQWV

             'HIHQGDQWV.HVVOHUDQG0RVOH\RUJDQL]HGWKH³UDOO\´DQGFRRUGLQDWHGORJLVWLFV

   DORQJZLWKFRFRQVSLUDWRU7\URQHIRUDWWHQGHHVRQ$XJXVWLQ&KDUORWWHVYLOOHVRWKDWWKH\

   ZRXOGHQJDJHLQXQODZIXODFWVRIYLROHQFHLQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQDWWKH

   8QLWHWKH5LJKWHYHQWV



                                                    
                                                     
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 98 of 112 Pageid#: 910
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 115 of 128 Pageid#:
                                    1380



             'HIHQGDQW.HVVOHUDQG0RVOH\PRGHUDWHGUHYLHZHGDQGPDQDJHGWKH

   &KDUORWWHVYLOOHGLVFXVVLRQIRUXPRQWKHDSSOLFDWLRQQDPHG'LVFRUGWRGLUHFWDQGSODQXQODZIXO

   DFWVRIYLROHQFHLQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQDWWKH8QLWHWKH5LJKWHYHQWV

   $ORQJZLWK.HVVOHUDQG0RVOH\'HIHQGDQWV+HLPEDFK3DUURWW&DQWZHOO5D\DQDJHQWRI'DLO\

   6WRUPHU DQGKHQFH'HIHQGDQWV$QJOLQDQG0RRQEDVH+ROGLQJV DQGFRFRQVSLUDWRU7\URQH

   ZHUHDOOSDUWLFLSDQWVLQ'LVFRUGDQGLQWKHGLUHFWLRQSODQQLQJDQGLQFLWLQJRIVXFKXQODZIXODFWV

   WKURXJK'LVFRUGLQFOXGLQJWKHXVHRIZHDSRQVDQGREMHFWVWRLQIOLFWKDUPDQGLQWLPLGDWH

   'HIHQGDQWV9DQJXDUG$PHULFD,GHQWLW\(YURSD7:3/HDJXHRIWKH6RXWKDQG0RRQEDVH

   +ROGLQJV WKURXJK'DLO\6WRUPHU DOOKDGPHPEHUVRQWKH'LVFRUGFKDQQHO

             'HIHQGDQWV&DQWZHOO5D\DQG$QJOLQDPRQJRWKHUVDGYLVHGUDOO\JRHUVRQ

   EULQJLQJZHDSRQV

             8VLQJ'LVFRUG'HIHQGDQWV.HVVOHUDQG0RVOH\VHWXSDFKDQQHOIRUFR

   FRQVSLUDWRUVWRFRRUGLQDWHXQODZIXODFWVDWWKH8QLWHWKH5LJKWHYHQWVLQFOXGLQJDFWVRIYLROHQFH

   LQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQ

             'HIHQGDQWV$QJOLQ5D\DQGWKURXJK'DLO\6WRUPHU0RRQEDVH+ROGLQJVVHWXS

   DFKDQQHOIRUFRFRQVSLUDWRUVWRFRRUGLQDWHXQODZIXODFWVLQFOXGLQJDFWVRIYLROHQFH

   LQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQDWWKH8QLWHWKH5LJKWHYHQWV

             'HIHQGDQWV&DQWZHOO.HVVOHU0RVOH\$QJOLQ5D\DQG3HLQRYLFKDQGRWKHUV

   UDLVHGIXQGVSODQQHGIRUOHJDOVXSSRUWDQGDUUDQJHGWUDYHOIRUWKHSDUWLFLSDQWVZKRHQJDJHGLQ

   XQODZIXODFWVRIYLROHQFHLQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQDWWKH8QLWHWKH5LJKW

   HYHQWV

             'HIHQGDQWV3HLQRYLFK,QYLFWXV.HVVOHU6SHQFHU&DQWZHOO+HLPEDFKDQG+LOO

   ZHUHIHDWXUHGLQWKHSURPRWLRQDOSRVWHUIRUWKH8QLWHWKH5LJKW³UDOO\´

                                                    
                                                     
   Y
   
Case
    3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 99 of 112 Pageid#: 911
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 116 of 128 Pageid#:
                                    1381



             'HIHQGDQWV&DQWZHOO0RVOH\6SHQFHU.HVVOHU5D\$QJOLQDQGFRFRQVSLUDWRUV

   SODQQHGDQGRUJDQL]HGD³VHFUHW´WRUFKSDUDGHDW89$IRU$XJXVWZLWKDSODQDQGLQWHQWWR

   LQWLPLGDWHWKUHDWHQDQGKDUDVV&KDUORWWHVYLOOHUHVLGHQWVSDUWLFXODUO\-HZVEODFNVDQGRWKHU

   PLQRULW\UHVLGHQWV

             'HIHQGDQWV&DQWZHOO0RVOH\6SHQFHU.HVVOHU5D\DQG,QYLFWXVDWWHQGHGDQG

   SDUWLFLSDWHGLQWKHYLROHQW$XJXVWWRUFKSDUDGHDQGGLUHFWHGDQGLQFLWHGSK\VLFDODVVDXOWVDQG

   YLROHQFHWKHXVHRIRSHQIODPHVDQGWKHLQWLPLGDWLRQRIPLQRULW\UHVLGHQWVDQGWKRVHZKR

   DGYRFDWHIRUHTXDOULJKWVIRUPLQRULW\FLWL]HQV

             'HIHQGDQW&DQWZHOODVVDXOWHGSHDFHIXOSURWHVWRUVZLWKPDFHDFDXVWLFVXEVWDQFH

   GXULQJWKH$XJXVWPDUFK

             &RFRQVSLUDWRUVDWWHQGHGWKHWRUFKOLJKWPDUFKRQ$XJXVWDQGHQJDJHGLQDFWV

   RILQWLPLGDWLRQKDUDVVPHQWDQGYLROHQFH

             $OO'HIHQGDQWVZLWKWKHH[FHSWLRQRI$QJOLQDWWHQGHGDQGSDUWLFLSDWHGLQWKH

   8QLWHWKH5LJKW³UDOO\´RQ$XJXVWGXULQJZKLFKWKH\WKUHDWHQHGLQWLPLGDWHGDQGKDUDVVHG

   SURWHVWRUVDQGPLQRULW\UHVLGHQWVDQGLQFLWHGDQGHQJDJHGLQYLROHQFH'HIHQGDQW)LHOGV

   DWWHQGHGZLWK9DQJXDUG$PHULFDZHDULQJWKHXQLIRUPZKLWHSRORDQGNKDNLVDQGFDUU\LQJD

   EODFNVKLHOGZLWKWKH9DQJXDUGORJR

             $OO'HIHQGDQWVZLWKWKHH[FHSWLRQRI'HIHQGDQW)LHOGVGLUHFWHGDQGLQFLWHGDFWV

   RIYLROHQFHDQGLQWLPLGDWLRQDWWKH8QLWHWKH5LJKW³UDOO\´RQ$XJXVW

             &R&RQVSLUDWRUVDWWHQGHGWKH8QLWHWKH5LJKW³UDOO\´RQ$XJXVWDQGHQJDJHG

   LQDFWVRILQWLPLGDWLRQKDUDVVPHQWDQGYLROHQFH




                                                   
                                                       
   Y
   
Case
   3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 100 of 112 Pageid#:
                                    912
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 117 of 128 Pageid#:
                                    1382



             'HIHQGDQW)LHOGVGHOLEHUDWHO\GURYHKLV'RGJH&KDOOHQJHULQWRDFURZGRI

   SHDFHIXOSURWHVWRUVRQ$XJXVWLQWHQGLQJWRLQVWLOOIHDULQWKHFRPPXQLW\DQGWRFDXVHLQMXULHV

   RQDPDVVVFDOH

                                           &$86(62)$&7,21

                                       &2817,86&  

                                  %\$OO3ODLQWLIIV$JDLQVW$OO'HIHQGDQWV 

                 3ODLQWLIIVLQFRUSRUDWHKHUHLQE\UHIHUHQFHWKHDYHUPHQWVFRQWDLQHGLQDOOSUHFHGLQJ

   SDUDJUDSKV

             'HIHQGDQWVSORWWHGFRRUGLQDWHGDQGH[HFXWHGDFRPPRQSODQWRHQJDJHLQ

   YLROHQFHDQGLQWLPLGDWLRQLQWKHVWUHHWVRI&KDUORWWHVYLOOH

             ,QIXUWKHUDQFHRIDFRQVSLUDF\WRYLRODWHWKHULJKWVRI3ODLQWLIIVDQGRWKHUEODFN

   DQG-HZLVKSHRSOHDQGWKHLUVXSSRUWHUV'HIHQGDQWVUHSHDWHGO\HQJDJHGLQFDPSDLJQVRI

   YLROHQFHWKUHDWVDQGLQWLPLGDWLRQDW/HH3DUNDQGWKURXJKRXWWKHFLW\RI&KDUORWWHVYLOOH

             'HIHQGDQWVKDYHFRPPLWWHGQXPHURXVRYHUWDFWVLQIXUWKHUDQFHRIWKHFRQVSLUDF\

   WRYLRODWH3ODLQWLIIV¶ULJKWVZKLFKDUHVHWIRUWKLQWKHSDUDJUDSKVDERYH'HIHQGDQWVKDYHVRXJKW

   WRFUHDWHDQDWPRVSKHUHRIYLROHQFHDJDLQVW3ODLQWLIIVDQGWRYLRODWH3ODLQWLIIV¶HTXDOULJKWV

   LQFOXGLQJWKRVHXQGHU86&

             &RFRQVSLUDWRUVZKRVHLGHQWLWLHVDUHQRWNQRZQFRPPLWWHGQXPHURXVDGGLWLRQDO

   DFWVLQIXUWKHUDQFHRIWKHFRQVSLUDF\WRYLRODWH3ODLQWLIIV¶ULJKWVLQFOXGLQJWKRVHDOOHJHGKHUHLQ

             7KHLOOHJDODFWLYLWLHVGHVFULEHGZHUHXQGHUWDNHQE\'HIHQGDQWVWKHLUDJHQWVDQG

   FRFRQVSLUDWRUVDVH[SUHVVRYHUWDFWVSXUVXDQWWRDQXQODZIXOFRQVSLUDF\WKHSXUSRVHRIZKLFK

   ZDVDQGLVWRGLVFULPLQDWRULO\GHSULYHEODFN-HZLVKQRQZKLWHLQGLYLGXDOVDQGWKHLUZKLWH

   VXSSRUWHUVRIWKHLUULJKWVWRWKHHTXDOSURWHFWLRQRIWKHODZVDQGWKHLUULJKWVWRWKHHTXDO


                                                      
                                                        
   Y
   
Case
   3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 101 of 112 Pageid#:
                                    913
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 118 of 128 Pageid#:
                                    1383



   HQMR\PHQWRIWKHSULYLOHJHVDQGLPPXQLWLHVRIFLWL]HQVRIWKH8QLWHG6WDWHVJXDUDQWHHGE\WKH

   &RQVWLWXWLRQDQGODZVEHFDXVHRIWKHLUUDFHUHOLJLRQDQGRSHQDQGREYLRXVDGYRFDF\IRUWKH

   ULJKWVRIQRQZKLWHLQGLYLGXDOV

             $VDUHVXOWRIWKHDFWVVHWRXWLQWKHDERYHSDUDJUDSKVFRPPLWWHGLQIXUWKHUDQFHRI

   WKLVFRQVSLUDF\3ODLQWLIIVVXIIHUHGLQMXULHVWRWKHLUSHUVRQRUSURSHUW\DQGRUVXIIHUHGWKH

   GLVFULPLQDWRU\GHSULYDWLRQRIRQHRUPRUHRIWKHLUULJKWVRUSULYLOHJHVJXDUDQWHHGE\WKH

   &RQVWLWXWLRQRUODZVEHFDXVHRIRQHRUPRUHRIWKHLOOHJDORYHUWDFWVRI'HIHQGDQWVDQGWKHLU

   DJHQWV7KHVHULJKWVLQFOXGHEXWDUHQRWOLPLWHGWRWKHLUULJKWVWREHIUHHRIWKHEDGJHVDQG

   LQFLGHQWVRIVODYHU\SXUVXDQWWRWKH7KLUWHHQWK$PHQGPHQWDVZHOODVWKHLUULJKWVSURWHFWHGE\

   86&

             %HFDXVHRI'HIHQGDQWV¶YLRODWLRQRI3ODLQWLIIV¶ULJKWV3ODLQWLIIVKDYHVXIIHUHG

   QXPHURXVDQGYDULRXVLQMXULHVLQFOXGLQJERGLO\LQMXU\LQMXULHVWRSURSHUW\ORVWLQFRPHDQG

   VHYHUHHPRWLRQDOGLVWUHVV

                                        &2817,,86&

                                  %\$OO3ODLQWLIIV$JDLQVW$OO'HIHQGDQWV 

             3ODLQWLIIVLQFRUSRUDWHKHUHLQE\UHIHUHQFHWKHDYHUPHQWVFRQWDLQHGLQDOOSUHFHGLQJ

   SDUDJUDSKV

             'HIHQGDQWVDOOSRVVHVVHGDFWXDONQRZOHGJHRIWKH6HFWLRQ  DQWLFLYLOULJKWV

   FRQVSLUDF\GHVFULEHGLQWKLVFRPSODLQWWKDWZDVSODQQHGDQGWKHQXQGHUWDNHQDJDLQVWWKHFODVVRI

   $PHULFDQFLWL]HQVGHVFULEHG²LQFOXGLQJDQXPEHURIWKH3ODLQWLIIVQDPHGKHUHLQ

             'HIHQGDQWVDVRUJDQL]HUVSODQQHUVSURPRWHUVDQGOHDGHUVRIWKHFRQVSLUDF\

   ZHUHHDFKLQDSRVLWLRQDQGKDGWKHSRZHUWRKDYHVWRSSHGWKHDQWLFLYLOULJKWVFRQVSLUDF\RUWR

   DLGLQVWRSSLQJLW

                                                    
                                                      
   Y
   
Case
   3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 102 of 112 Pageid#:
                                    914
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 119 of 128 Pageid#:
                                    1384



             (DFKRIWKH'HIHQGDQWVIDLOHGDQGUHIXVHGWRWDNHDQ\VWHSVWRDWWHPSWWRVWRSWKLV

   FRQVSLUDF\RUDQ\RIWKHRYHUWDFWVFRPPLWWHGLQIXUWKHUDQFHRIWKHFRQVSLUDF\VRDVWRVWRSWKH

   LQMXULHVZKLFKRFFXUUHGWR3ODLQWLIIVRUWRRWKHUPHPEHUVRIWKHFODVVRIFLWL]HQVWDUJHWHGE\WKH

   DQWLFLYLOULJKWVFRQVSLUDF\GHVFULEHG

             7KHIDLOXUHRI'HIHQGDQWVWRWDNHDQ\VWHSVWRDLGLQSUHYHQWLQJWKHDFWLRQV

   GHVFULEHGKHUHLQE\LQIRUPLQJWKHODZIXODXWKRULWLHVRURWKHUZLVHYLRODWHGWKHFRPPDQGRI

   86&

             3ODLQWLIIVVXIIHUHGWKHLULQMXULHVDVDUHVXOWRIWKHLQGLYLGXDO'HIHQGDQWV¶IDLOXUHWR

   VWRSWKHGHVFULEHGFRQVSLUDF\

                                   &2817,,,&,9,/&2163,5$&<
                                                      
                                  %\$OO3ODLQWLIIV$JDLQVW$OO'HIHQGDQWV 

             3ODLQWLIIVLQFRUSRUDWHKHUHLQE\UHIHUHQFHWKHDYHUPHQWVFRQWDLQHGLQDOOSUHFHGLQJ

   SDUDJUDSKV

             (DFK'HIHQGDQWFRQVSLUHGWRJHWKHUDQGFRPELQHGZLWKRQHRUPRUHRWKHUSHUVRQV

   WRDFFRPSOLVKWKURXJKWKHFRQFHUWHGDFWLRQGHVFULEHGDERYHXQODZIXODQGWRUWLRXVDFWV

   LQFOXGLQJ

                 D 6XEMHFWLQJSHUVRQVWRDFWVRILQWLPLGDWLRQRUKDUDVVPHQWPRWLYDWHGE\UDFLDO

                      UHOLJLRXVRUHWKQLFDQLPRVLW\LQYLRODWLRQRI9LUJLQLD&RGH

                 E 'LUHFWLQJYLROHQFHDWDQRWKHUSHUVRQPRWLYDWHGE\UDFLDOUHOLJLRXVRUHWKQLF

                      DQLPRVLW\LQYLRODWLRQRI9LUJLQLD&RGH

                 F 'LUHFWLQJYDQGDOLVPDWDSHUVRQ¶VUHDORUSHUVRQDOSURSHUW\PRWLYDWHGE\UDFLDO

                      UHOLJLRXVRUHWKQLFDQLPRVLW\LQYLRODWLRQRI9LUJLQLD&RGH

                 G &DXVLQJRUSURGXFLQJDULRWLQYLRODWLRQRI9LUJLQLD&RGH

                                                       
                                                        
   Y
   
Case
   3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 103 of 112 Pageid#:
                                    915
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 120 of 128 Pageid#:
                                    1385



                 H 'LUHFWLQJLQFLWLQJRUVROLFLWLQJRWKHUSHUVRQVSDUWLFLSDWLQJLQDULRWWRDFWVRI

                      IRUFHRUYLROHQFHLQYLRODWLRQRI9LUJLQLD&RGH

                 I &DXVLQJSXEOLFLQFRQYHQLHQFHDQQR\DQFHRUDODUPRUUHFNOHVVO\FUHDWLQJDULVN

                      WKHUHRILQYLRODWLRQRI9LUJLQLD&RGH

                 J $VVHPEOLQJDFROOHFWLRQRISHRSOHIRUWKHSXUSRVHDQGZLWKWKHLQWHQWLRQRI

                      FRPPLWWLQJDQGDFWXDOO\FRPPLWWLQJDQDVVDXOWRUEDWWHU\RQDQRWKHUSHUVRQLQ

                      YLRODWLRQRI9LUJLQLD&RGHDQG

                 K $VVHPEOLQJDFROOHFWLRQRISHRSOHIRUWKHSXUSRVHDQGZLWKWKHLQWHQWLRQRI

                      FRPPLWWLQJDQGDFWXDOO\FRPPLWWLQJDQDFWRIYLROHQFH DVGHILQHGLQ9LUJLQLD

                      &RGH LQYLRODWLRQRI9LUJLQLD&RGHDQG

                      

                 L 0DOLFLRXVO\FDXVLQJDQRWKHUSHUVRQERGLO\LQMXU\E\XVHRIDQ\H[SORVLYHRUILUH

                      LQYLRODWLRQRI9LUJLQLD&RGH

                 M %XUQLQJDQREMHFWZLWKWKHLQWHQWWRLQWLPLGDWHRQDKLJKZD\RURWKHUSXEOLFSODFH

                      LQDPDQQHUKDYLQJDGLUHFWWHQGHQF\WRSODFHDQRWKHUSHUVRQLQUHDVRQDEOHIHDURI

                      DSSUHKHQVLRQRIGHDWKRUERGLO\LQMXU\LQYLRODWLRQRI9LUJLQLD&RGH

                      

                 N %XUQLQJDQREMHFWZLWKWKHLQWHQWWRLQWLPLGDWHRQWKHSULYDWHSURSHUW\RIDQRWKHU

                      ZLWKRXWSHUPLVVLRQLQYLRODWLRQRI9LUJLQLD&RGH

                 O &RPPLWWLQJDQDFWRIYLROHQFHZLWKWKHLQWHQWWRLQWLPLGDWHDFLYLOLDQSRSXODWLRQDW

                      ODUJHRULQIOXHQFHWKHFRQGXFWRUDFWLYLWLHVRIDJRYHUQPHQWWKURXJKLQWLPLGDWLRQ

                      LQYLRODWLRQRI



                                                       
                                                         
   Y
   
Case
   3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 104 of 112 Pageid#:
                                    916
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 121 of 128 Pageid#:
                                    1386



                 P 3RVVHVVLQJXVLQJVHOOLQJJLYLQJGLVWULEXWLQJRUPDQXIDFWXULQJDZHDSRQRU

                      LPLWDWLRQZHDSRQWKDWFRXOGFDXVHVHULRXVERGLO\KDUPLQFRQQHFWLRQZLWKDQDFW

                      RIWHUURULVPLQYLRODWLRQRI9LUJLQLD&RGH

                 Q ,QYLWLQJVROLFLWLQJUHFUXLWLQJHQFRXUDJLQJRURWKHUZLVHFDXVLQJDQRWKHUWR

                      SDUWLFLSDWHLQDQDFWRIWHUURULVPLQYLRODWLRQRI9LUJLQLD&RGH

                 R .QRZLQJO\SURYLGLQJPDWHULDOVXSSRUWWRDQLQGLYLGXDORURUJDQL]DWLRQZKRVH

                      SULPDU\REMHFWLYHLVWRFRPPLWDQDFWRIWHUURULVPZLWKWKHLQWHQWWRIXUWKHUWKH

                      LQGLYLGXDORURUJDQL]DWLRQ¶VREMHFWLYHVLQYLRODWLRQRI9LUJLQLD&RGH

                 S (QJDJLQJLQDQRYHUWDFWLQWHQGHGWRLQIOLFWERGLO\KDUPRULQWHQGHGWRSODFHWKH

                      YLFWLPLQIHDURUDSSUHKHQVLRQRIERGLO\KDUP DVVDXOW 

                 T &RPPLWWLQJDQXQZDQWHGWRXFKLQJWKDWZDVQHLWKHUFRQVHQWHGWRH[FXVHGRU

                      MXVWLILHG EDWWHU\ 

                 U &DXVLQJUHDVRQDEOHDSSUHKHQVLRQWKDWIRUFHZLOOEHXVHGXQOHVVDSHUVRQZLOOLQJO\

                      VXEPLWVDQGFDXVLQJKLPWRVXEPLWWRWKHH[WHQWWKDWKHLVGHQLHGIUHHGRPRI

                      DFWLRQ IDOVHLPSULVRQPHQW 

             (DFKRIWKH3ODLQWLIIVVXIIHUHGGDPDJHVUHVXOWLQJIURPDFWVFRPPLWWHGLQ

   IXUWKHUDQFHRIWKHFRQVSLUDF\

             $VFRFRQVSLUDWRUV'HIHQGDQWVDUHFLYLOO\OLDEOHWR3ODLQWLIIVIRUWKHDFWLRQVRIDOO

   LQGLYLGXDOVZKRDFWHGLQSXUVXLWRIWKHFRPPRQFRQVSLUDWRULDOVFKHPH

                                 &2817,91(*/,*(1&(3(56(
                                                     
                  %\3ODLQWLIIV0XxL]6LQHV%ODLU0DUWLQ$OYDUDGRDQG5RPHUR
                                       $JDLQVW'HIHQGDQW)LHOGV 
                                                     
             3ODLQWLIIVLQFRUSRUDWHKHUHLQE\UHIHUHQFHWKHDYHUPHQWVFRQWDLQHGLQDOOSUHFHGLQJ

   SDUDJUDSKV
                                                       
                                                         
   Y
   
Case
   3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 105 of 112 Pageid#:
                                    917
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 122 of 128 Pageid#:
                                    1387



             3XUVXDQWWR9LUJLQLD&RGHDQ\SHUVRQZKRFRPPLWVRUFRQVSLUHVWR

   FRPPLWRUDLGVDQGDEHWVWKHFRPPLVVLRQRIDQDFWRIWHUURULVPLVJXLOW\RIDIHORQ\

             9LUJLQLD&RGHGHILQHVDQ³DFWRIWHUURULVP´DVDPRQJRWKHUWKLQJVDQ

   DFWRIYLROHQFHFRPPLWWHGZLWKWKHLQWHQWWRLQWLPLGDWHWKHFLYLOLDQSRSXODWLRQDWODUJH

             9LUJLQLD&RGHZDVHQDFWHGWRSURWHFWWKHFLYLOLDQSRSXODWLRQIURPDFWV

   RIWHUURULVPDQGYLROHQFH

             )LHOGVLQWHQWLRQDOO\GURYHKLVYHKLFOHLQWRDJURXSRIFLYLOLDQVDQGFRXQWHU

   SURWHVWRUVZLWKWKHLQWHQWWRPXUGHULQMXUHDQGLQWLPLGDWHWKHFLYLOLDQSRSXODWLRQDWODUJHLQ

   YLRODWLRQRI9LUJLQLD&RGH

             3ODLQWLIIVDVPHPEHUVRIWKHFLYLOLDQSRSXODWLRQEHORQJWRWKHFODVVRISHUVRQVIRU

   ZKRVHEHQHILW9LUJLQLD&RGHZDVHQDFWHGDQGWKHYLRODWLRQRIWKH6WDWXWHFRQVWLWXWHV

   QHJOLJHQFHSHUVH

             7KHLQMXULHVVXIIHUHGE\3ODLQWLIIVZHUHWKHW\SHRIKDUPDJDLQVWZKLFK9LUJLQLD

   &RGHZDVGHVLJQHGWRSURWHFW

             'HIHQGDQW¶VYLRODWLRQRI9LUJLQLD&RGHGLUHFWO\DQGSUR[LPDWHO\

   FDXVHGWKH3ODLQWLIIVKDUP

                     &281799,2/$7,212)9,5*,1,$&2'(
        &,9,/$&7,21)255$&,$/5(/,*,28625(7+1,&+$5$660(17
                                               
     %\3ODLQWLIIV:LVSHOZH\0DJLOO0XxL]-RKQ'RH6LQHV%ODLU0DUWLQ$OYDUDGRDQG
   5RPHUR$JDLQVW'HIHQGDQWV)LHOGV0RVOH\6SHQFHU.HVVOHU5D\&DQWZHOODQG,QYLFWXV 

             3ODLQWLIIVLQFRUSRUDWHKHUHLQE\UHIHUHQFHWKHDYHUPHQWVFRQWDLQHGLQDOOSUHFHGLQJ

   SDUDJUDSKV

             9LUJLQLD&RGHFUHDWHVDFLYLOFDXVHRIDFWLRQIRUDQ\SHUVRQZKRLV

   VXEMHFWHGWRWKHIROORZLQJLIPRWLYDWHGE\UDFLDOUHOLJLRXVRUHWKQLFDQLPRVLW\  DFWVRI

                                                    
                                                      
   Y
   
Case
   3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 106 of 112 Pageid#:
                                    918
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 123 of 128 Pageid#:
                                    1388



   LQWLPLGDWLRQRUKDUDVVPHQW  YLROHQFHGLUHFWHGDWKLVRUKHUSHUVRQRU  YDQGDOLVPGLUHFWHG

   DJDLQVWKLVRUKHUUHDORUSHUVRQDOSURSHUW\

             3ODLQWLIIV:LVSHOZH\0DJLOO0XxL]-RKQ'RH6LQHV%ODLU0DUWLQ$OYDUDGR

   DQG5RPHURZHUHVXEMHFWHGWRDFWVRILQWLPLGDWLRQDQGRUKDUDVVPHQWYLROHQFHGLUHFWHGDWWKHLU

   SHUVRQVDQGRUYDQGDOLVPGLUHFWHGDJDLQVWWKHLUUHDODQGRUSHUVRQDOSURSHUW\

             7KHVHDFWVZHUHPRWLYDWHGE\'HIHQGDQWV¶UDFLDOUHOLJLRXVRUHWKQLFDQLPRVLW\

                               &28179,$66$8/7$1'%$77(5<
                                                     
                  %\3ODLQWLIIV0XxL]6LQHV%ODLU0DUWLQ$OYDUDGRDQG5RPHUR
                                       $JDLQVW'HIHQGDQW)LHOGV 
                                                     
             3ODLQWLIIVLQFRUSRUDWHKHUHLQE\UHIHUHQFHWKHDYHUPHQWVFRQWDLQHGLQDOOSUHFHGLQJ

   SDUDJUDSKV

             $VDUHVXOWRIWKHLQWHQWLRQDODQGXQODZIXODFWVRI'HIHQGDQWVDVGHVFULEHGKHUHLQ

   3ODLQWLIIV0XxL]6LQHV%ODLU0DUWLQ$OYDUDGRDQG5RPHURZHUHSODFHGLQDSSUHKHQVLRQRI

   KDUPIXODQGRURIIHQVLYHERGLO\FRQWDFWDQGVXIIHUHGKDUPIXORIIHQVLYHERGLO\WRXFKLQJZKLFK

   ZDVQHLWKHUFRQVHQWHGWRH[FXVHGRUMXVWLILHG

                 &28179,,,17(17,21$/,1)/,&7,212)(027,21$/',675(66

                  %\3ODLQWLIIV0XxL]6LQHV%ODLU0DUWLQ$OYDUDGRDQG5RPHUR
                                       $JDLQVW'HIHQGDQW)LHOGV 
                                                     
             3ODLQWLIIVLQFRUSRUDWHKHUHLQE\UHIHUHQFHWKHDYHUPHQWVFRQWDLQHGLQDOOSUHFHGLQJ

   SDUDJUDSKV

             'HIHQGDQW)LHOGVLQWHQWLRQDOO\DQGRUUHFNOHVVO\GURYHKLVFDULQWRDFURZGRI

   FRXQWHUSURWHVWRUVZLWKWKHLQWHQWWRPXUGHUVHYHUHO\LQMXUHDQGLQWLPLGDWHDFLYLOLDQSRSXODWLRQ




                                                    
                                                       
   Y
   
Case
   3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 107 of 112 Pageid#:
                                    919
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 124 of 128 Pageid#:
                                    1389



             $VDUHVXOWRI'HIHQGDQW)LHOGV¶VRXWUDJHRXVDQGH[WUHPHDFWLRQV3ODLQWLIIV

   0XxL]%ODLU0DUWLQ$OYDUDGRDQG5RPHURVXIIHUHGVHYHUHHPRWLRQDOGLVWUHVVWKDWQR

   UHDVRQDEOHSHUVRQFRXOGEHH[SHFWHGWRHQGXUH

                                        35$<(5)255(/,()

   :KHUHIRUH3ODLQWLIIVUHVSHFWIXOO\UHTXHVWDQDZDUGRIWKHIROORZLQJUHOLHI

             $GHFODUDWRU\MXGJPHQWWKDWWKHDFWLRQVGHVFULEHGKHUHLQGHSULYHG3ODLQWLIIVRI

   WKHLUULJKWVXQGHUIHGHUDODQGVWDWHODZ

             ,QMXQFWLYHUHOLHIHQMRLQLQJ'HIHQGDQWVIURPIXWXUHYLRODWLRQVRIULJKWVJXDUDQWHHG

   E\VWDWHDQGIHGHUDOODZ

             &RPSHQVDWRU\DQGVWDWXWRU\GDPDJHVLQDQDPRXQWWREHGHWHUPLQHGDWWULDO

             3XQLWLYHGDPDJHVLQDQDPRXQWWREHGHWHUPLQHGDWWULDO

             6XFKRWKHUUHOLHIDVWKH&RXUWGHHPVQHFHVVDU\DQGMXVW

                                 




                                                   
                                                      
   Y
   
Case
   3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 108 of 112 Pageid#:
                                    920
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 125 of 128 Pageid#:
                                    1390



                                           5HVSHFWIXOO\VXEPLWWHG
                                            
                                           s/ Robert T. Cahill
                                           5REHUW7&DKLOO 96% 
                                            &22/(<//3
                                            )UHHGRP'ULYHWK)ORRU
                                            5HVWRQ9$
                                            7HOHSKRQH  
                                            )D[  
                                            (PDLOUFDKLOO#FRROH\FRP
                                            
                                            Of Counsel for all Plaintiffs:
                                            
                                            5REHUWD$.DSODQ pro hac vice 
                                            -XOLH()LQN pro hac vice 
                                            &KULVWRSKHU%*UHHQH pro hac vice 
                                            6HJXLQ/6WURKPHLHU pro hac vice 
                                            .$3/$1 &203$1<//3
                                            )LIWK$YHQXH6XLWH
                                            1HZ<RUN1<
                                            7HOHSKRQH  
                                            (PDLOUNDSODQ#NDSODQDQGFRPSDQ\FRP
                                            (PDLOMILQN#NDSODQDQGFRPSDQ\FRP
                                            (PDLOFJUHHQH#NDSODQDQGFRPSDQ\FRP
                                            (PDLOVVWURKPHLHU#NDSODQDQGFRPSDQ\FRP
                                            
                                            .DUHQ/'XQQ pro hac vice 
                                            :LOOLDP$,VDDFVRQ pro hac vice 
                                            %2,(66&+,//(5)/(;1(5//3
                                            1HZ<RUN$YH1:
                                            :DVKLQJWRQ'&
                                            7HOHSKRQH  
                                            )D[  
                                            (PDLONGXQQ#EVIOOSFRP
                                            (PDLOZLVDDFVRQ#EVIOOSFRP
                                            
                                            3KLOLS0%RZPDQ pro hac vice 
                                            -RVKXD-/LEOLQJ pro hac vice 
                                            <RWDP%DUNDL pro hac vice 
                                            %2,(66&+,//(5)/(;1(5//3
                                            /H[LQJWRQ$YH
                                            1HZ<RUN1<
                                            7HOHSKRQH  
                                            )D[  
                                            (PDLOSERZPDQ#EVIOOSFRP
                                            (PDLOMOLEOLQJ#EVIOOSFRP
                                            (PDLO\EDUNDL#EVIOOSFRP
                                       
                                        
   Y
   
Case
   3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 109 of 112 Pageid#:
                                    921
                                                     
Case
    3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 126 of 128 Pageid#:
                                    1391



                                            $ODQ/HYLQH pro hac vice 
                                            &22/(<//3
                                            $YHQXHRIWKH$PHULFDVWK)ORRU
                                            1HZ<RUN1<
                                            7HOHSKRQH  
                                            )D[  
                                            (PDLODOHYLQH#FRROH\FRP
                                            
                                            'DYLG(0LOOV pro hac vice 
                                            &22/(<//3
                                            3HQQV\OYDQLD$YHQXH1:
                                            6XLWH
                                            :DVKLQJWRQ'&
                                            7HOHSKRQH  
                                            )D[  
                                            (PDLOGPLOOV#FRROH\FRP
                                            
                                            Of Counsel for Plaintiff Natalie Romero:
                                            
                                            .HQQHWK'%\QXP 96% 
                                            %<180 -(1.,163//&
                                            &DPHURQ6WUHHW
                                            $OH[DQGULD9LUJLQLD
                                               'LUHFW'LDO
                                               )D[
                                            .%\QXP#%\QXP$QG-HQNLQV/DZFRP
                                            
                                            3OHDVDQW6%URGQD[,,, 96% 
                                            3HQQV\OYDQLD$YHQXH1:
                                            6XLWH
                                            :DVKLQJWRQ'&
                                            7HOHSKRQH  
                                            )D[  
                                            ZZZSOHDVDQWEURGQD[FRP
   
   




                                       
                                        
   Y
   
Case
   3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 110 of 112 Pageid#:
                                    922
Case 3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 127 of 128 Pageid#:
                                     1392



                                   &(57,),&$7(2)6(59,&(

          ,KHUHE\FHUWLI\WKDWRQ-DQXDU\,ILOHGWKHIRUHJRLQJZLWKWKH&OHUNRI&RXUW

   WKURXJKWKH&0(&)V\VWHPZKLFKZLOOVHQGDQRWLFHRIHOHFWURQLFILOLQJWR

   -XVWLQ6DXQGHUV*UDYDWW
   'DYLG/+DXFN
   'DYLG/&DPSEHOO
   'XDQH+DXFN'DYLV *UDYDWW3&
   :HVW)UDQNOLQ6WUHHW6XLWH
   5LFKPRQG9$
   MJUDYDWW#GKGJODZFRP
   GKDXFN#GKGJODZFRP
   GFDPSEHOO#GKGJODZFRP
   
   Counsel for Defendant James A. Fields, Jr.
           
   %U\DQ-RQHV
   :6RXWK6W6XLWH
   &KDUORWWHVYLOOH9$
   EU\DQ#EMRQHVOHJDOFRP
           
   Counsel for Defendants Michael Hill, Michael Tubbs, and League of the South
   
   (OPHU:RRGDUG
   86+Z\
   %ODLUV9$
   LVXHFURRNV#FRPFDVWQHW
   
   -DPHV(.ROHQLFK
   .ROHQLFK/DZ2IILFH
   :DWHUVWRQH%OYG
   &LQFLQQDWL2+
   MHN#JPDLOFRP
   
   Counsel for Defendants Jeff Schoep, Nationalist Front, National Socialist Movement, Matthew
   Parrott, Matthew Heimbach, Robert Ray, Traditionalist Worker Party, Elliot Kline, Jason
   Kessler, Vanguard America, Nathan Damigo, Identity Europa, Inc. (Identity Evropa), and
   Christopher Cantwell
                                




Case 3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 111 of 112 Pageid#:
                                     923
Case 3:17-cv-00072-NKM-JCH Document 229-5 Filed 02/20/18 Page 128 of 128 Pageid#:
                                     1393
               
   
   
          ,IXUWKHUKHUHE\FHUWLI\WKDWRQ-DQXDU\,DOVRVHUYHGWKHIROORZLQJQRQ(&)

   SDUWLFLSDQWVYLD86PDLO)LUVW&ODVVDQGSRVWDJHSUHSDLGDGGUHVVHGDVIROORZV

          

   /R\DO:KLWH.QLJKWVRIWKH.X.OX[.ODQ              $QGUHZ$QJOLQ
   DND/R\DO:KLWH.QLJKWV&KXUFKRIWKH              1+LJK6WUHHW6XLWH
   ,QYLVLEOH(PSLUH,QF                               :RUWKLQJWRQ2+
   FR&KULVDQG$PDQGD%DUNHU                          
   32%R[                                          (DVW&RDVW.QLJKWVRIWKH.X.OX[.ODQ
   3HOKDP1&                                     DND(DVW&RDVW.QLJKWVRIWKH7UXH
                                                        ,QYLVLEOH(PSLUH
   5LFKDUG6SHQFHU                                     6RXWK3LQH6W
   $.LQJ6WUHHW                                   5HG/LRQ3$
   $OH[DQGULD9$                                 
                                                        )UDWHUQDO2UGHURIWKH$OW.QLJKWV FR
   0LFKDHO3HLQRYLFK                                   3URXG%R\V 
   DND0LFKDHO³(QRFK´3HLQRYLFK                      FR/HJDO&RUS6ROXWLRQV//&
   32%R[                                          %URDGZD\6XLWH
   +RSHZHOO-XQFWLRQ1<                          1HZ<RUN1<
   
   0RRQEDVH+ROGLQJV//&                               $XJXVWXV6RO,QYLFWXV
   FR$QGUHZ$QJOLQ                                    10LOOV$YHQXH
   1+LJK6WUHHW6XLWH                       2UODQGR)/
   :RUWKLQJWRQ2+
   
   
   
   
   
                                                         s/ Robert T. Cahill
                                                         5REHUW7&DKLOO 96% 
                                                         &22/(<//3
                                                         )UHHGRP'ULYHWK)ORRU
                                                         5HVWRQ9$
                                                         7HOHSKRQH  
                                                         )D[  
                                                         (PDLOUFDKLOO#FRROH\FRP
                                                         
                                                         Counsel for Plaintiffs
   
   



                                                     
                                                    
   
   
Case 3:17-cv-00072-NKM-JCH Document 175 Filed 01/05/18 Page 112 of 112 Pageid#:
                                     924
